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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN


ALLSTATE INSURANCE COMPANY;
ALLSTATE PROPERTY AND                      C.A. No. _______________
CASUALTY INSURANCE COMPANY;
ALLSTATE FIRE AND CASUALTY
INSURANCE COMPANY; ESURANCE
INSURANCE COMPANY; and
ESURANCE PROPERTY AND                      COMPLAINT
CASUALTY INSURANCE COMPANY,
                       Plaintiffs,
v.                                         Demand for Jury Trial
KINETIX REHAB SERVICES INC.;
LEVEL 1 PHYSICAL THERAPY &
REHAB LLC; LEVEL 1 HEALTH
SYSTEMS, LLC; LEVEL 1 HEALTH
SYSTEMS OF MICHIGAN, LLC;
MICHIGAN FIRST REHAB, LLC;
GREENFIELD AND 9 MILE
MEDICAL CENTER PLLC; SELECT
MEDICAL GROUP OF MICHIGAN
PLLC; NORTHLAND HEALTHCARE
SERVICES PLLC; NORTHLAND
CHIROPRACTIC CENTRE P.C.;
MOBILE MRI STAFFING, LLC;
MOTION TRANSPORTATION INC.;
DEHKO INVESTMENT, INC.;
SOMERSET AUTO BODY OF MI,
INC.; LINCOLN INTERNATIONAL
LLC / 1-800-PAIN-800; NORMAN
DEHKO; SABAH DEHKO; JORDAN
DEHKO; ZAHIR SHAH, P.T.; NAJM-
UL HASSAN; and GEOFFREY
SAGALA, D.C.,
                       Defendants.
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                                 COMPLAINT

      Plaintiffs Allstate Insurance Company, Allstate Property and Casualty

Insurance Company, Allstate Fire and Casualty Insurance Company, Esurance

Insurance Company, and Esurance Property and Casualty Insurance Company

(collectively, “Allstate”), by their attorneys SMITH & BRINK, hereby allege as

follows.

I.    INTRODUCTION

      1.    This is a case about physical therapy clinics, chiropractic clinics,

medical clinics, a diagnostic imaging facility, medical transportation companies, an

auto body shop, and the owners, managers, agents, and representatives of the same

who abused the unlimited medical benefits available under the Michigan No-Fault

Act, Mich. Comp. Laws § 500.3101, et seq., by engaging in a scheme to defraud

Allstate by submitting and causing to be submitted false and fraudulent medical

records, bills, and invoices through interstate wires and the U.S. Mail seeking

payment under the No-Fault Act for treatment and services that were not actually

rendered, were medically unnecessary, were fraudulently billed, and were not

lawfully rendered.

      2.    Defendants Kinetix Rehab Services Inc. (“Kinetix”); Level 1 Physical

Therapy & Rehab LLC (“Level 1 PT & Rehab”); Level 1 Health Systems, LLC

(“Level 1 Health”); Level 1 Health Systems of Michigan, LLC (“Level 1 of


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Michigan”); Michigan First Rehab, LLC (“Michigan First”); Greenfield and 9 Mile

Medical Center PLLC d/b/a American Medical Center and American Medical

Center Laboratory (“AMC”); Select Medical Group of Michigan PLLC (“Select

Medical”); Northland Healthcare Services PLLC (“Northland Healthcare”);

Northland Chiropractic Centre P.C. (“Northland Chiropractic”); Mobile MRI

Staffing, LLC d/b/a Metro MRI Center (“Metro MRI”); Motion Transportation, Inc.

(“Motion Transportation”); Dehko Investment, Inc. d/b/a Rent A Ride of Detroit

(“Rent A Ride”) (collectively, the “Defendant Entities”); Somerset Auto Body of

MI, Inc. (“Somerset Auto”); Lincoln International LLC / 1-800-PAIN-800 (“1-800-

PAIN”); Norman Dehko; Sabah Dehko; Jordan Dehko; Zahir Shah, P.T. (“Shah”);

Najm-Ul Hassan (“Hassan”); and Geoffrey Sagala, D.C. (“Sagala”) (collectively

with the Defendant Entities, the “defendants”) each conspired to, and did in fact,

defraud Allstate by perpetuating an insurance billing fraud scheme in violation of

state and federal law.

      3.     The insurance fraud scheme perpetrated by the defendants was

designed to, and did in fact, result in payments from Allstate to and on behalf of the

defendants pursuant to applicable statutes and regulations.

      4.     All of the acts and omissions of the defendants, described throughout

this Complaint, were undertaken intentionally.




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      5.     By this Complaint, and as detailed in each count set out below, Allstate

brings this action for: (1) violations of the federal Racketeer Influenced and Corrupt

Organizations (RICO) Act, 18 U.S.C. § 1962(c) and (d); (2) common law fraud; (3)

civil conspiracy; (4) payment under mistake of fact; and (5) unjust enrichment.

Allstate also seeks declaratory relief that no previously-denied and pending claims

submitted to it by the defendants are compensable.

      6.     As a result of the defendants’ fraudulent acts, Allstate has paid in excess

of $563,804 to them related to the patients at issue in this Complaint.

II.   PARTIES

      A.     PLAINTIFFS

      7.     Allstate Insurance Company, Allstate Fire and Casualty Insurance

Company, and Allstate Property and Casualty Insurance Company are each

companies duly organized and existing under the laws of the State of Illinois.

      8.     Esurance Insurance Company and Esurance Property and Casualty

Insurance Company are each companies duly organized and existing under the laws

of the State of Wisconsin.

      9.     Allstate Insurance Company, Allstate Fire and Casualty Insurance

Company, and Allstate Property and Casualty Insurance Company have their

respective principal places of business in Northbrook, Illinois.




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      10.    Esurance Insurance Company and Esurance Property and Casualty

Insurance Company have their respective principal places of business in San

Francisco, California.

      11.    At all times relevant to the allegations contained in this Complaint, the

plaintiffs were authorized to conduct business in the State of Michigan.

      B.     DEFENDANTS

             1.    Kinetix Rehab Services Inc.

      12.    Kinetix Rehab Services Inc. is incorporated under the laws of the State

of Michigan.

      13.    At all relevant times, Kinetix was operated by Level 1 PT & Rehab,

Level 1 Health, Motion Transportation, Somerset Auto, 1-800-PAIN, Norman

Dehko, and Shah.

      14.    Kinetix’s principal place of business is located in Southfield, Michigan.

      15.    Kinetix billed Allstate for treatment that was not actually rendered, was

medically unnecessary (to the extent treatment was rendered at all), and was

unlawful in relation to several Allstate insureds, including the patients set out in

Exhibit 1.

             2.    Level 1 Physical Therapy & Rehab LLC

      16.    Level 1 Physical Therapy & Rehab LLC is organized under the laws of

the State of Michigan.


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      17.    At all relevant times, Level 1 PT & Rehab was operated by Kinetix,

Motion Transportation, and Shah.

      18.    Level 1 PT & Rehab’s principal place of business is located in

Southfield, Michigan.

      19.    Level 1 PT & Rehab billed Allstate for treatment that was not actually

rendered, was medically unnecessary (to the extent treatment was rendered at all),

and was unlawful in relation to several Allstate insureds, including the patients set

out in Exhibit 2.

             3.     Level 1 Health Systems, LLC

      20.    Level 1 Health Systems, LLC is organized under the laws of the State

of Michigan.

      21.    At all relevant times, Level 1 Health was operated by Kinetix,

Northland Healthcare, Somerset Auto, 1-800-PAIN, Norman Dehko, Shah, and

Sagala.

      22.    Level 1 Health’s principal place of business is located in Detroit,

Michigan.

      23.    Level 1 Health billed Allstate for treatment that was not actually

rendered, was medically unnecessary (to the extent treatment was rendered at all),

and was unlawful in relation to several Allstate insureds, including the patients set

out in Exhibit 3.


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             4.     Level 1 Health Systems of Michigan, LLC

      24.    Level 1 Health Systems of Michigan, LLC is organized under the laws

of the State of Michigan.

      25.    Level 1 Health Systems of Michigan, LLC also does business using the

registered fictitious name Level 1 Physical Therapy.

      26.    At all relevant times, Level 1 of Michigan was operated by AMC,

Select Medical, Northland Healthcare, Rent A Ride, Somerset Auto, 1-800-PAIN,

Norman Dehko, Sabah Dehko, Hassan, and Sagala.

      27.    Level 1 of Michigan’s principal place of business is located in

Huntington Woods, Michigan.

      28.    Level 1 of Michigan billed Allstate for treatment that was not actually

rendered, was medically unnecessary (to the extent treatment was rendered at all),

and was unlawful in relation to several Allstate insureds, including the patients set

out in Exhibit 4.

             5.     Michigan First Rehab, LLC

      29.    Michigan First Rehab, LLC is organized under the laws of the State of

Michigan.

      30.    At all relevant times, Michigan First was operated by AMC, Select

Medical, Somerset Auto, 1-800-PAIN, Norman Dehko, Jordan Dehko, Hassan, and

Sagala.


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      31.    Michigan First’s principal place of business is located in Detroit,

Michigan.

      32.    Michigan First billed Allstate for treatment that was not actually

rendered, was medically unnecessary (to the extent treatment was rendered at all),

and was unlawful in relation to several Allstate insureds, including the patients set

out in Exhibit 5.

             6.      Greenfield and 9 Mile Medical Center PLLC

      33.    Greenfield and 9 Mile Medical Center PLLC is organized under the

laws of the State of Michigan.

      34.    Greenfield and 9 Mile Medical Center PLLC also does business using

the registered fictitious names American Medical Center and American Medical

Center Laboratory.

      35.    At all relevant times, AMC was operated by Level 1 of Michigan,

Michigan First, Metro MRI, Somerset Auto, 1-800-PAIN, Norman Dehko, Sabah

Dehko, Jordan Dehko, and Hassan.

      36.    AMC’s principal place of business is located in Southfield, Michigan.

      37.    AMC billed Allstate for treatment and testing that was not actually

rendered, was medically unnecessary (to the extent treatment was rendered at all),

and was unlawful in relation to several Allstate insureds, including the patients set

out in Exhibit 6.


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             7.      Select Medical Group of Michigan PLLC

      38.    Select Medical Group of Michigan PLLC is organized under the laws

of the State of Michigan.

      39.    At all relevant times, Select Medical was operated by Level 1 of

Michigan, Michigan First, Metro MRI, Somerset Auto, 1-800-PAIN, Norman

Dehko, Sabah Dehko, Jordan Dehko, and Sagala.

      40.    Select Medical’s principal place of business is located in West

Bloomfield, Michigan.

      41.    Select Medical billed Allstate for treatment that was not actually

rendered, was medically unnecessary (to the extent treatment was rendered at all),

and was unlawful in relation to several Allstate insureds, including the patients set

out in Exhibit 7.

             8.      Northland Healthcare Services PLLC

      42.    Northland Healthcare Services PLLC is organized under the laws of the

State of Michigan.

      43.    At all relevant times, Northland Healthcare was operated by Level 1 of

Michigan, Northland Chiropractic, Somerset Auto, 1-800-PAIN, Norman Dehko,

Sabah Dehko, and Sagala.

      44.    Northland Healthcare’s principal place of business is located in

Farmington Hills, Michigan.


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      45.    Northland Healthcare billed Allstate for treatment that was not actually

rendered, was medically unnecessary (to the extent treatment was rendered at all),

and was unlawful in relation to several Allstate insureds, including the patients set

out in Exhibit 8.

             9.      Northland Chiropractic Centre P.C.

      46.    Northland Chiropractic Centre P.C. is organized under the laws of the

State of Michigan.

      47.    At all relevant times, Northland Chiropractic was operated by

Northland Healthcare and Sagala.

      48.    Northland Chiropractic’s principal place of business is located in Oak

Park, Michigan.

      49.    Northland Chiropractic billed Allstate for treatment that was not

actually rendered, was medically unnecessary (to the extent treatment was rendered

at all), and was unlawful in relation to several Allstate insureds, including the

patients set out in Exhibit 9.

             10.     Mobile MRI Staffing, LLC

      50.    Mobile MRI Staffing, LLC is organized under the laws of the State of

Michigan.

      51.    Mobile MRI Staffing, LLC also does business using the registered

fictitious name Metro MRI Center.


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      52.     At all relevant times, Metro MRI was operated by AMC, Select

Medical, Rent A Ride, Somerset Auto, 1-800-PAIN, Norman Dehko, Hassan, and

Sagala.

      53.     Metro MRI’s principal place of business is located in West Bloomfield,

Michigan.

      54.     Metro MRI billed Allstate for unlawful and unnecessary diagnostic

services in relation to several patients at issue herein, including those set out in

Exhibit 10.

              11.   Motion Transportation, Inc.

      55.     Motion Transportation, Inc. is incorporated under the laws of the State

of Michigan.

      56.     At all relevant times, Motion Transportation was operated by Kinetix,

Level 1 PT & Rehab, and Shah.

      57.     Motion Transportation’s principal place of business is located in West

Bloomfield, Michigan.

      58.     Motion Transportation billed Allstate for medical transportation

services that were not actually provided, were medically unnecessary (to the extent

they were provided at all), and were unlawful in relation to several Allstate insureds,

including the patients set out in Exhibit 11.




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             12.     Dehko Investment, Inc.

      59.    Dehko Investment, Inc. is incorporated under the laws of the State of

Michigan.

      60.    Dehko Investment, Inc. also does business using the registered

fictitious name Rent A Ride of Detroit.

      61.    At all relevant times, Rent A Ride was operated by Level 1 of Michigan,

AMC, Metro MRI, Somerset Auto, 1-800-PAIN, Norman Dehko, Sabah Dehko, and

Hassan.

      62.    Rent A Ride’s principal place of business is located in Huntington

Woods, Michigan.

      63.    Rent A Ride billed Allstate for medical transportation services that

were not actually provided, were medically unnecessary (to the extent they were

provided at all), and were unlawful in relation to several Allstate insureds, including

the patients set out in Exhibit 12.

             13.     Somerset Auto Body of MI, Inc.

      64.    Somerset Auto Body of MI, Inc. is incorporated under the laws of the

State of Michigan.

      65.    Somerset Auto Body of MI, Inc. also does business using the registered

fictitious names Somerset Auto, Somerset Auto Center, Somerset Collision, and

1800PAIN800.


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      66.    Somerset Auto’s principal place of business is located in Detroit,

Michigan.

      67.    Somerset Auto illegally and improperly solicited and induced

individuals to undergo medically unnecessary treatment (to the extent treatment was

provided at all) billed to Allstate by the defendants.

             14.    Lincoln International LLC / 1-800-PAIN-800

      68.    Lincoln International LLC / 1-800-PAIN-800 is organized under the

laws of the State of Michigan.

      69.    1-800-PAIN’s principal place of business is located in Huntington

Woods, Michigan.

      70.    1-800-PAIN illegally and improperly solicited and induced individuals

to undergo medically unnecessary treatment (to the extent treatment was provided

at all) billed to Allstate by the defendants.

             15.    Norman Dehko

      71.    Norman Dehko is a resident and citizen of the State of Michigan.

      72.    At all relevant times, Norman Dehko operated and conducted Kinetix,

Level 1 Health, Level 1 of Michigan, Michigan First, AMC, Select Medical,

Northland Healthcare, Metro MRI, and Rent A Ride.

             16.    Sabah Dehko

      73.    Sabah Dehko is a resident and citizen of the State of Michigan.


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      74.   At all relevant times, Sabah Dehko operated and conducted Level 1 of

Michigan, AMC, Select Medical, Northland Healthcare, and Rent A Ride.

            17.   Jordan Dehko

      75.   Jordan Dehko is a resident and citizen of the State of Michigan.

      76.   At all relevant times, Jordan Dehko operated and conducted Level 1 of

Michigan, Michigan First, AMC, and Select Medical.

            18.   Zahir Shah, P.T.

      77.   Zahir Shah, P.T. is a resident and citizen of the State of Michigan.

      78.   At all relevant times, Shah operated and conducted Kinetix, Level 1 PT

& Rehab, Level 1 Health, and Motion Transportation.

            19.   Najm-Ul Hassan

      79.   Najm-Ul Hassan is a resident and citizen of the State of Michigan.

      80.   At all relevant times, Hassan operated and conducted Level 1 of

Michigan, Michigan First, AMC, Metro MRI, and Rent A Ride.

            20.   Geoffrey Sagala, D.C.

      81.   Geoffrey Sagala, D.C. is a resident and citizen of the State of Michigan.

      82.   At all relevant times, Sagala operated and conducted Level 1 Health,

Level 1 of Michigan, Michigan First, Select Medical, Northland Healthcare, and

Northland Chiropractic.




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III.   JURISDICTION AND VENUE

       83.   Pursuant to 28 U.S.C. § 1331, this Court has jurisdiction over this action

relating to the claims brought by the plaintiffs under 18 U.S.C. § 1961 et seq. because

they arise under the laws of the United States.

       84.   Pursuant to 28 U.S.C. § 1332, this Court has jurisdiction over this action

because the amount in controversy, exclusive of interest and costs, exceeds $75,000

against each defendant and because it is between citizens of different states.

       85.   Supplemental jurisdiction over the plaintiffs’ state law claims is proper

pursuant to 28 U.S.C. § 1367.

       86.   Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) whereas the vast

majority of the acts at issue in this Complaint were carried out within the Eastern

District of Michigan.

IV.    THE DEFENDANTS’ FRAUDULENT SCHEME

       87.   The defendants used the Defendant Entities to submit exorbitant

charges to Allstate for purported medical services, procedures, and equipment that

were not actually provided, were unlawful, were not medically necessary, and were

fraudulently billed.

       88.   The fraudulent scheme described herein was driven by Norman Dehko;

his family, including defendants Sabah Dehko and Jordan Dehko; and their




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businesses and clinics, including defendants Somerset Auto, 1-800-PAIN, Level 1

Health, Level 1 of Michigan, Michigan First, and Rent A Ride.

      89.    Norman Dehko, his family, and his associates oversaw a vast network

of runners, tow truck drivers, solicitors, and medical providers who worked in

concert to identify individuals who claimed to have been involved in motor vehicle

accidents, and to unlawfully and improperly induce such individuals to present to

the Defendant Entities to generate claims to Allstate, including through cash

payments to patients in exchange for purported treatment.

      90.    After patients were unlawfully and improperly induced to seek medical

treatment that they did not actually need and did not seek out, they were directed to

medical clinics owned or controlled by the defendants, including defendants AMC

and Select Medical, where they were invariably prescribed an extraordinary amount

of medically unnecessary treatment, testing, and services, which was billed by the

Defendant Entities.

      91.    The connection between the defendants’ unlawful patient inducement

and the unnecessary bills for medical treatment, testing, and services described

herein is evidenced by the materials Somerset Auto provided to individuals claiming

to have been in motor vehicle accidents, which included the phone number for

“Norman” (layperson defendant Norman Dehko) and business cards for defendants

800-PAIN-800, Level 1 of Michigan, and AMC:


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      92.    The interplay between the illegal inducement and the claims for No-

Fault benefits at issue herein is also displayed at the physical locations of several of

the Defendant Entities.

      93.    For example, defendant 1-800-PAIN operates in the same building as

Level 1 of Michigan and Rent A Ride, located at 26321 Woodward Avenue,

Huntington Woods, MI, 48070 (the “26321 building”).

      94.    Sabah Dehko has testified that Norman Dehko owns the 26321

building, and that Level 1 of Michigan is not charged rent for its use.

      95.    Michigan First is similarly situated, as it is located in a building owned

by Edmyne Dehko (a family member of Norman Dehko) through an entity called

Collision Zone Inc.



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      96.    The 26321 building prominently features signs that read “1-800-PAIN-

800 We help auto accident victims” and “248-632 PAIN Know Your Rights Call or

Text Today”:




      97.    The 248-632-PAIN number advertised on the door of the 26321

building also advertises through a Facebook page that identifies the 26321 building

as a physical therapy clinic and states: “GET THE COLLISION REPAIR, LEGAL

SERVICES, & MEDICAL TREATMENT YOU NEED. $$$$$$ KNOW YOUR

RIGHTS $$$$$$ WE HELP AUTO ACCIDENT VICTIMS $$$$$$.”

      98.    The 248-632-PAIN Facebook page also contains a link to Somerset

Auto advertising material and states that it provides accident victims with attendant

care, household services, free transportation, and unemployment payments.




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      99.    In other words, the defendants’ own marketing materials confirm that

they operated a closed loop of patient inducement and unnecessary medical services

that was designed to maximize charges submitted to insurers like Allstate.

      100. The connection between defendants 1-800-PAIN, Somerset Auto,

Norman Dehko, and the clinics that submitted the fraudulent bills to Allstate

described herein is also confirmed by their respective business operations.

      101. The vans that are used to transport patients to and from the Defendant

Entities, and which are emblazoned with 1-800-PAIN and 248-632-PAIN, are stored

in a parking lot at Somerset Auto and drive back and forth between Somerset Auto

and Level 1 of Michigan during its hours of operation.

      102. The defendants’ scheme was specifically designed to take advantage of

the unlimited medical benefits available under the No-Fault Act.

      103. For example, patient C.N. (Claim No. TXA-0233760)1 was allegedly

injured after slipping at the gym and her purported injury in no way involved or was

related to the operation of a motor vehicle.

      104. C.N. reported to Allstate that she specifically informed her AMC

physician that she was not injured in a motor vehicle accident, and the “history of

the MVA” section of her AMC examination record confirms that “patient [was]



1
  To protect the confidentiality of its insureds, Allstate refers to them herein by
initials and claim number.
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exercising at LA Fitness in Livonia and she went to take a shower after her exercise.

Her foot slipped in the gym shower.”

      105. Despite the fact AMC was aware C.N. was not injured in a motor

vehicle accident, AMC knowingly billed Allstate for extensive treatment improperly

seeking payment under the No-Fault Act.

      106. C.N. also reported that “[AMC] had a hard time getting me to a therapist

because all the therapists that [AMC] dealt with only dealt with car accident people”

and further remarked that “[AMC] seems like a sort of scam place because [the

patients were] mostly younger folks…it seemed like there wasn’t nothing wrong

with them…it seem[ed] like they were doing scams for the insurance.”

      107. The defendants’ scheme has also been confirmed by other patients for

whom the defendants submitted bills for unlawful and unnecessary treatment.

      108. Patient S.W. (Claim No. 0510979222) reported that 1-800-PAIN

controlled her course of treatment and at one point directed her to switch doctors.

      109. Patient J.H. (Claim No. FXP-0381126) was transported to Somerset

Auto by a tow truck that appeared at the scene of her motor vehicle accident and

testified that layperson Norman Dehko directed her to treat.

      110. Allstate was billed for tens of thousands of dollars of alleged treatment

relative to patient J.H. following this improper inducement to seek treatment he did

not need, including nearly $8,000 by defendant Level 1 PT & Rehab.


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      111. Once solicited and improperly induced to seek unnecessary medical

treatment, the defendants transported groups of patients in their vans, including

through defendant Rent A Ride, to defendants AMC and Select Medical, where they

were prescribed excessive and predetermined treatments and testing that were not

medically necessary and were not tailored to the individual needs of each patient.

      112. AMC and Select Medical billed for medically unnecessary evaluations

and services, and wrote the prescriptions the other defendants needed in order to bill

Allstate for medically unnecessary MRIs, physical therapy, chiropractic treatment,

and transportation.

      113. Such medically unnecessary services originated with the defendants’

illegal and improper solicitation and inducements and were billed to Allstate by the

Defendant Entities, as detailed below.

      114. The connections between the solicitation and inducement of patients

and the claims for No-Fault benefits at issue herein are also confirmed by the

defendants’ own testimony and records.

      115. Defendant Sabah Dehko has testified under oath that patients of Level

1 of Michigan were obtained through 1-800-PAIN.

      116. Defendant Jordan Dehko informed Allstate that all patients of

defendant Michigan First originated with 1-800-PAIN pursuant to the terms of a

contractual agreement.


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      117. Numerous patients have testified that they received unprompted calls

from 1-800-PAIN within days of their motor vehicle accidents offering “free”

transportation to AMC.

      118. Email records document hundreds of exchanges between Norman

Dehko, AMC, the “Level 1” clinics, and individual physicians employed by the

defendants.

      119. The defendants’ bank records also reveal an extensive network of

payments between the defendants and their associates that are evidence of the quid

pro quo arrangements they used to generate patient referrals.

      120. For example, Somerset Auto and Level 1 Health exchanged more than

$100,000 in checks between June 2016 through February 2018, many of which

included a memo specifying the payment is for “marketing and advertising.”

      121. The defendants used references to “marketing,” “advertising,” and

“transportation” to conceal the true nature of the cash transactions that drove the

scheme described herein.

      122. Somerset Auto also wrote checks to 1-800-PAIN for “advertising.”

      123. Norman Dehko has admitted in sworn testimony that defendants

Kinetix and Shah may have paid him for patient referrals in 2016 and 2017.

      124. Defendant Somerset Auto’s bank records confirm that Kinetix paid it

at least $12,500 in 2017 for “advertising/marketing.”


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       125. The defendants’ bank records also reveal massive amounts of payments

from other healthcare providers, including Mercyland Health Services, PLLC

(“Mercyland”), which was the defendants’ primary source of prescriptions for

physical therapy and MRIs prior to defendant AMC.

       126. Indeed, AMC took over Mercyland’s physical office location when the

latter closed.

       127. Mercyland wrote checks totaling at least $158,000 to defendant Level

1 Health Systems during a nine-month period from June 2017 to March 2018.

       128. Level 1 Health Systems distributed the money received from providers

like Mercyland to other defendants, including at least $209,300 to defendant Dehko

Investment, LLC (Rent A Ride), $16,550 to Edmyne Dehko (a family member of

Norman Dehko), $28,400 to Norman Dehko, and $43,220 to Somerset Auto.

       129. Mercyland also made at least $20,000 in payments directly to defendant

Rent A Ride.

       130. Defendant 1-800-PAIN also maintained an American Express credit

card account that was used by Mercyland’s owner, Muhammad Abraham, for

personal expenses, which was yet another method to make and conceal the

defendants’ payments for patient referrals and unlawful fee splitting with laypersons.

       131. Defendant Norman Dehko has also claimed in testimony that he leases

the 1-800-PAIN number from an associate named Michael Angelo (“Angelo”).


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      132. In fact, Angelo is a partner with Norman Dehko in defendant 1-800-

PAIN.

      133. Angelo, a New Jersey resident who is currently named as a defendant

in at least three (3) separate lawsuits involving similar fraudulent schemes to abuse

the Michigan No-Fault Act, also owns the building in which Mercyland was and

defendant AMC is now located.

      134. On several occasions, services that were allegedly performed by

defendant AMC were billed by a separate entity owned by Angelo called Block

Billing Solutions, LLC.

      135. Angelo is also a member of entities that are purported to be owned by

defendant Jordan Dehko, but are actually controlled by Norman Dehko (along with

Angelo) including defendant Michigan First and Cure Imaging, LLC.

      136. Entities owned by Angelo routinely billed Allstate for alleged urine

drug testing and filling prescriptions for medications.

      137. These transactions between the defendants and Angelo’s entities are

further evidence of the manner in which the defendants used the patients they

improperly solicited as currency for their quid pro quo arrangements.

      138. Angelo also exercised control over the solicitation and referral of

patients to the Defendant Entities, which is evidenced by hundreds of emails he

exchanged with Norman Dehko, AMC, and AMC’s physicians beginning in 2018.


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      139. These email communications also confirm the layperson control over

patient evaluation and treatment and the method by which patients were divvied up

between Dehko and the defendants herein, Angelo and his clinics, and other

associates.

      140. For example, in one such communication copied below, layperson

Angelo informed defendants Hassan and Norman Dehko that he “can refer lots of

patients for spinal injections,” despite having absolutely no background or training

that would qualify him to determine that invasive procedures were medically

necessary:




      141. The defendants’ bank records also confirm their payments to tow truck

drivers in exchange for patient solicitation.

      142. One tow truck driver who received numerous payments from Somerset

Auto confirmed to Allstate that he (a layperson) talked about going to physical

therapy with people he picked up at accident scenes.




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      143. This tow truck driver reported that he only referred these individuals to

auto body shops instead of directly to providers because the auto body shops like

Somerset Auto have physical therapy referrals “on lock.”

      144. The defendants also attempted to conceal the extent of their

interrelationships to avoid detection of their scheme.

      145. For example, Norman Dehko has testified that he and his family never

had any connection or involvement with 248-632-PAIN.

      146. As noted above, the 26321 building that is owned by Norman Dehko

and houses several businesses that he owns and operates prominently advertises this

number on the exterior.

      147. Moreover, bank records reveal that Norman Dehko has written checks

to Therian Hunt, an individual involved with 248-632-PAIN, for “advertising” from

both Level One Health and Somerset Auto bank accounts.

      148. Similarly, defendant Sabah Dehko has testified that he has heard of 1-

800-PAIN on the radio and has never heard of defendant Rent A Ride, but he has

maintained social media profiles referring to himself as the “owner” and “founder”

of defendant 1-800-PAIN and the “CEO” of Rent A Ride.

      149. In addition to concealing their relationships, the defendants withheld

information from Allstate because they have extensive disciplinary and criminal

histories relating to healthcare fraud.


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      A.     NORMAN DEHKO

      150. Norman Dehko has a long history of insurance fraud and unlawful

solicitation of motor vehicle accident victims.

      151. In 2007, Norman Dehko, along with his mother, Latifa Dehko, and his

brother, Dickow Dehko, was arrested and charged with insurance fraud in

connection with a scheme that involved falsification of reports and enhancing

collision damage.

      152. Norman Dehko, who was described as the ringleader of the scheme,

was charged with forty (40) felonies, and was alleged to have used as many as twelve

(12) separate auto body shops to perpetrate the fraud.

      153. In 2012, Norman Dehko pleaded guilty to insurance fraud conspiracy.

      154. Norman Dehko has also been implicated in a scheme in which a former

Detroit police officer was convicted of misconduct in office for, inter alia, creating

falsified police reports for Dehko and others. See State of Michigan v. Schuh, No.

08-013141-FH, Wayne Circuit Court.

      155. The convicted officer admitted that he had received between five and

seven thousand dollars in “loans” from collision shop owners that had no payback

arrangement, and that were not in fact paid back.




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       156. Norman Dehko, a layperson, controlled the medical treatment of

patients at issue herein and ensured that solicited patients were referred to the

Defendant Entities.

       157. As discussed above, the Defendant Entities were either owned and

controlled by members of Norman Dehko’s immediate family, or had financial

relationships with Dehko, Somerset Auto, and 1-800-PAIN such that Norman Dehko

received a financial benefit through their operation.

       B.     ZAHIR SHAH, P.T.

       158. Defendant Shah was the incorporator/organizer of defendants Kinetix,

Level 1 PT and Rehab, and Motion Transportation.

       159. Shortly after Shah organized Level 1 PT and Rehab on April 25, 2017,

he was indicted for defrauding Medicare, including by paying kickbacks and bribes

to recruiters for referrals.

       160. Following Shah’s indictment, members of Norman Dehko’s family

organized several entities using the “Level 1” name, including Level 1 Health, which

was located at the same address as Shah’s Level 1 PT and Rehab and was organized

by Norman Dehko’s relative Justin Kakoz, and Level 1 of Michigan, which was

organized by Norman Dehko’s son Sabah Dehko.




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      161. Shah pleaded guilty on May 17, 2018 to conspiracy to commit

healthcare fraud and wire fraud, as well as to conspiracy to pay and receive

healthcare kickbacks.

      162. Kinetix continued to bill for physical therapy treatment allegedly

performed by Shah after his indictment and after his guilty plea.

      163. Shah was sentenced to 7 years in prison and ordered to pay more than

$8.3 million in restitution.

      164. Several patients at issue herein reported that they were referred to

Kinetix by a physician named Vicha Janviriya, M.D. (“Janviriya”), who was also

under federal indictment at the time in relation to a scheme where he referred patients

for physical therapy that was not performed and was unnecessary in exchange for

kickback payments.

      165. Janviriya met with patients inside Kinetix’s office, and defendant Shah

had possession of Janviriya’s medical records.

      C.     GEOFFREY SAGALA, D.C.

      166. Defendant Sagala was employed by Level 1 Health Systems, and is the

owner of defendants Northland Healthcare, Northland Chiropractic, and Select

Medical.

      167. On December 14, 2012, Sagala was indicted for theft or embezzlement

in connection with healthcare in relation to a scheme in which he stole billing


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information from a competitor’s office and then submitted bills representing that he

had rendered treatment at his own chiropractic clinic.

      168. Sagala pleaded guilty to one of the charges related to his fraudulent

scheme and agreed to a period of probation and payment of restitution. See Exhibit

13.

      169. As part of his Rule 11 Plea Agreement, Sagala acknowledged that he

billed Medicare for services that were never rendered.

      170. Sagala also entered into a consent order with the Michigan Board of

Chiropractors on November 20, 2014, whereby he agreed to a suspension of his

chiropractic license and payment of a fine in relation to this scheme to defraud.

      171. Despite their separate ownership, the clinics owned by Sagala were

closely connected to the other defendants named herein.

      172. Northland Healthcare billed for alleged treatment of patients in

defendant Level 1 of Michigan’s office (which is in the same building owned by

Norman Dehko as 1-800-PAIN).

      173. Northland Healthcare also submitted records to Allstate using

defendant Level 1 of Michigan’s template forms, including those with Level 1 of

Michigan’s name pre-printed thereon.

      174. As with the other defendants, Norman Dehko wrote numerous checks

to Sagala from Somerset Auto’s bank account.


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         175. Sagala and his clinics also furthered the defendants’ scheme by writing

prescriptions for MRIs that were billed by defendant Metro MRI.

         176. Indeed, more than 33% of the patients at issue herein for whom Select

Medical submitted bills were referred to Metro MRI for imaging. See Exhibits 7 and

10.

         177. At least 56% the patients at issue herein for whom Select Medical

submitted bills also incurred bills for alleged physical therapy at either Level 1 of

Michigan or Michigan First. See Exhibits 4, 5, and 7.

         178. Select Medical also employed the same staff and physicians as

defendant AMC, including Hangming Ruan (“Ruan”) and Pedro Toweh, M.D.

(“Toweh”).

         D.    CONTROL OF OTHER DEFENDANT ENTITIES

         179. AMC is controlled by defendant Hassan and, as detailed below,

operated primarily through nurse practitioners and medical assistants who were

unlawfully supervised rather than medical doctors.

         180. The few physicians who AMC claims evaluated and treated the patients

at issue herein have extensive and troubling histories:

       AMC billed Allstate for patients purportedly evaluated by David Jankowski,
        D.O. (“Jankowski”). Jankowski has been under indictment since June 7, 2017
        for conspiracy to commit healthcare fraud (18 U.S.C. § 1349). United States
        v. Jankowski, 17-cr-20401-BAF-DRG (E.D. Mich.). Jankowski was under
        indictment the entire time he worked for AMC. The State of Michigan

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      suspended Jankowski’s license for 3 years on April 11, 2019 and fined him
      $25,000.

    Following Jankowski’s license suspension, he was replaced at AMC by Ganiu
     Edu, M.D. (“Edu”). On December 4, 2018, Edu was indicated on numerous
     charges including (1) conspiracy to commit healthcare fraud (18 U.S.C. §
     1349), (2) aiding and abetting healthcare fraud (18 U.S.C. § 1347), and (3)
     conspiracy to distribute and possess with intent to distribute controlled
     substances (21 U.S.C. § 846, 21 U.S.C. § 841(a)(1)). United States v.
     Rajendra Bothra, et al., 2:18-cr-20800-SJM-APP (E.D. Mich.). Edu was
     under indictment the entire time he worked for AMC.

    AMC also billed Allstate for evaluations and treatment allegedly provided by
     Surya Nallani, M.D. (“Nallani”). Nallani entered into a plea agreement in
     January 2016 admitting to unlawfully billing Medicare. United States v.
     Surya C. Nallani, M.D., 2:11-cr-20365-VAR-RSW (E.D. Mich.). As part of
     her plea agreement, Nallani was excluded from participating in all federal
     healthcare programs and ordered to surrender her license to prescribe
     controlled substances. Pursuant to an August 2016 judgment, Nallani was
     placed on 3 years’ probation and ordered to forfeit more than $825,000. The
     State of Michigan filed an Administrative Complaint against Nallani in
     January 2017 and summarily suspended her medical license. The State of
     Michigan entered a Consent Order on July 2017 and placed Nallani on
     probation for 2 years and fined her $15,000. As per the terms of her probation,
     Nallani informed the State of Michigan of any changes in employment.
     Nallani e-mailed the State of Michigan on August 28, 2018 to say that she
     “will start[] to work at AMERICAN MEDICAL CENTER as a Physician
     designated to see Auto Injury Patients.”

    AMC billed Allstate for evaluations and treatment allegedly performed by
     Jason Bitkowski, D.O. (“Bitkowski”). The State of Michigan filed an
     Administrative Complaint against Bitkowski on March 22, 2018 alleging that
     he ranked among the highest prescribers in the State in 2016 for multiple
     controlled substances.

    AMC billed Allstate for evaluations and treatment allegedly performed by
     Reese James, D.O. (“James”). James was summarily suspended from the
     practice of medicine in Michigan in early 2017. On August 3, 2017, James
     agreed to a fine of $35,000 and a year-long suspension of his medical license
     in response to an Administrative Complaint alleging that he was among the
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      highest prescribers of dangerous controlled substances in the State of
      Michigan, that his prescriptions for such substances increased six-fold in
      2016, and that for a period of time in 2016 he was writing an average of more
      than 87 controlled substance prescriptions every day.

      181. As noted above, AMC ordered MRIs that were billed by defendant

Metro MRI.

      182. Metro MRI was organized by Rakesm Lala and is operated by Michael

Lala, both of whom are immediate family members of Monik Lala.

      183. Monik Lala works at Henry Ford Health System (“Henry Ford”), where

several patients at issue herein were purportedly evaluated by Monik Lala

immediately prior to being transported to AMC.

      184. For example, patient J.W. (Claim No. FXP-0386104) reported to Henry

Ford following his purported motor vehicle accident where he underwent a CT scan

that was interpreted by Monik Lala and was then immediately referred to AMC for

an examination performed the same day.

      185. AMC and Metro MRI were important to the defendants’ scheme for

several reasons, including to create the appearance of injuries that were more severe

than they actually were and to provide the prescriptions and diagnoses needed to

perpetuate the extensive courses of predetermined testing, treatment, and services

described below.




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V.    BILLING FOR SERVICES NOT RENDERED

      186. The defendants regularly submitted bills to Allstate seeking payment

for treatment and services that were never rendered to patients at issue herein.

      187. The defendants’ pervasive pattern of faxing and mailing demands for

payment for services that were not rendered is indicative of their goal to submit as

many claims for payment as possible regardless of whether the treatment was

actually rendered and whether it was medically necessary (discussed in detail infra).

      188. All of the claims submitted by the defendants to Allstate through

interstate wires and the U.S. Mail seeking payment for treatment that never occurred

are fraudulent.

      189. Allstate is not required to pay the defendants for services that were

never provided to patients at issue in this Complaint and is entitled to recover any

payments tendered to the defendants in reliance on their fraudulent billing for

services not rendered.

      190. Many of the bills submitted to Allstate by the defendants for services

not actually performed were the result of standard practices that were repeated for

numerous patients at issue herein, as detailed below.

      A.     BILLING FOR TRANSPORTATION NOT RENDERED

      191. Rent A Ride and Motion Transportation billed for purported

transportation services that were never actually provided.


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      192. Motion Transportation submitted charges to Allstate for allegedly

transporting patients to and from Kinetix on dates of services when the patients did

not actually undergo treatment.

      193. For example, Motion Transportation billed Allstate for roundtrip

transportation of patient A.B. (Claim No. 0332959220) from his home to Kinetix on

April 16, 2015.

      194. However, A.B. never received treatment at Kinetix on April 16, 2015.

      195. Similarly, Motion Transportation billed Allstate for roundtrip

transportation of patient T.G. (Claim No. 0341411429) from his home to Kinetix on

four (4) dates of service, September 20, 2014, November 10, 2014, December 12,

2014, and December 15, 2014, on which T.G. never received treatment at Kinetix.

      196.    Motion Transportation billed Allstate for roundtrip transportation of

patient M.P. (Claim No. 0460037633) from his home to Kinetix on three (3) dates

of services, June 19, 2017, July 7, 2017, and July 10, 2017, on which M.P. never

received treatment at Kinetix.

      197. Motion Transportation billed Allstate for roundtrip transportation of

patient K.G. (Claim No. 0444175921) from his home to Kinetix on July 14, 2016,

but K.G. never received treatment at Kinetix on July 14, 2016.




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      198. Motion Transportation billed Allstate for roundtrip transportation of

patient N.U. (Claim No. 0344215330) from her home to Kinetix on August 29, 2016,

but N.U. never received treatment at Kinetix on August 29, 2016.

      199. For patient L.N. (Claim No. 0545177743), Rent A Ride billed Allstate

for purported roundtrip transportation on May 13, 2019.

      200. L.N. never received any treatment on May 13, 2019.

      201. Rent A Ride billed Allstate for roundtrip transportation of patient C.R.

(Claim No. 0519936925) from his home to Level 1 of Michigan on three (3) dates

of service, November 5, 2018, November 7, 2018, and November 12, 2018, that C.R.

never received treatment at Level 1 of Michigan.

      202. In addition to bills for transportation on dates that patients never

received treatment, both Kinetix and Motion Transportation submitted separate bills

for roundtrip transportation alleged provided from patient A.B.’s (Claim No.

0332959220) home to Kinetix on September 18, 2014, September 19, 2014,

September 22, 2014 and September 23, 2014.

      203. Charges for medical transportation of patients when patients did not

actually receive medical care are billing for services not rendered.

      B.     BILLING FOR ONE-ON-ONE SUPERVISION NOT PERFORMED

      204. Much of the treatment billed by the defendant physical therapy and

chiropractic clinics required direct one-on-one supervision by a qualified healthcare


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professional for the entirety of treatment, including all therapeutic exercises,

neuromuscular reeducation, gait training, massage, manual therapy, and therapeutic

activities, and some electrical stimulation.

      205. All of the defendant physical therapy and chiropractic clinics regularly

billed Allstate for purported therapeutic exercises using Current Procedural

Terminology (“CPT”) Code2 97110, which cannot be billed relative to previously

taught exercises, patients performing exercises independently, or the use of exercise

equipment without the direct, one-on-one intervention or skills of the therapist.

      206. A mandatory post-service requirement of proper billing for alleged one-

on-one therapeutic exercises requires that documentation clearly indicate: (1) an

adequate description of the nature, extent, need for the procedure, the exercise or

activity performed; (2) the time spent in the performance of each procedure; (3) the

equipment necessary to provide the service as well as the equipment settings, and

patient response; and (4) evidence to support one-on-one care.

      207. As discussed below, the defendants routinely failed to document the

time spent performing each exercise (or document any time at all) and did not

provide evidence supporting the use of one-on-one care.




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  CPT Codes are published by the American Medical Association (“AMA”) to
facilitate the efficient processing of healthcare charges by insurance carriers and
other private and governmental healthcare payors.
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      208. The therapeutic exercises most commonly billed by the defendants,

such as “stretching,” “treadmill,” and “exercise bike,” are not the type that require

one-on-one supervision and (if performed at all) were done by the patients on their

own or together with other patients in a group setting.

      209. Several patients at issue herein reported to Allstate that treatments

billed by the defendants were not actually supervised.

      210. For example, Patient J.B. (Claim No. 0484341078) testified that his

exercises at Level 1 of Michigan included unattended use of an exercise bike, which

Level 1 of Michigan routinely billed using CPT Code 97110, thus (mis)representing

that the exercises involved supervision not actually performed.

      211. At Michigan First, patient walked on treadmills with no staff present in

the room, yet Michigan First frequently included “treadmill” as part of its purported

direct therapeutic exercised billed to Allstate using CPT Code 97110.

      212. Kinetix’s office had just one (1) exercise room, yet Kinetix never billed

Allstate for a single unit of group therapy and instead only billed for alleged “one-

on-one” exercises, which can be billed at a higher rate. See Exhibit 1.

      213. The defendants’ billing for therapeutic modalities that require direct,

one-on-one patient contact from a licensed therapist when the exercises are

performed, if at all, by patients on their own constitutes billing for services not

rendered.


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      C.      BILLING FOR CONSTANT ATTENDANCE SERVICES NOT PERFORMED

      214. The defendant chiropractic and physical therapy clinics also regularly

billed Allstate for services that require constant, one-on-one oversight, including

ultrasound and certain electrical stimulation treatment.

      215. Patients for whom the defendants submitted such bills have confirmed

that their treatment was not actually performed with constant attendance, but instead

occurred without a therapist present.

      216. Indeed, patients reported that staff employed by the defendant clinics

were only present to set and stop a timer for the treatments requiring constant

attendance.

      217. For example, patient J.P. (Claim No. 0507664340) testified that during

his alleged electrical stimulation treatment Kinetix set a timer “for 15, 20 minutes,

once it go off he come back in the room, unhook you and you go to your next

exercise.”

      218. Kinetix billed Allstate for this alleged electrical stimulation using CPT

Code 97032, which requires direct, one-on-one patient contact and constant

attendance throughout the duration of the treatment.

      219. Patient R.W. (Claim No. TXA-0188788) likewise testified that Kinetix

set a timer for her electrical stimulation and only returned once the set time was over.




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      220. Kinetix repeatedly billed Allstate for two (2) units of electrical

stimulation allegedly provided to R.W. using CPT Code 97032, which requires

constant attendance that R.W. confirmed was not provided.

      221. Patient J.B. (Claim No. 0484341078) testified that he was by himself

when he underwent electrical stimulation at Level 1 of Michigan, yet Level 1 of

Michigan exclusively billed Allstate for attended electrical stimulation.

      222. Electrical stimulation that is unattended must be billed using CPT Code

97014, yet the defendant clinics routinely billed for purported “attended” stimulation

using CPT Code 97032 because it is paid at a higher rate.

      223. Level 1 of Michigan also billed Allstate for hands-on massage

treatment using CPT Code 97124, which is another treatment that requires constant

attendance by the practitioner, but J.B. testified the “massage” treatment he was

received was simply sitting in a massage chair.

      D.     BILLING MULTIPLE TIMES FOR THE SAME SERVICE

      224. The defendants also routinely billed Allstate for multiple units of

untimed treatments that are only permitted to be billed once per date of service.

      225. Physical therapy services that are untimed are only permitted to be

billed once per date of service.




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      226. Kinetix and Level 1 of Michigan billed Allstate for allegedly applying

hot/cold packs to patients more than once on numerous dates of service. See Exhibits

1 and 4.

      227. Level 1 of Michigan and Michigan First also billed Allstate for

allegedly performing multiple units of unattended electrical stimulation on patients

on the same date of service. See Exhibits 4 and 5.

      228. Unattended electrical stimulation billed using CPT Code 97014 cannot

be billed multiple times on a single date of service.

      229. Submission of multiple units for performing the same service on the

same date when coding rules prohibit more than one unit constitutes billing for

services not rendered.

      E.     BILLING FOR TIMED SERVICES NOT RENDERED

      230. As discussed further below, the defendant physical therapy and

chiropractic clinics billed for nearly identical courses of treatment for almost every

patient, regardless of their age, injury, medical history, and comorbidities.

      231. The majority of the treatments and modalities used in these protocol

courses of treatment were timed services for which each unit billed to an insurer

represents fifteen (15) minutes of treatment.

      232. Medical coding rules require a minimum of eight (8) minutes of

treatment be performed in order to bill for a unit of a timed service.


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      233. To properly bill for multiple units of a timed service, a provider must

perform the full fifteen (15) minutes of service for the first (and any subsequent)

unit, and at least eight (8) minutes of service for the second (or subsequent) unit.

      234. The defendants routinely submitted charges for purported timed

exercises, often alleging multiple units were performed, that failed to document the

amount of time purportedly spent performing each service.

      235. For example, therapeutic exercises allegedly performed by defendant

Sagala at Level 1 Health, a timed exercise, were recorded and billed to Allstate using

nothing more than a check box:




      236. Kinetix and Shah similarly submitted bills for multiple units of

purported therapeutic exercises that failed to indicate the time spent on specific

exercises:




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       237. It is improper to submit bills for timed exercises when the time spent

for each treatment is not accurately recorded, and all claims by the defendant clinics

for timed services not properly documented to allow for any form of authentication

were fraudulent.

       238. As evidenced by the numerous representative patients discussed herein

for whom timed treatments were not performed for the minimum time required, the

Defendant Clinics’ failure to measure and record the time spent performing

treatment was done intentionally to mask the fact that they did not perform treatment

for the length of time required to bill Allstate.

       239. The defendants’ bills for timed treatments that are not documented with

any actual time performed or are contradicted by functional limitations constitute

billing for services not rendered.

       F.    BILLING FOR SERVICES RENDERED BY OTHER PROVIDERS

       240. Defendant AMC routinely submitted charges to Allstate for urine drug

testing that was performed and durable medical equipment (DME) that was issued

by other providers, if it was performed and issued at all.

       241. As part of the predetermined protocol of testing and treatment described

below, AMC collected urine specimens from nearly every patient at nearly every

appointment to generate charges for an incredible amount of unnecessary urine drug

testing.


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      242. From its inception, AMC billed Allstate for the alleged performance of

screens on these specimens, which are tests that are performed in the practitioner’s

office.

      243. AMC also allegedly sent the urine specimens to outside laboratories

that were owned by its associates and with whom it had quid pro quo referral

relationships, including a lab owned by Angelo, for purported definitive testing.

      244. Beginning in or about May of 2018, AMC began submitting its own

claims for alleged performance of definitive urine drug testing.

      245. However, the other laboratories with which AMC was associated

continued submitting claims for the same purported testing on the same urine

specimens.

      246. For example, AMC and an entity called North West Labs, Inc. (“North

West Labs”) each billed for nearly identical alleged definitive testing of urine

specimens of patient L.G. (Claim No. 0438133043) on June 28, 2018, July 26, 2018,

August 23, 2018, September 19, 2018, November 16, 2018, December 13, 2018, and

January 23, 2019.

      247. Similarly, AMC and North West Labs billed for nearly identical alleged

definitive testing of urine specimens of patient F.O. (TXA-0193420) on seven

separate dates.




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      248. AMC also submitted bills for DME that was actually issued, if at all,

by a pharmacy owned by Angelo called US Health Pharmaceuticals, LLC d/b/a

Meds Direct (“Meds Direct”).

      249. For example, Meds Direct purportedly issued a transcutaneous

electrical nerve stimulation (“TENS”) device to patient M.M. (Claim No.

0511595059) on October 5, 2018 based on a prescription from AMC.

      250. AMC submitted a separate charge to Allstate also claiming to have

issued a TENS device to M.M. on October 5, 2018, when the DME was issued, if at

all, by Meds Direct.

      G.     BILLING FOR INJECTION SERVICES NOT PERFORMED

      251. Defendant AMC routinely billed Allstate for purportedly performing

invasive injections using ultrasound guidance.

      252. Bills from AMC involving purported ultrasound guidance were

submitted using CPT Code 20611 and experimental CPT Codes 0216T and 0217T.

See Exhibit 6.

      253. To properly bill for a procedure involving ultrasound guidance, it is

required that the provider perform a focused ultrasound evaluation that is interpreted

through multiple planes and is separately documented.




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      254. AMC never performed the focused evaluation required to properly bill

for use of ultrasound guidance, nor separately documented any purported use of the

procedure.

      255. Therefore, bills submitted by AMC that included claims for ultrasound

guidance seek payment for a service that was not actually performed.

      H.     SPECIFIC EXAMPLES OF BILLING FOR SERVICES NOT RENDERED

      256. In addition to the fraudulent practices detailed above, each of which

were standard practices of the defendants that resulted in numerous claims submitted

to Allstate for payment for services not actually performed, the defendants faxed

and/or mailed fraudulent bills and medical records relative to each of the following

representative exemplar patients:

    Patient J.B. (Claim No. 0484341078) testified that he went to Level 1 of
     Michigan only five (5) or six (6) times. Level 1 of Michigan billed Allstate
     for fifteen (15) purported dates of service. J.B. also reviewed an “attending
     physician’s report” signed by Sagala that indicated he received treatment at
     Level 1 of Michigan on 14243 W. 8 Mile Rd.:




      J.B. testified that he never received treatment at or even went to a Level 1
      facility located at this address. Northland Healthcare billed for treatment
      allegedly provided to J.B. by Sagala on three (3) dates of service: December
      5, 2017, December 12, 2017, and December 27, 2017. Northland Healthcare
      billed Allstate for rendering chiropractic manipulative treatment, hot/cold
      packs, mechanical traction, massage therapy, and therapeutic exercises. J.B.,
      however, testified that he never received chiropractic manipulative treatment

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      and confirmed that Sagala never provided any hands-on chiropractic
      treatment. On May 3, 2018, Level 1 of Michigan billed for two (2) units of
      therapeutic exercises using CPT Code 97110, which requires at a minimum
      twenty-three (23) minutes of treatment. This was not actually performed. On
      May 25, 2018, Level 1 of Michigan again billed for two (2) units of
      therapeutic exercises using CPT Code 97110, which was again not performed.

    Patient D.F. (Claim No. 0529272312) testified that he never treated at any
     facility called “Level One,” stating “I don’t remember recalling hearing
     nothing about no place called Level One. I don’t even know where Level One
     is.” Defendant Level 1 PT & Rehab nevertheless billed Allstate $57,240 for
     116 separate alleged dates of treatment of D.F.

    On June 27, 2018, AMC billed Allstate for an alleged examination and urine
     drug test of C.B. (Claim No. 0358449998). AMC submitted one charge for
     presumptive testing of a urine specimen allegedly provided by C.B. using CPT
     Code 80307, and a separate charge for purported definitive drug testing using
     HCPCS Code G0483. On this same June 27, 2018 date of service, AMC also
     billed Allstate for definitive testing using twenty-five (25) separate CPT
     Codes specific to the drugs/analytes purportedly tested. Only one (1)
     laboratory report was submitted relative to the purported test of C.B. on June
     27, 2018, confirming that at most just one (1) definitive test was performed
     and not the twenty-five (25) that were billed. AMC also submitted two (2)
     separate charges for an alleged re-examination of C.B. on May 5, 2016. C.B.
     only received a single re-examination on that date, if she was examined at all,
     and billing two (2) distinct re-examination charges for one (1) examination
     constitutes billing for services not rendered.

    AMC submitted two (2) separate bills for purported injections to patient R.S.
     (Claim No. 0510241649) on August 27, 2018. One bill listed the place of
     service as 16100 19 Mile Road. This bill was signed by Jankowski on
     September 6, 2018 and included only a single charge for an SI joint injection.
     A second bill for the alleged August 27, 2018 date of service, also signed by
     Jankowski but dated November 12, 2018, lists the place of service as 20905
     Greenfield Road, and adds three (3) separate charges for supplies allegedly
     used. The record submitted with this second bill indicates the procedure was
     performed at AMC’s 20905 Greenfield Road location, and therefore the
     second charge for a procedure at a separate location for the same patient on
     the same date of service that never occurred constitutes billing for services not
     rendered.
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    AMC submitted two separate bills for the same purported September 17, 2018
     re-examination of patient M.M (Claim No. 0511595049). Each bill was
     signed by the same physician, yet they claim the examinations occurred at two
     (2) separate service addresses and represent that different levels of complexity
     were performed. The AMC record from September 17, 2018 lists the 20905
     Greenfield Rd address as the facility where treatment was allegedly rendered.
     AMC’s duplicate charge for a purported September 17, 2018 re-examination
     at AMC’s 16100 19 Mile Rd office was for a service that was never
     performed. AMC also submitted two (2) separate records for a purported
     evaluation of M.M. on October 5, 2018, representing that two (2) different
     doctors performed the evaluation, when at most just one (1) evaluation
     occurred.

    On January 4, 2019, AMC ordered electrodiagnostic testing of patient L.R.
     (Claim No. 0530629286) despite a lack of any specific findings to justify such
     testing. AMC submitted a record dated January 11, 2019, purporting to record
     the results of electrodiagnostic testing of L.R.’s upper extremities only. AMC
     submitted two (2) separate bills for this purported procedure. One of the bills
     claimed that testing was performed on all four (4) of L.R.’s extremities, and
     the other claimed that testing was performed on two (2) of L.R.’s extremities.
     In total, AMC billed for electrodiagnostic testing of six (6) extremities on
     January 11, 2019, when at most just two (2) were actually performed.

    For patient J.W. (Claim No. 0487022600), Level 1 of Michigan billed for two
     (2) units of therapeutic exercises using CPT Code 97110 on April 23, 2018
     that were not provided.

    Patient K.M. (Claim No. 0510979222) reported to Allstate that his treatment
     at Level 1 of Michigan consisted of ten (10) minutes on a bike, sitting on a
     massage chair, and electrical stimulation, and he denied any other treatment.
     Level 1 of Michigan frequently billed Allstate for purportedly performing two
     (2) units of therapeutic exercise at each appointment, which would have
     required more than twice as much time and would have required constant
     supervision that would not be required for simply riding an exercise bike.
     Level 1 of Michigan also routinely billed Allstate for manual therapy and
     application of hot packs to K.M., neither of which were performed at all per
     K.M.’s contemporaneous report of his actual treatment.


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    For patient D.F. (Claim No. 0529272312), Level 1 PT & Rehab submitted two
     (2) charges for mechanical traction using CPT Code 97012 on October 24,
     2018 and October 29, 2018 that did not occur as billed.

    For patient R.W. (Claim No. TXA-0188788), Kinetix billed Allstate for two
     (2) units of purported attended electrical stimulation for all but R.W.’s first
     date of service. R.W. testified that she did not actually receive electrical
     stimulation on every date of service it was billed by Kinetix.

    For patient J.P. (Claim No. 0507664340), Kinetix billed Allstate for two (2)
     units of attended electrical stimulation using CPT Code 97032 on November
     13, 2018, which requires a minimum twenty-three (23) minutes of treatment.
     J.P. did not receive twenty-three (23) minutes of electrical stimulation, thus
     the two (2) units charged to Allstate are billing for services not rendered.
     Kinetix also billed for two (2) units of ultrasound on two (2) dates of service
     (May 17, 2018 and May 18, 2018), which requires at a minimum twenty-three
     (23) minutes of treatment that was likewise not performed as billed.

    For patient L.H. (Claim No. 0433097440), Kinetix billed for two (2) units of
     attended electrical stimulation using CPT Code 97032 on eleven (11) separate
     dates of service between June-November 2017. L.H. did not receive the
     billed-for treatment.

    For patient K.Y. (Claim No. 0494245848), Kinetix billed for two (2) units of
     ultrasound on three (3) dates of service (March 8, 2018, March 30, 2018, and
     June 20, 2018), which requires at a minimum twenty-three (23) minutes of
     treatment. On each date of service, K.Y. only received (at most) eleven (11)
     minutes of ultrasound treatment, thus the two (2) units charged to Allstate on
     each date of service are billing for services not rendered.

    Defendant Northland Healthcare routinely billed Allstate for two (2) units of
     therapeutic exercises allegedly performed for patient A.Y. (Claim No.
     0275194066) despite only performing one (1) unit of exercises, including on
     April 7, 2014, April 11, 2014, May 2, 2014, May 9, 2014, May 12, 2014, May
     14, 2014, June 11, 2014, and June 13, 2014. Northland Healthcare also billed
     for two (2) units of massage therapy allegedly rendered on May 7, 2014 and
     June 9, 2014, despite only one (1) unit actually being performed.



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    Northland Chiropractic billed Allstate for purported chiropractic
     manipulation allegedly performed on five (5) regions for patient C.W. (Claim
     No. 0313918708) on thirty-one (31) separate dates of service. The treatment
     notes from these dates of service indicate that chiropractic manipulation was
     actually provided to only three (3) distinct spinal regions on each date of
     service, as the record from all thirty-one appointments documents that
     chiropractic manipulative treatment (“CMT”) was rendered to only the “C”
     (cervical), “T” (thoracic), and “L” (lumbar) regions:



    Northland Healthcare submitted bills for twenty-three (23) separate dates of
     service relative to patient H.A. (Claim No. 0557192614). Each of these bills
     identifies the service facility as Northland Healthcare. On each of these dates
     of service, Sagala also separately billed Allstate for identical treatment
     purportedly performed at New Horizon Chiropractic PLLC (“New Horizon”),
     a separate entity that he owns and controls. The records Sagala attached to
     both sets of bills confirm treatment occurred, if at all, at New Horizon. Each
     of the twenty-three (23) bills Northland Healthcare and Sagala submitted for
     treatment that never actually occurred at Northland Healthcare and were
     separately billed by another entity constitute clear billing for services not
     rendered.

      257. The defendants submitted fraudulent claims to Allstate relative to each

of the above-referenced exemplar patients and categories of services that were not

actually provided, and Allstate relied on such submissions in adjusting the claims.

      258. Allstate is not required to pay the defendants for services that were not

actually rendered and is entitled to reimbursement for payments it was induced to

make by the defendants’ fraudulent submissions.




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VI.    UNLAWFUL SOLICITATION AND FACTORS OTHER THAN
       LEGITIMATE MEDICAL JUDGMENT USED TO GENERATE
       UNLAWFUL BILLS TO ALLSTATE

       A.    MICHIGAN’S ANTI-SOLICITATION LAWS

       259. The solicitation and exploitation of motor vehicle accident victims for

profit or professional gain is strictly prohibited in the State of Michigan, as is the use

of factors other than legitimate medical judgment to bill insurers.

       260. Michigan law prohibits “[a]ny physician or surgeon engaged in the

practice of medicine in this state” from “employ[ing] any solicitor, capper, or

drummer for the purpose of procuring patients.” Mich. Comp. Laws § 750.429.

       261. Other conduct prohibited under Michigan law ranges from the

identification and solicitation of potential patients of medical providers, to the use

of agents to solicit patients, and to the receipt of fees obtained through such

fraudulent methods, including the mere participation in any schemes relating to such

activity. See Mich. Comp. Laws §§ 750.410b, 750.429, 257.503, and 500.4503(h)-

(i).

       262. It is also illegal in Michigan to contact any motor vehicle accident

victim to offer a service within thirty (30) days of the accident, Mich. Comp. Laws

§ 750.410b, and to use police reports to solicit any person identified in the report,

Mich. Comp. Laws § 257.503(1)(a).




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      263. Only      “lawfully-render[ed]    treatment”   is   compensable    under

Michigan’s No-Fault Act. Mich. Comp. Laws § 500.3157(1).

      264. As set forth more fully below, the defendants participated in and

willingly benefited from schemes to solicit patients through conduct prohibited

under Michigan law, which renders the treatment they billed unlawful.

      B.     IMPROPER AND UNLAWFUL METHODS USED TO SOLICIT PATIENTS

      265. Despite Michigan’s prohibition on patient solicitation, the defendants

actively employed a number of unlawful and improper methods to obtain patients.

      266. Multiple patients at issue in this Complaint have reported that they were

approached by tow truck drivers associated with defendant Somerset Auto at the

scenes of their alleged accidents.

      267. The tow truck drivers either towed the involved vehicle to Somerset

Auto, where patients were then coerced by layperson Norman Dehko to seek medical

treatment, or the tow truck drivers obtained the contact information of the accident

victims so that Norman Dehko could contact them and induce them to undergo

medical evaluation and treatment with the Defendant Entities even though these

persons did not seek out or need medical treatment.

      268. When accident victims presented to Somerset Auto to pick up their

vehicles that had been towed, Norman Dehko, a layperson, offered patients




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transportation to AMC or directed patients to immediately undergo treatment at

Level 1 of Michigan.

      269. As discussed supra, Norman Dehko and Somerset Auto also operate

several phone numbers, including 1-800-PAIN and 248-632-PAIN, that were also

used to unlawfully solicit alleged accident victims and set up transportation to the

Defendant Entities. As Norman Dehko is a layperson, these directives to treat did

not involve considerations of medical need and legitimate medical treatment.

      270. By steering patients to the Defendant Entities with which they had

established quid pro quo relationships, the defendants knew that the patients would

be prescribed excessive and medically unnecessary treatment according to a

predetermined treatment protocol, as set forth more fully below, to maximize the

charges for medical treatment.

      271. Indeed, the layperson defendants who solicited the patients at issue

herein remained involved in directing patient treatment long after the original

improper solicitation.

      272. Patient testimony confirms that treatment decisions and referrals were

controlled by layperson employees of Somerset Auto and 1-800-PAIN, including

Norman Dehko, rather than by licensed medical professionals.

      273. For example, patient S.W. (Claim No. 0510979222) informed Allstate

that 1-800-PAIN told her to switch doctors during the course of her treatment.


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      274. Allstate was billed by defendants Level 1 of Michigan, AMC, and

Metro MRI relative to patient S.W.

      275. Patient J.W. (Claim No. 0487022600) testified that Level 1 was “in

charge” of his treatment and confirmed he stopped going to a medical clinic because

the person who originally solicited him (Norman Dehko) decided that he (Norman

Dehko) did not like that doctor.

      276. Patient L.N. (Claim No. 0545177743) told Allstate that she met with

“Norm” after calling 1-800-PAIN and was immediately sent to Level 1 in the same

building.

      277. L.N. talked to “Norm” on a weekly basis and reported to Allstate that

“Norm” also sent her to his “new doctor” at Select Medical.

      278. The defendants also offered cash payments to patients to induce them

to undergo medically unnecessary treatment and imaging. Patients who require cash

payments do not need medical treatment.

      279. Patient N.K. (Claim No. 0548072965) testified that his doctor at AMC

had an agreement with the driver who transported him to AMC, physical therapy,

and MRIs.

      280. N.K. confirmed he was offered cash to comply with AMC’s MRI and

physical therapy referrals:

      Q.     All right. And, sir, I was going to ask you if they offered you any
             money so, first of all, did they offer you any money?· I know you said
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              you didn’t receive any money, did either the doctor or the physical
              therapy place or the guy from the church offer you money to keep
              pursuing some kind of a claim related to this accident?

      A.      My understanding was if we stayed three months in therapy and
              continue with them and do all the MRIs, each one three of them, they
              would give us $1,000 each.

      Q.      Who told you that?

      A.      The guy that took us to therapy.

      Q.      Did the guy who said you would get $1,000 say who he would get the
              money from?

      A.      Supposedly from therapy. He would take it from them.

      281. Patient C.N. (Claim No. TXA-0233760) reported that she heard other

patients in the lobby of AMC saying they were being paid to receive treatment and

that “you could get money for going for an MRI…and that they were paying so many

people $100.”

      282. The defendants also offered patients they perceived to be high value

other in-kind payments, including free housing.

      283. Kickback payments, unlawful solicitation, and treatment directed by

laypersons negate the validity of the medical treatment purportedly provided by the

defendants.

      284. Referrals of patients who were solicited and offered payments in

exchange for treatment bore no relation to actual medical necessity, as the patients



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at issue in this Complaint would not have sought treatment but for the unlawful

solicitation and improper inducements.

      285. All treatment that was unlawfully solicited, improperly induced, or

directed by laypeople was unlawful, unreasonable, and unnecessary, and Allstate has

no obligation to pay any charges associated therewith.

      C.     SPECIFIC EXAMPLES OF PATIENT SOLICITATION

      286. Patients at issue in this Complaint have confirmed that they were

solicited to treat by and with the defendants.

      287. The following representative patients exemplify the fact and extent of

the defendants’ illegal solicitation efforts:

    Patient S.W. (Claim No. 0510979222) reported that she received a phone call
     from “Norman” with 1-800-PAIN after an alleged accident, and that Norman
     referred her to defendant AMC. S.W. never called 1-800-PAIN and had no
     idea how Norman got her number. Patient K.M. (Claim No. 0510979222),
     who was involved in the same alleged accident as S.W., confirmed that 1-800-
     PAIN called S.W. and sent him (K.M.) to treat at AMC. K.M. further reported
     that 1-800-PAIN transported both himself and S.W. to its 26231 Woodward
     Avenue address using a van marked with “1-800-PAIN-800.” When they
     arrived at the 26231 Woodward Avenue building, 1-800-PAIN “wrote us
     some papers . . . [for] doctors and stuff” and then both he and S.W. were
     immediately “sent downstairs” to defendant Level 1 of Michigan in the same
     building. S.W. also reported that 1-800-PAIN maintained contact throughout
     her treatment and at one point directed her to switch doctors.

    Patient J.H. (Claim No. FXP-0381126) was involved in an alleged motor
     vehicle accident on June 25, 2018. J.H. testified that she called her insurance
     company immediately following her accident and stated she was not injured.
     A tow truck arrived to the accident scene and transported J.H. to Somerset
     Auto. At Somerset Auto, Norman Dehko told J.H. that he had a medical
     company she could go to where she would not have to use her medical
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      insurance. Norman Dehko also informed her that his company would
      transport her to medical appointments, and gave her a Somerset Auto business
      card with the “1-800-PAIN” number on it. The following day a van was sent
      to transport her (and two other patients) to a pain management clinic, which
      immediately issued a prescription for physical therapy to be performed at
      defendant Level 1 of Michigan. J.H. described the course of events at
      Somerset Auto and Level 1 of Michigan as a “racket” and testified that after
      she eventually received her car back from Somerset Auto it had additional
      side and back end damage that was not present when she photographed the
      car at the scene of the alleged accident.

    Patient J.B. (Claim No. 0484341078) testified that a tow truck driver from
     Somerset Auto “appeared” at the site of his alleged accident. The tow truck
     driver directed J.B. to receive treatment at Mercyland, which was controlled
     by Angelo and was used interchangeably with AMC as a means of obtaining
     pro forma physical therapy prescriptions for the defendant clinics. Per the
     defendants’ scheme, J.B. was immediately referred for physical therapy at
     Level 1 of Michigan and chiropractic treatment at Northland Healthcare.

    Patient R.W. (Claim No. TXA-0188788) testified that following her alleged
     accident, a tow truck driven by a man named Eli and with the word “Extreme”
     written on the side appeared and drove her to a hospital, where she decided
     she did not need care. Eli gave R.W. a business card with Norman Dehko and
     Somerset Auto’s 248-632-PAIN number. The following day, Somerset Auto
     arranged for R.W. to obtain a physical therapy prescription from Mercyland
     and initiate treatment at defendant Kinetix despite R.W. neither seeking out
     nor needing any treatment.

    Patient J.W. (Claim No. 0487022600) testified that he received a phone call
     at his home the day after his alleged motor vehicle accident from “Norman”
     with Level 1 of Michigan. This phone call was used to set up transportation
     to Level 1 of Michigan the very next day even though J.W. did not seek out
     or need any transportation or treatment.

    Patient J.P. (Claim No. 0507664340) testified that an attorney called
     immediately following an alleged motor vehicle accident and said “I got a
     transportation that’s gonna come to pick you up and take you out to the
     hospital.” J.P. was taken to a pain management clinic associated with the
     defendants where he was referred to Kinetix for alleged physical therapy the

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      very same day. J.P. confirmed that Kinetix set him up with transportation,
      which was billed to Allstate by Motion Transportation.

    Patient C.R. (Claim No. 0519936925) testified that he received a call from
     Norman Dehko of Level 1, who referred to himself as “Bob,” following a
     purported motor vehicle accident. C.R. believed that Norman Dehko got his
     contact information from the police. Norman Dehko told C.R. that he had a
     doctor who could evaluate him and sent somebody to pick C.R. up even
     though C.R. did not seek out nor need medical treatment.

    Patient K.G. (Claim No. 0532574968) testified that he heard about defendant
     1-800-PAIN through a tow truck driver who gave him a business card at the
     scene of his alleged accident. The tow truck driver had arrived at the scene
     even before the police. When he called 1-800-PAIN he was immediately
     referred to AMC, and started physical therapy at defendant Level 1 of
     Michigan the following day.

    Patient O.C. (Claim No. 0526234240) testified that he was given a card for 1-
     800-PAIN by a tow truck driver. 1-800-PAIN had O.C. transported to the
     26321 building where he met with Norman Dehko and was told that he needed
     to be evaluated by AMC and begin physical therapy at Level 1. O.C. further
     explained that when he presented at AMC they were ready for him,
     confirming that Dehko also communicated with AMC about what should be
     done for O.C. prior to his evaluation.

    Patient T.E. (Claim No. 0563730829) testified that after she filed a police
     report following an alleged accident, she began receiving unsolicited
     telephone calls, including from 1-800-PAIN. T.E. was sent by 1-800-PAIN
     to defendant Select Medical, and was immediately prescribed a course of
     physical therapy at defendant Michigan First even though T.E. did not need
     or seek out treatment.

      288. Allstate is not required to pay the defendants for unnecessary treatment

and services that derived from illegal solicitation.




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VII. UNLAWFUL AND UNLICENSED TREATMENT AND SERVICES

       289. The defendants violated several Michigan laws and regulations in their

efforts to bill Allstate for as much treatment as possible.

       A.    UNLICENSED ISSUANCE OF DME

       290. AMC routinely billed Allstate for the purported issuance of DME to

patients at issue herein without possessing the licensure required by the State of

Michigan.

       291. A license from the Michigan Board of Pharmacy is required for all

“drugs and devices manufactured, distributed, prescribed, dispensed, administered,

or issued in this state . . . .” Mich. Comp. Laws § 333.17722 (emphasis added).

       292. AMC has never possessed a valid license to issue DME in the State of

Michigan.

       293. Despite having no license to issue DME, AMC billed Allstate for more

than $183,000 of DME purportedly issued to the patients at issue herein. See Exhibit

6.

       294. Not only was this DME nearly always medically unnecessary,

discussed in detail infra, it was unlawful and not compensable under the No-Fault

Act.

       295. Because none of the DME purportedly issued by AMC to the patients

at issue herein was lawful, none of it was ever compensable pursuant to Michigan’s


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No-Fault Act, and Allstate is entitled to repayment for all unlawful charges it was

induced to pay through AMC’s misrepresentations.

       B.     UNREGISTERED TRANSPORTATION SERVICES

       296. Defendants Motion Transportation and Rent A Ride billed Allstate for

alleged transportation of patients at issue herein despite not possessing valid licenses

to perform such transportation services in Michigan.

       297. The Michigan Department of Licensing and Regulatory Affairs

(“LARA”) currently regulates 1-8 passenger transportation vehicles (“limousine

carriers”).

       298. LARA requires all transportation companies to obtain a valid limousine

carrier license, which must be renewed yearly with proof of automobile liability

insurance.

       299. Motion Transportation and Rent A Ride failed to comply with these

licensure requirements.

       300. Defendant Motion Transportation had actual notice from the State of

Michigan that it was not properly licensed to perform the services for which it billed

Allstate.

       301. LARA sent Motion Transportation a letter dated September 14, 2016

that its Certificate of Authority was revoked as of September 14, 2016 due to Motion

Transportation’s failure to maintain an active insurance policy. See Exhibit 14.


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      302. Motion Transportation nevertheless billed Allstate for more than

$12,300 dollars for approximately 199 trips during the period after September 14,

2016 when its license was revoked. See Exhibit 11.

      303. Rent A Ride first billed Allstate for purported transportation services

on February 16, 2018. See Exhibit 12.

      304. Jordan Dehko did not attempt to file Rent A Ride’s Limousine Carrier

license application until January 17, 2019, more than eleven (11) months after Rent

A Ride first billed Allstate for unlicensed transportation. See Exhibit 15.

      305. Rent A Ride also filed an incomplete application that failed to include

required proof of insurance and entity organization documents, and was therefore

never issued a valid Limousine Carrier license. Id.

      306. Since it never obtained a mandatory license, each and every charge

Rent A Ride submitted to Allstate was unlawful and non-compensable.

      307. Allstate is not required to pay Motion Transportation or Rent A Ride

for unlawful transportation without a valid license, and is entitled to reimbursement

for payments made for these unlicensed and unlawful services.

      C.     UNSUPERVISED TREATMENT BY ASSISTANTS

      308. A former AMC nurse practitioner explained in sworn testimony that the

clinic is run by nurses.




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       309. This nurse practitioner provided testimony that she worked under the

supposed “supervision” of AMC physician Abid Agha, M.D. (“Agha”), yet he was

rarely present in AMC’s office when she evaluated patients.

       310. When questioned at her deposition, this nurse practitioner did not even

know her “supervising” physician Agha’s first name.

       311. The former AMC nurse practitioner further testified that nurse

practitioners at AMC prescribed physical therapy, MRIs, and narcotic pain

medication on their own without physician oversight or supervision.

       312.     Michigan law mandates that for delegation to nurse practitioners,

supervision by a licensed physician is required. See Mich. Comp. Laws

§ 333.16215. Any tasks and functions delegated to nurse practitioners must also fall

within the nurse practitioner’s scope of practice. See id.

       313. However, a physician “licensee shall not delegate an act, task, or

function under this section if the act, task, or function, under standards of acceptable

and prevailing practice, requires the level of education, skill, and judgment required

of the licensee under this article.” Id. (emphasis added).

       314. AMC also routinely misrepresented the medical qualifications of its

nurse practitioners on bills submitted to Allstate in order to conceal the fact that

services that should have been provided by physicians were in fact being provided,

if at all, by assistants.


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      315. For example, AMC improperly charged Allstate for treatment

purportedly rendered by Judith Tigay, a nurse practitioner, signed as “Judith Tigay,

D.O.”:




      316. Deangella Simpson, a registered nurse practitioner, was similarly

identified as “Deangella Simpson, D.O.” on bills submitted by AMC:




      317. AMC knowingly misrepresented the qualifications of its nurse

practitioners on bills submitted to Allstate because its nurse practitioners billed for

treatment and services that require the expertise of a licensed physician without the

requisite supervision required by Michigan law.

      318. By falsely holding out its nurse practitioners as “osteopathic

physicians,” AMC sought to induce Allstate into paying bills for alleged treatment

and services that, if performed at all, were rendered by nurse practitioners on their

own contrary to Michigan law.

      319. Allstate is not required to pay for treatment and services that were

performed, if at all, by AMC nurse practitioners without legally required physician

supervision.


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      D.     UNLICENSED NARCOTIC PRESCRIPTIONS BY NURSE PRACTITIONERS

      320. In addition to billing for unlawful treatment allegedly performed by

nurse practitioners, AMC nurse practitioners prescribed narcotic pain medication in

violation of Michigan law.

      321. Michigan Compiled Laws §333.17211a(1)(b) provides that a nurse

practitioner may only prescribe Schedule II-V controlled substances if delegated by

the supervising physician.

      322. Michigan Compiled Laws 333.17211a(b)(2) further requires that “if an

advanced practice registered nurse prescribes a controlled substance under

subsection (1)(b), both the advanced practice registered nurse’s name and the

physician’s name shall be used, recorded, or otherwise indicated in connection with

that prescription.”

      323. A former AMC nurse practitioner testified that AMC physicians did not

review medication prescriptions written by nurse practitioners, including narcotic

prescriptions.

      324. AMC’s prescriptions routinely listed only the nurse practitioner as the

issuing provider without recording any supervising physician, in direct violation of

Michigan law:




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      325. As detailed below, AMC used narcotics to incentivize continued patient

participation in their predetermined course of excessive treatment, including

referrals to the other defendant clinics.

      326. Allstate is not required to pay for medically unnecessary treatment and

services induced by unlawful narcotic prescriptions.

VIII. FALSIFIED MEDICAL RECORDS

      327. In order to conceal their fraud and induce Allstate to make payments to

which the defendants were not entitled, the defendants routinely altered, forged, and

falsified records submitted to falsely support their bills.

      328. Many of AMC’s notes for examinations/re-examinations billed to

Allstate were not immediately signed by the medical provider that allegedly

performed the evaluation.

      329. AMC created medical records using software called Practice Fusion,

which does not lock a medical record from revision until it is signed by the physician.

      330. Thus, AMC had the ability to edit unsigned records up until they were

electronically signed, and clearly did edit patient records well after the dates that

treatment and services billed to Allstate were allegedly rendered.
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      331. Records from Practice Fusion confirm that layperson defendant Hassan

was also given authority to make edits to medical records at the level of

“phys./MD/DO.”

      332. A former AMC nurse practitioner testified that she would type out her

AMC treatment notes but did not immediately sign off on her completed charts

because she was told by “office manager” Hassan to not sign off.

      333. This nurse practitioner confirmed that she was never actually provided

confirmation to sign her record while at AMC, and testified that several members of

AMC had the ability to access, edit, and sign her electronic records.

      334. Because others at AMC, including Hassan, who was not a licensed

medical professional, could edit her records and then sign the edited version in her

name, this nurse practitioner testified that she could not confirm patient records

submitted to Allstate by AMC in her name were accurate.

      335.   In fact, this nurse practitioner filed a police report regarding AMC’s

practice of having others sign edited records in her name.

      336. AMC’s routine practice of editing patient records well after their

alleged examinations is exemplified by patient C.B. (Claim No. 0358449998), who

was allegedly evaluated at AMC on February 4, 2017, but the note for this purported

evaluation was not actually signed until nearly a year later on February 1, 2018.




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      337. The record allegedly created on February 4, 2017 includes an “Active

Medication” section that lists prescriptions, including narcotic medication, allegedly

prescribed more than one (1) year after the examination, including months after the

record was purportedly signed:




      338. The “historical diagnosis” section also included alleged injuries dated

well after both the examination date and the date the record was allegedly signed:




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      339. Most egregiously, C.B. was prescribed narcotics based on this February

4, 2017 examination, but the “Plan” section of the record indicates that MAPS was

reviewed more than two (2) months after the examination allegedly occurred.

      340. AMC also wholly fabricated patient histories to create the appearance

that injuries were far more severe than they actually were.

      341. For example, Patient J.W. (FXP-0386104) was involved in an alleged

motor vehicle accident on July 19, 2018 and reported to AMC five (5) days later on

July 24, 2018, where a nurse practitioner documented the following description of

his purported motor vehicle accident reproduced verbatim below:

      “The airbags deployed. He reports that he lost consciousness for a
      second… a few block later t-boned on the driver’s side and his car
      flipped three times. He was taken to Sinai Grace. X-rays and MRIs
      were done. Told he has fractured ribs to the left side. No other
      fractures, but he has a black and swollen right eye.”

      342. Patient J.W. reviewed AMC’s purported accident and injury description

and provided sworn testimony that the following AMC representations were

incorrect:

       The airbags did not deploy.
       He did not lose consciousness.
       His car did not flip over three (3) times.
       He was not transported to Sinai Grace. He transported himself to Henry
        Ford Hospital.
       He did not sustain any fractured ribs.
       He did not sustain any eye injury.



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      343. AMC’s creation of medical records that falsified and fabricated

information about patients’ conditions and histories was designed to induce Allstate

to remit payment for the extensive and unnecessary medical treatment billed

pursuant to the defendants’ predetermined protocol, as detailed below.

      344. Defendants Level 1 of Michigan and Michigan First also routinely

falsified their records to create the appearance that AMC was operated by medical

doctors and that referrals and prescriptions for physical therapy were medically

necessary.

      345. For example, AMC nurse practitioner Monet Murphy was falsely

referred to as a medical doctor by Level 1 of Michigan:




      346. Level 1 of Michigan similarly falsely misrepresented nurse practitioner

Marilyn Ngundam as a purported “physician” referring provider:




      347. Michigan First likewise misrepresented its referrals from AMC nurse

practitioner Monet Murphy:




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      348. Allstate relied on the bills and records submitted by the defendants to

accurately and truthfully document the treatment performed and by whom.

      349. Allstate is entitled to reimbursement for all payments it was induced by

make by the defendants’ fraudulent submissions.

IX.   UNREASONABLE                AND        UNNECESSARY                 FRAUDULENT
      TREATMENT

      350. The defendants’ willingness to bill Allstate for services that were (1)

never rendered, (2) induced by kickbacks and other unlawful and improper actions,

and (3) not lawfully provided demonstrates their willingness to also bill for treatment

that was unreasonable and unnecessary.

      351. The defendants’ goal was to bill for as much as possible, regardless of

whether treatment was reasonably necessary to patients’ care, recovery, or

rehabilitation, in order to generate bills for submission to Allstate.

      352. To maximize their financial gain, the defendants adhered to a

predetermined protocol of unnecessary, indiscriminate, and excessive treatment, as

discussed more fully below.




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       353. The defendants’ treatment violated established standards of care in the

medical community, as the vast majority of testing, diagnostics, DME, referrals, and

treatment was not indicated, redundant, excessive, and repeated without any

objectively documented benefit to patients.

       354. The full extent and pattern of the defendants’ misrepresentations

regarding the lawfulness and necessity of the treatment they billed was not known

to Allstate until it undertook the full investigation that culminated in the filing of this

action, including identification of the defendants’ pattern of overtreatment.

       355. The unnecessary treatment rendered by the defendants, discussed more

fully below, includes, but is not limited to, the treatment and patients set out in the

charts annexed hereto at Exhibits 1 through 12.

       356. All of the claims submitted by the defendants to Allstate through the

U.S. Mail and interstate wires seeking payment for unnecessary, excessive,

unlawful, and unreasonable treatment are fraudulent.

       357. Allstate is not required to pay the defendants for treatment that was

medically unnecessary, and it is entitled to the return of money paid in reliance on

the defendants’ fraud.

       358. None of the above facts were known to Allstate until it undertook its

investigation that resulted in the commencement of this action, and are not evident




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within the four corners of the medical records and bills submitted to Allstate by the

defendants.

      A.      THE DEFENDANTS’ PREDETERMINED TREATMENT PROTOCOL

      359. Allstate’s investigation revealed a strikingly similar pattern of alleged

diagnoses and treatment across all patients, including the discovery of a pattern by

the defendants in (1) routinely recording substantially similar diagnoses regardless

of each patient’s reported injuries; (2) providing mirrored treatment plans, including

referrals to co-defendants for purported services, further indicating that patients were

subjected to a predetermined treatment protocol; and (3) failing to indicate short-

and/or long-term goals for patients.

              1.    AMC and Select Medical’s Role in the Defendants’
                    Predetermined Treatment Protocol

      360. Many of the services for which the defendants billed, including physical

therapy, non-emergency medical transportation, MRIs, and DME, required

physician prescriptions.

      361. All of the patients at issue herein required diagnoses to create the

appearance of the existence of injuries that would justify the extraordinary amounts

of bills submitted to Allstate.

      362. AMC and Select Medical were frequently used by the defendants to

manufacturer these diagnoses and to obtain the required prescriptions to facilitate

further billing by the other defendants.
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      363. AMC and Select Medical were also used by the defendants to directly

bill Allstate for unreasonable and unnecessary evaluations, procedures, testing, and

DME as described herein.

      364. As detailed above, many of the patients for whom AMC submitted bills

were only ever evaluated by nurse practitioners in violation of Michigan laws

requiring medical supervision.

      365. The records created by AMC’s nurse practitioners are remarkably

similar and nearly always used identical language that was pre-printed before a

patient was even evaluated.

      366. A former AMC nurse practitioner has confirmed in sworn testimony

that AMC used a template for its purported initial patient evaluations.

      367. AMC’s template included the language “modifying factors that

alleviate the pain…meds, rest, and physical therapy,” and was used even when

patients had not actually attempted the listed treatments.

      368. This language was designed by the defendants to create the false

appearance that conservative measures were not sufficient for AMC’s patients, and

to attempt to justify AMC’s excessive predetermined course of medications, urine

drug testing, DME, diagnostic imaging, and referrals to the other defendant clinics

for treatment that was not medically necessary and bore no relation to the patient’s

actual injuries or current treatment.


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      369. For example, AMC falsely reported that on August 16, 2018, patient

D.A. (Claim No. 0501139729) reported that his pain was alleviated by physical

therapy despite the fact D.A. had not actually attempted physical therapy and did not

begin physical therapy until February 7, 2019.

      370. Nearly every patient of AMC received identical, nonspecific diagnoses

of their alleged injuries, including “cervicalgia,” “pain in thoracic spine,” “low back

pain,” and “pain” in various extremities and joints.

      371. “Pain” is not a diagnosis, it is a symptom, and it is not properly used to

establish medical necessity for the extensive range of services billed by the

defendants.

      372. In addition to these boilerplate reports of patient histories and diagnoses

that are pre-printed and so generic as to be rendered meaningless, AMC almost

invariably prescribed the same exact unnecessary and extensive treatment,

including:

         Medications;
         Physical therapy three (3) times per week for four (4) weeks;
         Chiropractic treatment;
         Total disability from work for four (4) weeks;
         Replacement household services for four (4) weeks;
         Driving restriction for four (4) weeks;
         Diagnostic imaging including MRIs; and
         Urine drug testing.




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      373. Because AMC ordered the same predetermined course of extensive

treatment and testing for nearly every patient, regardless of their age, injury,

comorbidities, or status, such treatment was rarely, if ever, appropriate.

      374. The application of AMC’s nearly identical treatment “plan” to patients

for which it was not appropriate is exemplified by the following representative

patients:

    L.R. (Claim No. 0530629286) – a 75-year-old female that AMC’s initial
     “plan” included physical therapy, DME, a urine drug screen, multiple MRIs,
     and medications. AMC’s initial examination specifically notes that the 75-
     year-old patient was “offered” disability, but “patient refused.”

    L.C. (Claim No. TXA-0198607) – an 11-year-old female at the time of her
     initial AMC evaluation. AMC’s “plan” included physical therapy, multiple
     items of DME, a urine drug screen, multiple MRIs, and medications. AMC
     even issued the 11-year-old patient a disability certificate that included
     driving restrictions.

    N.P. (Claim No. 0498315167) – a 16-year-old female who suffered from
     schizophrenia, bipolar disorder, and oppositional defiant disorder (“ODD”).
     N.P.’s mother testified that she had the mental capacity of a 13-year-old and
     because of this was homeschooled and did not drive or work. Despite N.P.’s
     unique mental impairments, AMC’s “plan” established at N.P.’s initial date
     of service did not vary and still included physical therapy, DME, a urine drug
     screen, multiple MRIs, and medications. AMC also issued N.P. a disability
     certificate that included work/employment disability and driving restrictions.

    A.A. (Claim No. 0517198296) – a 15-year-old female at the time of her initial
     AMC evaluation whose sole injury was right wrist pain described as “dull, no
     radiation” and rated as only a 4/10. The “history of present illness” section of
     AMC’s second examination specifically states A.A. “wanted to stop her
     therapy.” AMC’s “plan” still included physical therapy, medications, an
     MRI, and disability prescribed to the 15-year-old patient.


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      375. AMC also hardly ever altered its predetermined treatment protocol

even when patients were involved in alleged motor vehicle accidents many years

prior to their initial AMC examination and had already undergone extensive

treatment:

    Patient K.D. (Claim No. 0332959220) was involved in an alleged motor
     vehicle accident on July 7, 2014. K.D. first presented to AMC more than three
     (3) years and seven (7) months later on February 20, 2018. AMC’s “history
     of present illness” section confirmed that “the patient has been treated with
     injections, pain meds, TENS Unit, PT, and surgery.” Despite this extensive
     prior treatment, AMC’s initial treatment “plan” still included physical
     therapy, multiple items of DME, a urine drug screen, medications, and
     injections.

    Patient B.C. (Claim No. 0432135218) was involved in an alleged motor
     vehicle accident on September 21, 2016. B.C. first presented to AMC more
     than two (2) years later on December 19, 2018. Despite B.C. having
     previously received extensive physical and massage therapy, AMC’s initial
     treatment “plan” included physical therapy, a urine drug screen, medications,
     multiple x-rays and CT scans, and disability.

    Patient R.H. (Claim No. 0529599639) was involved in an alleged motor
     vehicle accident on December 29, 2018 and reported to AMC for an initial
     examination billed only six (6) days later on January 4, 2019. AMC’s “plan”
     for the for the recent motor vehicle accident patient was not altered or
     modified in any way and likewise included physical therapy (billed by Level
     1 of Michigan on the same January 4, 2019 date of service), a urine drug
     screen, multiple MRIs (billed by Metro MRI only two (2) days later on
     January 6, 2019), medications, and disability including work/employment
     disability, housework restrictions, and replacement services.

      376. As set out further below, the predetermined treatment plans used by

AMC resulted in a gross overutilization of physical therapy and chiropractic




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treatment at the defendant clinics, medications, urine drug testing at AMC, and

diagnostic imaging orders at Metro MRI in clear disregard for standards of care.

      377. AMC used the records with falsely reported treatment histories and

unsubstantiated diagnoses to order extensive diagnostic testing that was billed as a

matter of course and in disregard to the applicable standards of care, as discussed in

detail below.

      378. A former AMC nurse practitioner confirmed that AMC’s purported

managing physician Agha required nurse practitioners to order MRIs of all body

parts for which auto accident patients complained of any pain and to order urine drug

testing for auto accident patients at every appointment.

      379. Defendant Hassan has admitted to Allstate that AMC subjects every

patient to urine drug screenings as a matter of course.

      380. AMC nurse practitioners were also instructed by Agha that all auto

accident patients should be classified as disabled from work, and issued prescriptions

for attendant care, household services, and transportation.

      381. In addition to creating the appearance of injury, such pro forma

disability certificates and orders were used by AMC to entice patients to continue to

return to the clinic where they were subjected to additional unnecessary treatment

and referrals.




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      382. Indeed, Somerset Auto’s packet provided to alleged auto accident

victims included both a card for AMC as well as “Replacement (Household)

Services Statement” forms, evidencing that the promise of compensation for such

alleged services was used as an enticement for patients:




      383. These packets, which include calendars for replacement services for

future months were provided to alleged accident victims before they were referred

(through unlawful solicitation) to AMC, indicating that the defendants knew AMC

would find the Somerset Auto customer to be disabled.

      384. AMC also took steps to ensure that its prescriptions were used to

generate claims by the other participants of the scheme described herein.




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      385. AMC’s treatment notes frequently included specific references

identifying patients as an “800 PAIN MVA” and specifying physical therapy would

be performed at Level 1:




      386. When Select Medical was organized by defendant Sagala in June 2019,

it operated a highly similar predetermined treatment scheme that likewise directed

medically unnecessary referrals to Metro MRI, Level 1 of Michigan, and Michigan

First for imaging and physical therapy ordered as a matter of course.

      387. For example, more than 61% of the patients for whom Level 1 of

Michigan submitted bills to Allstate were purportedly evaluated at AMC or Select

Medical. See Exhibits 4, 6, and 7.

      388. Similarly, more than 56% of Select Medical patients were prescribed

physical therapy billed by either Level 1 of Michigan or Michigan First. See Exhibits

4, 5, and 7.

      389. More than 33% of Select Medical patients were ordered MRIs billed by

Metro MRI. See Exhibits 7 and 10.

      390. Defendant AMC was also used by the defendants to lure patients and

induce them to return for treatment through improper and excessive prescriptions for

narcotic medications.


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      391. As discussed supra, AMC nurse practitioners routinely prescribed

narcotic pain medication on their own without the supervision of a licensed

physician in violation of Michigan law.

      392. When AMC physicians actually took part in patient examinations, they

were nearly exclusively performed by physicians, including Jankowski, Edu,

Nallani, and Bitkowski, who have well-documented and extensive histories of

improperly prescribing controlled substances.

      393. In many cases, these AMC nurse practitioners and physicians

prescribed medications that were not indicated at all for the treatment of the patient’s

purported condition.

      394. AMC’s frequent prescription of opioid pain medication is particularly

egregious, as it contributed to a significant public health crisis in Michigan.

      395. On October 26, 2015, a bipartisan task force formed by then Michigan

Governor Rick Snyder issued a report “addressing the growing prescription drug and

opioid problem in Michigan.”

      396. The task force reported:

      Prescription drug abuse has reached epidemic proportions. The
      increased availability of prescription drugs, coupled with general
      misperceptions regarding the safety of physician-prescribed
      medications, has led to exponential growth of drug users and drug
      abusers. In Michigan, the number of drug overdose deaths – a majority
      of which are from prescription drugs – has tripled since 1999.



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      397. It has been estimated that the risk of addiction for patients receiving

long-term prescriptions for opioid painkillers is as high as 56% of all such

patients. Bridget A. Martell, et al., Systematic Review: Opioid Treatment for

Chronic Back Pain: Prevalence, Efficacy, and Association with Addiction, 146(2)

Ann. Intern. Med. 116-127 (2007).

      398. AMC’s reckless prescriptions of drugs, especially narcotics, is

exemplified by the following patients:

    Patient A.Y. (Claim No. TXA-0220105) first allegedly presented to AMC on
     January 2, 2019. AMC’s initial examination expressly noted that A.Y. is an
     opioid dependent patient, yet he was still (unlawfully) prescribed 30
     hydrocodone-acetaminophen 10-325 mg pills by an AMC nurse practitioner.
     On February 11, 2019, AMC renewed A.Y.’s narcotic pain medication despite
     clear indications that he was not taking his medication as prescribed, including
     a January 15, 2019 urine drug test ordered by AMC that confirmed A.Y. was
     “negative” for the prescribed medication diazepam and a January 30, 2019
     urine drug test ordered by AMC that confirmed A.Y. was negative for the
     prescribed hydrocodone. AMC ordered additional urine drug testing on
     February 11, 2019 that once again confirmed A.Y. was not taking
     hydrocodone as prescribed, yet AMC again renewed the prescription on
     February 27, 2019. At each examination where A.Y.’s narcotic medication
     was renewed despite repeatedly inconsistent results, AMC falsely reported
     that “UDS reviewed and consistent.” On March 25, 2019, A.Y. was re-
     evaluated at AMC and the examining nurse practitioner indicated that urine
     drug screening results ordered on February 27, 2019 were “still pending.” The
     February 27, 2019 urine drug results were not still pending, but were in fact
     reported on March 4, 2019 and once again indicated A.Y. tested negative for
     hydrocodone. Clearly without reviewing the February 27, 2019 laboratory
     report, the AMC nurse practitioner again renewed A.Y.’s hydrocodone
     prescription on March 25, 2019.

    Patient R.H. (Claim No. TXA-0216616) was involved in an alleged motor
     vehicle accident on October 31, 2018 and presented to AMC the same day.
     R.H. was immediately prescribed 20 hydrocodone-acetaminophen 7.5-325
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      mg pills by AMC. Only eight (8) days later, R.H. allegedly returned to AMC
      for a re-examination that included a urine drug screening that confirmed R.H.
      was negative for all substances, including the prescription for hydrocodone.
      Another eight (8) days later, on November 16, 2018, R.H. allegedly returned
      to AMC for a purported “MEDS ONLY” follow-up evaluation performed by
      a nurse practitioner. Despite characterizing the re-evaluation as a “MEDS
      ONLY” follow-up, AMC failed to acknowledge R.H.’s inconsistent urine
      drug test result from the previous week and instead falsely reported that R.H.’s
      “UDS reviewed and consistent.” Not only did AMC renew R.H.’s
      hydrocodone on November 16, 2018, the AMC nurse practitioner also
      prescribed an additional 60 Tramadol HCL 50 mg pills. AMC ordered
      additional urine drug testing performed on December 11, 2018 that once again
      confirmed R.H. was negative for all substances, including the prescribed
      hydrocodone and tramadol. AMC again failed to acknowledge R.H.’s
      inconsistent urine drug test results on December 11, 2018, yet doubled R.H.’s
      hydrocodone-acetaminophen 7.5-325 mg from 20 to 40 pills. About a month
      later on January 17, 2019, AMC increased R.H.’s same hydrocodone-
      acetaminophen 7.5-325 mg to 60 pills for the same thirty (30) day supply
      period. AMC not only continuing but increasing R.H.’s narcotic prescriptions
      despite multiple inconsistent drug screenings evidencing clear misuse or
      diversion of the same violated established standards of care.

    Patient C.B. (Claim No. 0358449998) first allegedly reported to AMC on
     December 5, 2015 and was immediately prescribed 120 Percocet 10-325 mg
     pills. Following this initial examination and narcotic prescription, C.B.
     continued to report to AMC for monthly re-examinations to have her
     medications refilled for more than four (4) years, including as recently as
     February 24, 2020. The only purpose of these continuing examinations was
     to obtain prescription re-fills, as C.B. had stopped other treatment in early
     2018. C.B.’s narcotic pain medication was also renewed at every AMC
     examination despite numerous urine drug screenings confirming C.B. was not
     taking it as prescribed. AMC knew C.B. was abusing her narcotic medication,
     as the “plan” section of C.B.’s August 24, 2018 AMC examination confirms
     five (5) separate inconsistent tests in just over a four (4) month period:




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      Despite AMC’s claims that C.B.’s narcotic medication would be decreased or
      discontinued if she continued to misuse her medication, she once again tested
      positive for non-prescribed hydrocodone on November 15, 2018. AMC
      acknowledged this inconsistent result during a December 13, 2018 re-
      examination, yet once again renewed C.B.’s narcotic medication and
      explained away the inconsistent result (her sixth inconsistent result in just over
      seven (7) months) as “possibly a lab error.”

      399. The testing, diagnostics, referrals, and treatment ordered and billed by

AMC and Select Medical were not indicated, redundant, excessive, and repeated

without any benefit to the patient or influence on the predetermined course of

treatment.

      400. Moreover, AMC and Select Medical were used to create the

prescriptions and diagnoses required for the other defendants to bill Allstate for

unreasonable and unnecessary services, as detailed below.



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      2.     Medically Unnecessary Physical Therapy and Chiropractic
             Treatment

      401. Kinetix, Level 1 PT & Rehab, Level 1 Health, Level 1 of Michigan,

Michigan First, Northland Healthcare, and Northland Chiropractic (collectively, the

“defendant PT and chiro clinics”) and their owners and managers billed Allstate for

treatment that far exceeded applicable standards of care.

      402. Valid orders for courses of chiropractic and physical therapy treatment

require the services be objectively indicated and not based on a patient’s subjective

complaints of pain alone.

      403. In the vast majority of all motor vehicle accident cases, mild injuries

will resolve themselves within a few weeks without any treatment whatsoever.

      404. Thus, the immediate resort to physical therapy and chiropractic

treatment using a predetermined protocol of excessive treatment was not related to

the care, recovery, or rehabilitation of the patient, thus rendering such services

medically unnecessary and not compensable under applicable provisions of the

Michigan No-Fault Act.

      405. Moreover, the defendants’ immediate resort to extensive treatment at

the defendant clinics may have caused harm to the patients at issue herein, as acute

processes of injury were not allowed to dissipate naturally and follow the expected

course of recovery.



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      406. Because physical therapy exceeding twenty-one (21) days or ten (10)

visits must be prescribed by a licensed medical or osteopathic doctor pursuant to

Mich. Comp. Laws § 333.17820(1), Kinetix, Level 1 PT & Rehab, Level 1 of

Michigan, and Michigan First required the participation of defendants AMC and

Select Medical in their scheme to submit bills to Allstate.

      407. Pursuant to the defendants’ scheme, patients solicited by Norman

Dehko, 1-800-PAIN, and Somerset Auto were transported to AMC for physical

therapy prescriptions to clinics owned by the Dehko family, including Level 1 of

Michigan and Michigan First.

      408. AMC’s immediate referrals for medically unnecessary physical therapy

at Level 1 of Michigan are exemplified by the following representative patients:

    Patient K.M. (Claim No. 0510979222): Allstate was billed for alleged
     treatment at AMC and Level 1 of Michigan on July 26, 2018, which was only
     one (1) day after K.M.’s purported motor vehicle accident.

    Patient R.H. (Claim No. 0511280331): Allstate was billed for alleged
     treatment at AMC and Level 1 of Michigan on July 30, 2018, which was just
     two (2) days after R.H.’s purported motor vehicle accident.

    Patient D.T. (TXA-0211441): Allstate was billed for the start of alleged
     treatment at AMC and Level 1 of Michigan on the same date, September 13,
     2018.

    Patient J.W. (TXA-0208046): Allstate was billed for a purported initial
     evaluation at AMC on July 12, 2018, which was only two (2) days after J.W.’s
     alleged motor vehicle accident. Physical therapy at Level 1 of Michigan was
     billed starting the following day, July 13, 2018.


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    Patient M.K. (TXA-0213447): Allstate was billed for an alleged initial
     examination at AMC on September 25, 2018, which was only one (1) day
     after M.K.’s purported motor vehicle accident. Physical therapy at Level 1 of
     Michigan was billed starting the following day, September 26, 2018.

      409. Michigan First likewise billed for immediate physical therapy referrals

from both Select Medical and AMC pursuant to the same internal referral

arrangement:

    Patients T.B. (Claim No. 0571952845): Allstate was billed for a purported
     initial evaluation of T.B. at Select Medical on December 17, 2019, which was
     only two (2) days after her alleged motor vehicle accident. Michigan First
     started billing Allstate for alleged physical therapy the following day,
     December 18, 2019.

    Patient T.E. (Claim No. 0563730829): Allstate was billed for an alleged initial
     evaluation at Select Medical on October 9, 2019, which was only two (2) days
     after her purported motor vehicle accident. Michigan First started billing
     Allstate for alleged physical therapy only two (2) days later on October 11,
     2019.

    Patient L.L. (Claim No. 0553929779): Allstate was billed for the start of
     alleged treatment at Select Medical and Michigan First on the same date, July
     19, 2019.

    Patient K.L. (Claim No. 0552740466): Allstate was billed for an alleged initial
     evaluation at AMC on July 17, 2019, which was just eight (8) days after his
     purported motor vehicle accident. Michigan First began billing Allstate for
     alleged physical therapy five (5) days later on July 22, 2019.

      410. Once referred to the defendant physical therapy clinics, patients’

complaints and findings were routinely exaggerated in an attempt to create the

appearance of justification for the extensive courses of treatment ordered.



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      411. For example, patient R.H. (Claim No. 0511280331) presented to the

Henry Ford emergency department on July 29, 2018, one (1) day after his alleged

motor vehicle accident.

      412. Henry Ford’s emergency physician found that R.H. had normal range

of motion in his cervical, thoracic, and lumbar spine.

      413. R.H. then allegedly presented to AMC the next day, July 30, 2018, and

was again found to have “full ROM in all 4 extremities.”

      414. Immediately following the purported evaluation by AMC, R.H. was

allegedly evaluated at Level 1 of Michigan, which claimed that R.H.’s range of

motion was severely restricted, including to 60-70% of normal in his cervical and

lumbar spine.

      415. Level 1 of Michigan also claimed that R.H. had significant decreases in

muscle strength that were never noted by physicians, including only 3/3+/5 in R.H.’s

spine, shoulder, and hip, the last of which was a body part for which he had reported

no injury at either Henry Ford or AMC.

      416. Range of motion (“ROM”) and motor muscle tests (“MMT”) were

routinely used by the defendant PT and chiro clinics to create the false impression

of significant injuries to the patients at issue herein.

      417. The results of MMT tests are scored using the Oxford Scale, as

described on the chart below:


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    Grade                                  Observation
      0         No muscle contraction is detected.
                A trace contraction is noted in the muscle by palpating the muscle
       1
                while the patient attempts to contract it.
       2        The patient is able to move the muscle when gravity is eliminated.
                The patient may move the muscle against gravity but not against
       3
                resistance from the examiner.
                The patient may move the muscle group against some resistance
       4
                from the examiner.
                The patient moves the muscle group and overcomes the resistance
       5
                of the examiner. This is normal muscle strength.

      418. The MMT scores reported by the defendant PT and chiro clinics reflect

patients who allegedly presented with crippling injuries, not the (at most) minor soft-

tissue injuries that were reported by other physicians treating the patients and the

patients themselves.

      419. Indeed, if these reported MMT scores were accurate, the patients would

not be able to perform the treatments billed to Allstate as they would not be able to

perform any exercises.

      420. As exemplified by patient R.H., the purported findings recorded by the

defendant PT and chiro clinics were often contradicted by findings recorded by

physicians who had made referrals for physical therapy or chiropractic treatment.

      421. The defendant PT and chiro clinics similarly reported wildly

exaggerated injuries and limitations at initial examinations, as exemplified by the

following representative patients:



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    Patient L.H. (Claim No. 0433097440) was evaluated at St. John Hospital &
     Medical Center on October 20, 2016, where he was found to have “strength
     is symmetric and 5/5 in upper and lower extremities.” Four (4) days later on
     October 24, 2016, L.H. was evaluated by an osteopathic physician who
     confirmed his “range of motion in neck is normal.” L.H. then allegedly
     presented at Kinetix on October 28, 2016, where he was reported to have just
     2-3/5 strength in all muscle groups, including areas for which L.H. had not
     previously complained of pain, including his elbow, wrist, knee, and hip. A
     muscle strength limitation of 2/5 indicates that an injury is so severe that the
     patient cannot even move the body part against gravity. Kinetix also claimed
     that L.H.’s cervical spinal ROM was only 10 degrees in extension, 15 degrees
     in left rotation, and 15-20 degrees in left/right side bending. Kinetix’s claim
     that L.H. had these severely debilitating injuries was made only four (4) days
     after an osteopathic physician confirmed that L.H. actually had normal muscle
     strength and ROM.

    Patient M.P. (Claim No. 0460037633) was evaluated at the Henry Ford
     emergency department on June 7, 2017, where it was expressly noted that
     M.P. showed “no C-spine tenderness…no complaints of pain” and had “full
     active range of motion present.” Only nine (9) days later, Kinetix claimed
     that M.P. had muscle strength of only 2/5 in all extremities examined,
     including areas for which M.P. had not reported any injury at Henry Ford such
     as his hip, ankle, and spine. A muscle strength limitation of 2/5 indicates that
     an injury is so severe that the patient cannot even move the body part against
     gravity. Kinetix also claimed that M.P. displayed cervical, lumbar, and
     thoracic extension, rotation, flexion, and bending range of motion of only
     10/15 degrees, an extreme limitation that dramatically varied from Henry
     Ford’s finding of no spinal injury or range of motion restrictions.

    Patient C.C. (Claim No. 0434178983) was involved in an alleged motor
     vehicle accident on October 29, 2016. C.C. was initially evaluated by an
     osteopathic physician two (2) days later on October 31, 2016, who performed
     muscle strength testing that noted it was “5/5” in all tested muscle groups.
     Kinetix then billed for an initial examination of C.C. purportedly performed
     by Shah the very same day, and reported C.C. to have only a “2” “2+” or “2-
     ” muscle strength in nearly all areas tested. Shah’s October 31, 2016 initial
     examination further reported C.C. displayed “0 degree” range of motion in
     her right side bending, left side bending, and left rotation, yet she was
     allegedly able to perform therapeutic exercises billed to Allstate.

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    Patient A.Y. (Claim No. 0275194066) presented to Lakeland Community
     Hospital immediately following an alleged motor vehicle accident on
     February 2, 2013, and was found to have only minor neck and pelvic pain with
     “normal range of motion…no pain in the entire spine.” Approximately one
     month later, on March 5, 2013, Northland Chiropractic billed for an initial
     examination of A.Y. and claimed that A.Y. had limited ROM in both her
     cervical and lumbar spine. Using these purported findings, Northland
     Chiropractic billed Allstate for an extensive course of chiropractic treatment
     including therapeutic exercises, CMT, mechanical traction, massage, and
     ultrasound treatment that continued unchanged for more than one (1) year and
     four (4) months. This extensive treatment focused heavily on A.Y.’s lumbar
     and thoracic spine, areas for which A.Y. did not report any injury at the time
     of the alleged accident. Northland Chiropractic never billed Allstate for any
     re-examinations throughout this entire treatment period.

    Patient D.F. (Claim No. 0529272312) was involved in an alleged motor
     vehicle accident August 31, 2018. D.F. presented to the Detroit Medical
     Center emergency department, where he complained of only neck and back
     pain and upon examination exhibited normal musculoskeletal range of motion
     and strength without tenderness. Only eleven (11) days later on September
     11, 2018, Level 1 PT & Rehab billed for a purported initial examination of
     D.F. Level 1 PT & Rehab’s examination “diagnosed” several new purported
     injuries to D.F.’s head, right thigh, and left eye. In addition to these new
     injuries, Level 1 PT & Rehab’s examination further reported extreme range
     of motion restrictions and muscle strength limitations of “3+” in numerous
     areas D.F. was never diagnosed with any injury, including his wrists, hands,
     fingers, hips, and ankles. Based on this exaggerated September 11, 2018
     examination, Level 1 PT & Rehab proceeded to bill Allstate for nearly eleven
     (11) months of treatment.

    Patient M.H. (Claim No. 0434178983) was a nineteen (19) year old female
     involved in an alleged motor vehicle accident on October 29, 2016. M.H. was
     not hospitalized following accident. Only two (2) days later on October 31,
     2016, M.H. was evaluated by a physician who performed muscle strength
     testing and confirmed she exhibited “5/5” strength in her upper and lower
     extremities. On the same day, Level 1 Health billed for an initial examination
     allegedly performed by Sagala. Sagala’s same-day examination reported a
     number of injuries not documented or diagnosed by the physician, including
     pain in not only her neck but also her mid-back, low-back, and shoulder.
     Sagala’s examination further claimed M.H. exhibited restricted lumbar spinal
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      range of motion and diminished shoulder strength. Based on this exaggerated
      examination, Level 1 Health immediately began billing Allstate for CMT
      purported rendered to 3-4 spinal regions as well as therapeutic massage.
      These treatments require “injuries” to multiple spinal regions as well as a non-
      spinal extremity, which did not exist according to the physician evaluation
      performed on the same day Level 1 Health began treatment.

    Patient L.L. (Claim No. 0553929779) was involved in an alleged motor
     vehicle accident on July 18, 2019 and reported to the Garden City Hospital
     emergency department that day. L.L.’s Garden City Hospital examination
     failed to document any range of motion or muscle strength restriction and
     determined L.L. exhibited no cervical spinal tenderness. The next day, July
     19, 2019, Michigan First billed for an initial examination of L.L. that claimed
     any minor neck movement made L.L. so dizzy that no neck range of motion
     or muscle strength tests could be performed. Despite not performing any
     actual tests or examination on L.L.’s neck, Michigan First’s “plan” still
     included such goals as improving muscle strength in L.L.’s neck to a “4+” and
     improving his neck range of motion by “20-30%.” The inclusion of these pre-
     printed “goals” related to an examination that never occurred confirms that
     Michigan First reports restrictions below these ranges as a matter of course.
     Michigan First’s perceived limitations in L.L.’s neck were also directly
     contradicted by L.L.’s examination at Select Medical, billed on the same July
     19, 2019 date of service, which documented a barely diminished 90% neck
     range of motion.

      422. After developing the appearance of necessity for treatment through

fabricated examinations that exaggerated ROM and muscle strength limitations, the

defendant PT and chiro clinics ordered highly similar courses of therapy for every

patient so that they could bill Allstate for extensive unnecessary treatment over the

course of many months pursuant to a predetermined protocol.

      423. For example, the defendant physical therapy clinics nearly always

prescribed treatment consisting of therapeutic exercises, electrical stimulation,

manual therapy, and application of hot/cold packs.
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      424. Kinetix billed for application of hot/cold packs and therapeutic

exercises for 100% of Allstate insureds, electrical stimulation for more than 90% of

Allstate insureds, and manual therapy for more than 78% of Allstate insureds. See

Exhibit 1.

      425. Level 1 PT & Rehab billed for application of hot/cold packs,

therapeutic exercises, electric stimulation, and manual therapy for 100% of Allstate

insureds. See Exhibit 2.

      426. Level 1 of Michigan billed for application of hot/cold packs and

therapeutic exercises for more than 91% of Allstate insureds, electrical stimulation

for more than 86% of Allstate insureds, and manual therapy for more than 74% of

Allstate insureds. See Exhibit 4.

      427. Michigan First billed for application of hot/cold packs and electrical

stimulation for more than 92% of Allstate insureds, therapeutic exercises for more

than 85% of Allstate insureds, and manual therapy for 42% of Allstate insureds. See

Exhibit 5.

      428. The defendant chiropractic clinics likewise billed Allstate pursuant to a

standard predetermined treatment protocol that included mechanical traction, CMT,

massage, therapeutic exercises, and application of hot/cold packs.

      429. Northland Healthcare billed for application of hot/cold packs for 100%

of Allstate insureds, massage for more than 94% of Allstate insureds, mechanical


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traction and therapeutic exercises for more than 88% of Allstate insureds, and CMT

for more than 82% of Allstate insureds. See Exhibit 8.

      430. Northland Chiropractic billed for mechanical traction, CMT, massage,

therapeutic exercises, and application of hot/cold packs for 100% of Allstate

insureds. See Exhibit 9.

      431. Level 1 Health billed for mechanical traction and application of

hot/cold packs and CMT for 70% of Allstate insureds. See Exhibit 3.

      432. Once referrals were made to the defendant clinics and patients were

started on these excessive predetermined courses of treatment, neither AMC, Select

Medical, nor the defendant PT and chiro clinics evaluated the efficacy of treatment

billed, and did not alter or discontinue the predetermined course of treatment.

      433. Level 1 PT & Rehab, Level 1 Health, Northland Healthcare, and

Northland Chiropractic never billed Allstate for a single re-evaluation of any patient

at issue herein.

      434. In the five (5) year period during which it billed Allstate from 2015-

2019, Kinetix only billed for two (2) purported re-evaluations.

      435. To the extent that re-evaluations were conducted at all, the defendants’

predetermined treatment protocol was almost never altered.




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      436. Indeed, many of the patients of the defendant clinics failed to improve

at all, or in many cases, got worse, despite purportedly undergoing treatment for

many months or years.

      437. Specific examples of patients for whom the defendants submitted bills

that far exceed standards of care include the following:

    Patient S.B. (Claim No. 0495098005) was involved in an alleged motor
     vehicle accident on April 15, 2017. S.B. was allegedly examined at
     Mercyland on April 19, 2017, and was referred to Level 1 PT & Rehab on the
     same day. Level 1 PT & Rehab claimed S.B.’s pain was 7/10 in her cervical
     spine/neck area and muscle strength was 3/5 in her cervical spine and 4/5 in
     her lumbar spinal. S.B. was placed on Level 1 PT & Rehab’s predetermined
     protocol of therapeutic exercises, massage, dynamic therapeutic activities,
     hot/cold packs, electrical stimulation, manual therapy and mechanical
     traction. Level 1 PT & Rehab billed for alleged treatment of S.B. pursuant to
     this predetermined protocol three (3) times weekly for more than seven (7)
     months.

      Only seven (7) days after Level 1 PT & Rehab stopped billing, S.B. presented
      to Kinetix for an initial physical therapy evaluation based on a referral from
      AMC’s Jankowski. Kinetix reported that S.B.’s cervical and lumbar spinal
      ROM was significantly worse than before her course of alleged treatment at
      Level 1 PT & Rehab. Kinetix then billed for a nearly identical course of
      physical therapy that had failed at Level 1 PT & Rehab, including therapeutic
      exercises, massage, dynamic therapeutic activities, hot/cold packs, electrical
      stimulation, manual therapy and mechanical traction. Kinetix billed for
      treatment purportedly provided to S.B. pursuant to this established
      predetermined protocol for an additional ten (10) months. Despite S.B.’s
      extensive treatment, her reported pain level as of her final September 20, 2018
      Kinetix appointment was documented at 7/10, the exact same as it was at
      Level 1 PT & Rehab seventeen (17) months prior.

      Five (5) days after her last Kinetix appointment, S.B. presented to Northland
      Healthcare where she was allegedly evaluated by defendant Sagala.
      Northland Healthcare reported that S.B.’s cervical ROM flexion was even
      worse than exhibited during either her Level 1 PT & Rehab or Kinetix
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      evaluations. Nevertheless, Northland Healthcare’s course of treatment again
      included many of the same modalities that had previously failed, including
      mechanical traction, therapeutic exercises, hot/cold packs, and massage. As
      of October 15, 2018, S.B. reported her pain was an 8/10, worse than the pain
      level she had at the outset of this extraordinary course of purported treatment.
      During the entire course of more than eighteen (18) months of alleged physical
      therapy and chiropractic treatment billed by the defendants, not one (1) re-
      examination was performed.

    Patient K.L. (Claim No. 0390106060) allegedly presented to Kinetix on
     November 17, 2015, and was claimed to have neck and back muscle strength
     of only 2+/5 and zero degree ROM in her neck. Despite these extremely
     severe purported limitations, Kinetix ordered its standard predetermined
     treatment protocol that involved billing for numerous treatment modalities
     including therapeutic procedures, electrical stimulation treatment, application
     of hot/cold packs, massage and ultrasound treatment. Kinetix billed for this
     course of alleged treatment for more than nine (9) months without performing
     a single re-examination of K.L. Northland Healthcare then billed for an
     alleged evaluation of K.L. on February 14, 2017. Despite the extensive
     purported treatment billed by Kinetix, K.L.’s pain was reported to be 10/10 at
     by Northland Healthcare, which was worse than her pain reported at her initial
     Kinetix evaluation. Despite failing treatment at Kinetix, Northland
     Healthcare billed for identical therapeutic procedures, massage, and
     application of hot/cold packs for six (6) additional months.

    Patient A.D. (TXA-0177296) was involved in an alleged motor vehicle
     accident on November 17, 2016. Only five (5) days later on November 22,
     2016, Kinetix billed for an initial examination allegedly performed by Shah.
     The William Beaumont emergency department had examined A.D. the day of
     his motor vehicle accident and determined he exhibited a full musculoskeletal
     range of motion, yet Shah’s examination claimed his range of motion was
     severely restricted with a reported “0 degree” lumbar rotation, extension, and
     bending. Shah further claimed A.D.’s strength was an extremely limited “2/5”
     or “2+/5” throughout his entire spine. A.D. would not have been able to
     perform active physical therapy exercises with these alleged injuries, yet
     Kinetix still billed Allstate pursuant to its standard predetermined course of
     treatment, which included therapeutic exercises, massage, dynamic
     therapeutic activities, hot/cold packs, electrical stimulation, manual therapy
     and mechanical traction. Kinetix billed Allstate pursuant to this treatment

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      protocol for more than one (1) year and three (3) months without ever
      performing a single re-examination.

      At the same time Kinetix was billing Allstate for this extensive treatment,
      Level 1 Health was billing Allstate for many of the exact same treatment
      modalities. Level 1 Health first billed Allstate for an initial examination of
      A.D. allegedly performed by Sagala on November 28, 2016, only six (6) days
      after A.D. first reported to Kinetix. Following its initial examination, Level 1
      Health billed Allstate for nearly four (4) months of continuous treatment,
      including charges for therapeutic exercises, massage, mechanical traction, and
      application of hot/cold packs identical to the treatment being simultaneously
      billed by Kinetix. Despite both Kinetix and Level 1 Health billing for the
      same redundant, overlapping treatment modalities over an extended period,
      A.D. reported his pain was actually more severe towards the end of this
      treatment. A.D. reported a pain score of 6/10 during a November 23, 2016
      Kinetix appointment, yet reported a pain score of 7/10 more than one (1) year
      later during a November 27, 2017 Kinetix appointment. Despite this clear
      lack of improvement, the defendants did not alter their predetermined protocol
      of alleged treatment.

    Patient D.M. (Claim No. 0474896668) was involved in an alleged motor
     vehicle accident on September 13, 2017. Three (3) days later, D.M. reported
     to the Sinai Grace emergency department. D.M. was 81 years old at the time
     of her Sinai Grace examination, which determined she exhibited a full range
     of motion in her shoulders and knees, good strength in her hands, and could
     walk and move without difficulty. The Sinai Grace physician diagnosed D.M.
     with only an “acute left trapezius strain secondary to seatbelt.” When
     Northland Healthcare billed for an initial examination, it claimed that D.M.
     suffered injuries to her neck, mid-back, low-back, shoulder, and head and
     reported restricted range of motion in her cervical and lumbar spine.
     Northland Healthcare placed D.M. on its standard predetermined treatment
     protocol that included CMT, therapeutic exercises, massage, and application
     of hot/cold packs.

      Just eight (8) days after D.M.’s final Northland Healthcare appointment, Level
      1 of Michigan billed for an initial physical therapy evaluation that claimed
      D.M.’s condition had somehow diminished even further, including such new
      injuries as radiating pain in her left hand, motor difficulties, and range of
      motion restrictions in her shoulders, hips, knees, and elbows. Level 1 of
      Michigan likewise placed the 81-year-old D.M. on a highly similar course of
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      treatment that had apparently already failed at Northland Healthcare,
      including therapeutic exercises, massage, and application of hot/cold packs
      for more than two (2) additional months.

    Patient C.W. (Claim No. 0291832657) was involved in an alleged motor
     vehicle accident on June 29, 2013 and was examined in the DMC Harper
     University Hospital emergency department the same day. DMC Harper’s
     examination found no radiating pain, no point tenderness in C.W.’s thoracic
     or lumbar vertebrae, and no diminished muscle strength or range of motion
     limitations. Only two (2) days later on July 1, 2013, Northland Chiropractic
     billed for an initial examination allegedly performed by Sagala. Sagala’s
     examination claimed nearly C.W.’s entire spine was “tender to touch” and
     reported cervical and lumbar flexion, extension, and rotation range of motion
     restrictions. Based on this exaggerated examination, Northland Chiropractic
     billed Allstate for more than one (1) year and three (3) months of treatment
     that included therapeutic exercises, massage, and application of hot/cold
     packs. In addition to this extensive treatment billed by Northland
     Chiropractic, Northland Healthcare inexplicably billed for an initial
     examination on July 11, 2013, which was only ten (10) days after Northern
     Chiropractic’s initial examination. Northland Healthcare then billed Allstate
     for sixteen (16) purported appointments, all of which were billed
     simultaneously with Northland Chiropractic’s charges and included many
     identical treatment modalities, including therapeutic exercises, massage, and
     application of hot/cold packs.

      438. Numerous patients have also testified to the clinic defendants’

excessive and unnecessary predetermined treatment protocols.

      439. Patient S.W. (Claim No. 0510979222) told Allstate that she went to

Level 1 of Michigan for physical therapy three (3) times each week for three (3)

months and had no improvement.

      440. Patient J.B. (0484341078) testified that Sagala, who allegedly

performed J.B.’s treatment at Level 1 of Michigan, “would ask me do I want

massage, and I would tell them yes or no.”
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      441. The physical therapy billed by Kinetix, Level 1 PT & Rehab, Level 1

of Michigan, and Michigan First was frequently redundant of treatments that patients

were supposedly already receiving through extensive courses of chiropractic

treatment billed by Level 1 Health, Northland Healthcare, and Northland

Chiropractic.

      442. For example, Kinetix and Level 1 Health billed Allstate for identical

purported treatments to patient C.C. (Claim No. 0434178983) on twelve (12) of the

same dates. See Exhibits 1 and 3.

      443. Treatment billed by both Kinetix and Level 1 Health for C.C. on the

same dates included therapeutic exercises, mechanical traction, manual therapy, and

application of hot/cold packs. Id.

      444. As discussed above, Northland Chiropractic billed Allstate for an

extensive course of chiropractic treatment of patient A.Y. (Claim No. 0275194066).

      445. During the same time period that Northland Chiropractic billed for

purported chiropractic treatment, Northland Healthcare billed for nearly identical

alleged physical therapy treatment.

      446. Many treatments billed by Northland Chiropractic and Northland

Healthcare relative to A.Y. were allegedly performed on the same dates of service,

including therapeutic exercises, massage, ultrasound treatment. See Exhibits 8 and

9.


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      447. Identical treatment simultaneously billed for and allegedly rendered on

the same date by two (2) defendant clinics was clearly redundant and medically

unnecessary, and Allstate is not required to pay for this alleged treatment performed

pursuant to a predetermined treatment protocol as opposed to prescribed based on

patients’ actual medical need.

      448. The electrical stimulation billed by the defendant physical therapy

clinics was also redundant of the treatment patients were supposedly getting from

the TENS devices that AMC and Select Medical ordered and billed as a matter of

course.

      449. Allstate is not required to pay the defendant clinics for any of the

unnecessary and excessive physical therapy and chiropractic treatment that was

performed, if at all, based upon false and exaggerated examination findings and

pursuant to their predetermined treatment protocol.

      B.     EXCESSIVE AND MEDICALLY UNNECESSARY MRIS

      450. Another component of the predetermined treatment protocol used by

the defendants was to immediately order MRI imaging.

      451. AMC and Select Medical ordered these MRIs because they allowed

their associates, including defendant Metro MRI, to submit tens of thousands of

dollars of additional charges to Allstate for imaging studies billed at absurd rates that

cost very little to perform.


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       452. In one example involving patient W.P. (Claim No. 0535517460), three

 (3) separate AMC physicians immediately ordered a total of twelve (12) MRIs after

 their alleged initial examinations regardless of prior imaging or actual medical need.

       453. On April 19, 2019, an imaging facility billed for allegedly performing

 lumbar and right knee MRIs for W.P. ordered by an AMC nurse practitioner.

       454. This same facility also billed for an alleged April 19, 2019 brain MRI

 ordered for W.P. by AMC physician Pierre Rojas, M.D. (“Rojas”).

       455. Both right shoulder and left shoulder MRIs were additionally billed

 only four (4) days later on April 23, 2019 based on alleged referrals from the same

 AMC nurse practitioner.

       456. Rojas then ordered a second, redundant brain MRI billed by this same

 imaging facility on August 29, 2019.

       457. On October 12, 2019, AMC physician Nallani ordered six (6) additional

 MRIs, including redundant lumbar spine, right shoulder, and right knee MRIs that

 AMC had already previously ordered for W.P.

       458. All of these MRIs were billed by associates of the defendants in an

 amount totaling $58,900.

       459. A former AMC nurse practitioner testified that AMC expressly directed

 nurse practitioners to immediately order MRIs for any area the patient complained

 of pain:


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              Q.     But you have training and you have discretion as to whether to
                     order MRIs or not; correct?

              A.     Dr. Agha, who is my collaborative physician, gave a verbal order
                     to prescribe MRI[s] to everyone that came in for auto claims.

       460. These MRIs specifically ordered for “auto claims” were designed to

 inflate treatment costs billed to Allstate as opposed to performed for patients’ actual

 medical need or benefit.

       461. According to MRI utilization data maintained by the State of Michigan,

 in 2019, AMC’s policy of immediately referring every patient for MRIs accounted

 for 72% of Metro MRI’s patients.

       462. Patients at issue herein have also testified as to the manner in which the

 defendants pressured them to undergo MRIs.

       463. For example, patient S.W. (Claim No. 0510979222) testified that she

 was provided a pre-printed MRI prescription form to Metro MRI from an employee

 at AMC’s front desk at her first presentation to the clinic prior to being evaluated by

 any physician.

       464. AMC ordered four (4) MRIs of S.W. pursuant to its predetermined

 protocol, all of which were billed by defendant Metro MRI.

       465. S.W. reported that she was not given a choice as to where she would

 undergo the prescribed MRIs and nobody at AMC or Metro MRI ever discussed the

 results with her.


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       466. Patient K.M. (Claim No. 0510979222) testified that AMC had a “stack

 of scripts” that included MRI prescriptions to Metro MRI, where he was referred for

 three (3) MRIs immediately following his purported initial evaluation at AMC.

       467. Defendant Select Medical also referred patients to Metro MRI for

 unnecessary imaging immediately upon presentation.

       468. More than 58% of the MRIs ordered by Select Medical were billed by

 Metro MRI within one (1) week of the Select Medical initial examination.

       469. The MRIs ordered by AMC and Select Medical and billed by Metro

 MRI were not used to guide patient care.

       470. Indeed, MRIs billed by Metro MRI that were supposedly interpreted by

 its radiologist Monik Lala often did not have any correlation to patients’ actual

 conditions.

       471. For example, Metro MRI billed for an alleged lumbar MRI of patient

 R.D. (Claim No. 0538416579) interpreted by Lala on April 7, 2019.

       472. R.D. had a history of lumbar fusion surgery and had metallic fusion

 hardware in his spine, none of which was mentioned at all by Lala’s radiology report.

       473. Rather than identify the obvious post-operative changes in R.D.’s spine,

 the report submitted by Metro MRI contains only vague references to protrusions

 that could not possibly have been used to properly guide R.D.’s care.




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       474. As set forth below, the defendants’ practice of ordering MRIs as a

 matter of course at patients’ initial date of service at the directive of layperson

 Hassan violates established standards of care for MRI testing.

              1.    Standard of Care for MRIs

       475. Metro MRI had a responsibility to ensure that MRIs were properly

 ordered, but it intentionally chose not to do so in order to maximize the amount of

 charges it could submit to Allstate.

       476. The American College of Radiology (“ACR”) is the principal

 professional organization of radiologists, radiation oncologists, and clinical medical

 physicists, and it defines the practice parameters and technical standards for

 conducting MRI scans.

       477. According to the ACR, an MRI should only be ordered after the

 physician has thoroughly evaluated and examined the patient and recorded the

 findings in the patient’s medical record.

       478. For musculoskeletal joint MRIs, a basic orthopedic examination of the

 applicable part of the body, including documentation of range of motion and

 response to provocative maneuvers, should be performed and documented in the

 medical record.

       479. Prior to referring a patient for an MRI to rule out damage to spinal nerve

 roots or intervertebral discs, a physician should perform a basic neurological


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 examination and document the findings of such testing, including the results of

 muscle stretch reflexes, pathological reflexes, muscle strength testing, and sensation

 (tested by using a pin prick or light touching).

       480. The ACR promulgates specific “Appropriateness Criteria” rating the

 appropriateness of various types of imaging studies in light of a patient’s presenting

 symptoms and history.

       481. For example, ACR Appropriateness Criteria for cervical spine imaging

 guides that MRIs are “usually not appropriate” as the initial study for patients with

 chronic pain, including when the patient has a history of trauma or prior surgery.

       482. Instead, it is “usually appropriate” to perform x-rays, and it only

 becomes appropriate to move to an MRI when the x-ray is abnormal, or where there

 is documented “[p]ersistent pain following failure of conservative management only

 in select cases.”

       483. Even when a cervical spine x-ray reveals degenerative changes, the

 ACR only guides that it “may be appropriate” (emphasis added) to perform an MRI,

 and again only when pain persists following failure of conservative care.

       484. The ACR states that “[p]atients with normal [cervical spine]

 radiographs and no neurologic signs or symptoms need no immediate further

 imaging.”




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       485. MRIs should not be ordered in violation of the ACR Practice

 Parameters unless there is an overriding clinical reason in the specific case and that

 reason must be documented in the patient’s medical record.

       486. AMC nurse practitioners were improperly directed to order MRIs

 without physician supervision, and were told to base these MRIs on subjective pain

 complaints in direct contravention of the ACR guidelines requiring subjective

 neurologic complaints or objective neurologic examination findings.

       487. Vague, minor, and non-specific pain complaints are precisely the

 findings that the ACR Appropriateness Criteria are designed to remove from early

 resort to MRIs.

       488. The ACR also provides that MRI prescription forms should provide

 sufficient information to demonstrate the medical necessity of the MRI and allow

 for its proper performance and interpretation.

       489. If the prescription does not contain sufficient information to

 demonstrate the medical necessity of the examination and allow for its proper

 performance and interpretation, the radiologist should contact the referring

 practitioner (who should be familiar with the patient’s clinical problem or question)

 to obtain the missing information.




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       490. Only upon receiving such information is it appropriate for the

 radiologist to interpret the study and issue a radiology report setting forth the

 professional findings and interpretation.

       491. MRI findings may be misleading if not closely correlated with the

 patient’s clinical history, clinical examination, or physiological tests.

       492. The ACR mandates that the interpreting physician “shall have the

 responsibility for all aspects of the study including, but not limited to, reviewing all

 indications for the examination . . . .”

       493. Nevertheless, the MRIs at issue in this Complaint routinely lack any

 documentation of why the MRI was recommended or medically necessary, much

 less sufficient information to allow for proper performance and interpretation of the

 MRIs prescribed by referring physicians.

       494. Pursuant to the ACR guidelines, it is the responsibility of Metro MRI

 to assure that all MRIs referred are proper.

       495. Rather than perform the duties required by the ACR, the defendants

 routinely billed for excessive and medically unnecessary MRIs in order to increase

 the amount of payment sought from Allstate.

              2.     MRIs Performed During Initial Stages of Treatment

       496. MRIs at issue herein were routinely ordered by Select Medical and

 AMC at the outset of the patient’s treatment, thus evidencing that MRIs were


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 resorted to as a matter of course regardless of each patient’s unique symptoms and

 each patient’s response to initial treatment.

       497. Such a practice is belied by medical literature stating “that unnecessary

 imaging may do more harm than good. Multiple randomized controlled trials have

 shown that the early use of imaging for [lower back pain] is not associated with

 improved outcomes and may even be harmful to the patient.”               Brendan J.

 McCullough, et al., Lumbar MR Imaging and Reporting Epidemiology: Do

 Epidemiologic Data in Reports Affect Clinical Management?, 262 Radiology 941,

 942 (2012).

       498. Indeed, early resort to MRI has been denounced by The American

 College of Physicians for its “inefficiencies” and “potential harms.” Id. at 945.

       499. At the onset of a soft-tissue injury (the type of injury claimed by almost

 all of the patients at issue herein), an MRI should only be ordered if there are

 objective neurological symptoms of spinal cord or other neurological injuries,

 including radiculopathy (severe back pain radiating into an extremity) or where the

 medical practitioner suspects the patient has suffered a fracture.

       500. Short of these circumstances, an MRI should be deferred to allow for

 conservative treatment to run its course.

       501. Metro MRI routinely performed MRIs of patients who had only just

 initiated treatment.


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       502. More than 76% of the patients at issue herein for whom Metro MRI

 submitted bills were alleged to have had MRIs within two (2) months of their

 purported motor vehicle accidents.

       503. On several occasions, Metro MRI billed for the purported performance

 of multiple MRIs just two (2) days after patients’ alleged motor vehicle accidents.

       504. More than 58% of the MRIs ordered by Select Medical were billed by

 Metro MRI within one (1) week of the Select Medical initial examination.

       505. It is not possible for patients for whom MRIs were billed just days or

 weeks after their alleged motor vehicle accidents to have attempted the conservative

 treatment required by the ACR guidelines before resorting to MRIs.

       506. Medically unnecessary MRIs ordered and billed during initial stages of

 treatment in violation of established ACR guidelines are exemplified by the

 following representative patients:

        Patient L.L. (Claim No. 0553929779) was allegedly involved in a motor
         vehicle accident on July 18, 2019. L.L. allegedly presented to Select
         Medical the following day, where he was immediately ordered three (3)
         MRIs be performed at Metro MRI. These MRIs were billed the very next
         day on July 20, 2019, which was only two (2) days after L.L.’s purported
         motor vehicle accident and before any conservative treatments could have
         been attempted.

        Patient R.H. (Claim No. TXA-0216616) was involved in an alleged motor
         vehicle accident on October 31, 2018 and reported to AMC the same day.
         AMC ordered cervical and lumbar spine MRIs, which were in complete
         disregard of the proper standard of care given R.H.’s same-day alleged
         accident. Further, the MRI order from AMC is time-stamped 10:00 a.m.,

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          which was less than two (2) hours after the alleged accident and before the
          purported evaluation of R.H. even occurred.

        AMC ordered seven (7) MRIs for patient M.M. (Claim No. 0511595059),
         including five (5) MRIs that were billed by Metro MRI. Three (3) MRIs
         (cervical, lumbar, left knee) were ordered by AMC at M.M.’s August 13,
         2018 initial examination by a nurse practitioner and were billed on August
         18, 2018, only five (5) days after M.M.’s initial AMC examination and
         well before any conservative treatment was attempted.

        Patient S.W. (Claim No. 0510979222) was involved in an alleged motor
         vehicle accident on July 25, 2018. S.W. presented to AMC the following
         day on July 26, 2018 for an initial examination by a nurse practitioner. At
         this initial examination, S.W. was prescribed multiple items of DME
         including a back brace, a knee brace, and a shoulder brace, and was also
         prescribed medications as well as physical therapy. Before waiting to
         evaluate any improvement from this prescribed treatment, AMC ordered
         four (4) MRIs (thoracic, lumbar, cervical, right knee) to be performed at
         Metro MRI.

        Patient R.H. (Claim No. 0529599639) was allegedly involved in a motor
         vehicle accident on December 29, 2018. R.H. presented to AMC for an
         initial examination on January 4, 2019 by an AMC nurse practitioner.
         Three (3) MRIs (lumbar, cervical, thoracic) were ordered by the nurse
         practitioner at this initial examination and were billed by Metro MRI only
         two (2) days later on January 6, 2019, which was only eight (8) days after
         R.H.’s alleged motor vehicle accident and well before the benefit of any
         conservative treatment could have been evaluated in adherence with
         applicable ACR guidelines.

       507. The patients at issue herein who received MRIs at Metro MRI within

 the first days and weeks after their alleged motor vehicle injuries had non-emergent

 medical conditions, not the type of fracture or neurological injury that would justify

 overriding the ACR’s directives to attempt conservative treatment before imaging.




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       508. Allstate is not required to pay Metro MRI for MRIs performed at the

 outset of patients’ treatment that were ordered by AMC and Select Medical as a

 matter of course in furtherance of the defendants’ scheme and their quid pro quo

 network of inter-referrals.

              3.     Excessive MRI Scans

       509. In addition to performing MRIs as soon as possible after an alleged

 accident in violation of the standard of care, Metro MRI also sought to maximize the

 amount of the charges submitted to Allstate by performing far more MRIs than were

 medically necessary.

       510. MRIs should be limited to the symptomatic body part and it is

 uncommon to order MRIs on more than one region.

       511. The rarity of MRIs of multiple body parts of the same patient is

 confirmed by the data reported to the State of Michigan by all MRI providers in

 2019, which documents that just 12.32% (111,535 of 905,103) of all patients

 underwent MRIs of multiple body parts during the same visit.

       512. This figure includes MRIs performed at hospitals, trauma centers,

 cancer treatment centers, and other facilities providing treatment to traumatically

 injured and gravely ill patients.




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       513. By comparison, in 2019, Metro MRI performed multiple MRIs at more

 than seven (7) times the statewide average, with 84% of patients purportedly

 receiving multiple MRIs.

       514. Because the defendants intentionally targeted automobile insurers for

 excessive and medically unnecessary MRIs, the patients at issue in this Complaint

 received multiple MRIs at an even higher rate; Allstate was billed for MRIs of more

 than one body part relative to 88.15% of the patients at issue herein. See Exhibit 10.

       515. The extreme number of MRIs per patient performed by Metro MRI is

 illustrated on the chart below:




       516. Of the 65 patients at issue herein who purportedly underwent MRIs at

 Metro MRI, forty-one (41) patients had MRIs of three (3) or more body parts. See

 Exhibit 10.



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       517. All but nine (9) patients who underwent MRI imaging at Metro MRI

 received multiple MRIs. Id.

       518. Moreover, Metro MRI often performed MRIs of the same patient that

 were just days or weeks apart, which obscures the true number of MRIs performed

 per patient by Metro MRI in the data reported to the State of Michigan.

       519. Metro MRI billed for as many as eight (8) separate MRIs relative to

 patients at issue herein. See Exhibit 10.

       520. Metro MRI also billed for at least five (5) MRIs for five (5) separate

 patients, and four (4) MRIs for an additional eighteen (18) patients. Id.

       521. Metro MRI never provided MRIs to patients seeking emergency

 diagnosis and treatment.

       522. As discussed above, AMC’s nurse practitioners immediately ordering

 MRIs for all “auto claims” falls dramatically short of American Medical Association

 (“AMA”) standards for appropriate MRIs, and produced excessive medically

 unnecessary Metro MRI charges that Allstate is not required to pay.

       523. Patient N.K. (Claim No. 0548072965), who was allegedly involved in

 a motor vehicle accident with his son and daughter, testified that AMC “want[ed] to

 take advantage of me. They wanted to do three MRIs for each one of us. Three

 times three, that’s nine.”




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       524. N.K. confirmed that he and his children were offered $1,000 each to

 comply with AMC’s medically unnecessary MRI referrals, yet refused because

 “nothing was wrong with all of us. Why would we do all of that?”

       525. Allstate is entitled to the return of money paid for Metro MRI’s

 medically unnecessary imaging billed pursuant to the defendants’ predetermined

 treatment protocol.

       C.     UNNECESSARY URINE DRUG TESTING

       526. Defendant AMC billed Allstate for a litany of urine drug testing that

 was not actually performed; was medically unnecessary, unreasonable, and

 excessive; and was not performed in accordance with established standards of care

 for urine drug testing.

       527. AMC routinely ordered and billed for testing for dozens of substances

 for the same patient on a regular schedule, often within just days or weeks of each

 other, which violates the standard of care for urine drug testing.

              1.       Medically Unnecessary Urine Drug Test Orders

       528. AMC physicians and nurse practitioners ordered both presumptive and

 definitive urine drug testing to be performed for the vast majority of patients at issue

 in this Complaint who were allegedly evaluated at AMC.

       529. Hassan, who is not a licensed medical professional and therefore should

 not have any role in directing the course of patient treatment, informed Allstate that


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 all patients receive urine drug testing as an AMC policy because AMC is in a “high

 risk” area.

       530. Pursuant to this (improper) policy, AMC billed Allstate for alleged

 presumptive urine screens associated with hundreds of purported AMC patient

 examinations, even when patients were not prescribed narcotics or other medications

 susceptible to abuse or misuse.

       531. Even when these presumptive screens showed no unexpected results or

 indications that patients were misusing their prescribed medications, AMC still

 routinely ordered and billed for full comprehensive definitive drug testing panels.

       532. All of the urine drug testing ordered and billed by AMC was performed

 as a matter of course and without regard to medical necessity.

       533. AMC’s practice of billing for urine drug testing at nearly every

 appointment regardless of medical necessity routinely resulted in multiple tests

 being billed within just days of one another, and in at least one case, on consecutive

 days, as exemplified by the following patients:

     AMC billed for alleged urine drug screens relative to patient V.P. (Claim No.
      0460037633) on January 23, 2018 and January 24, 2018;

     AMC billed for alleged urine drug screens relative to patient M.M. (Claim No.
      0511595059) on September 13, 2018 and again just four (4) days later on
      September 17, 2018; and

     AMC billed for alleged comprehensive definitive urine drug testing relative
      to patient W.P. (Claim No. 0535517460) on August 21, 2019 and again just
      five (5) days later on August 26, 2019.
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       534. It is almost never proper to order both a presumptive screening test and

 confirmatory laboratory testing at the same time.

       535. Only when screening shows unexpected results, such as the presence of

 an illicit drug or a medication that was not prescribed, should confirmatory testing

 be performed.

       536. This standard is documented by the Substance Abuse and Mental

 Health Services Administration (SAMHSA), a federal agency within the Department

 of Health and Human Services (“HHS”) that sets guidelines for clinical drug testing

 federal programs, and states that “[i]n clinical settings, confirmation is not always

 necessary. Clinical correlation is appropriate . . . . In addition, a confirmatory test

 may not be needed; patients may admit to drug use or not taking scheduled

 medications when told of the drug test results, negating the necessity of a

 confirmatory test. However, if the patient disputes the unexpected findings, a

 confirmatory test should be done” (emphasis added).

       537. Thus, SAMHSA confirms that, at most, only unexpected initial

 screening results should be confirmed in the absence of a patient-specific decision

 otherwise from the treating provider.

       538. The level of confirmation defendant AMC ordered and billed for the

 specimens of patients undergoing pain management treatment after involvement in

 low-level motor vehicle accidents significantly exceeded the level of confirmation
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 required by the Nuclear Regulatory Commission’s (“NRC”) policy on drug testing

 confirmation.

       539. Persons authorized to operate a nuclear power reactor under the scope

 of the NRC are required to submit to drug and alcohol testing as part of their

 continued duties. 10 C.F.R. § 26.31 (NRC’s Fitness for Duty Program).

       540. The NRC mandates that “[s]pecimens that yield positive initial drug

 test results or are determined by initial validity testing to be of questionable validity

 must be subject to confirmatory testing by the laboratory, except for invalid

 specimens that cannot be tested.” 10 C.F.R. § 26.31(d)(3).

       541. The NRC defines “initial drug test” as “a test to differentiate ‘negative’

 specimens from those that require confirmatory testing.” 10 C.F.R. § 26.5.

       542. Thus, the NRC does not require that confirmatory testing be performed

 on negative screening (i.e., initial drug test) results for persons entrusted with

 operating nuclear reactors.

       543. Even when presumptive screens produce unexpected results, it is not

 proper to immediately refer a urine specimen for more extensive testing.

       544. Instead, the physician should discuss the unexpected results with the

 patient, and if the patient admits to drug misuse, further confirmatory testing is

 unnecessary.




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       545. AMC never addressed unexpected test results with patients through

 discussion, as both the urine screens and confirmatory tests it ordered and allegedly

 performed were only intended to generate bills to Allstate.

       546. The automatic ordering of definitive urine drug testing for nearly every

 patient at nearly every appointment illustrates the lack of consideration of individual

 medical necessity for such testing.

       547. In fact, AMC routinely ordered and performed urine drug tests on

 patients even when the patient was not prescribed any medications, which has no

 medical basis.

       548. For example, patient R.H. (Claim No. 0529599639) allegedly presented

 to AMC for an initial evaluation on January 4, 2019 and was not prescribed new

 medication.

       549.    AMC nevertheless billed Allstate a total of $3,431.50 for both a

 presumptive drug screen and extensive definitive testing on a urine specimen

 allegedly provided by R.H.

       550. AMC also routinely billed for both presumptive screens and definitive

 urine drug testing at nearly every patient evaluation despite the lack of any

 unexpected test results or change in medication prescribed.




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       551. Even on the rare occasion that a patient’s urine drug test revealed an

 unexpected result, AMC did not use the results to make any change to further

 prescription of medications.

       552. AMC’s failure to monitor patients’ urine drug testing results is

 exemplified by patient A.Y. (Claim No. TXA-0220105), who was (improperly)

 prescribed multiple narcotic medications by an AMC nurse practitioner, including

 diazepam and hydrocodone.

       553. AMC noted that A.Y. was opioid dependent, but his urine specimens

 routinely tested negative for the presence of both of these dangerous prescribed

 substances.

       554. For example, a purported definitive test billed on January 15, 2019 was

 negative for diazepam, but at A.Y.’s next appointment on January 29, 2019 he was

 noted to have consistent urine drug test results.

       555. A.Y. had additional inconsistent urine drug test results on January 30,

 2019, February 11, 2019, and February 27, 2019, but his narcotic prescriptions were

 nevertheless refilled at each appointment at AMC.

       556. Urine drug tests that have no bearing on patients’ treatment are

 clinically useless and not medically necessary, and are therefore not compensable

 under the No-Fault Act.




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       557. Billing for services that are not medically necessary for each patient’s

 care, recovery, or rehabilitation is prohibited under the Michigan No-Fault Act.

       558. Allstate reasonably relied on AMC’s bills to contain truthful and

 accurate representations regarding the urine drug testing allegedly performed and

 the necessity for the same.

              2.     Improper Predetermined Urine Drug Tests

       559. AMC knew that the urine drug testing ordered by its nurse practitioners

 was medically unnecessary but nevertheless billed Allstate for its alleged

 performance.

       560. Abusive laboratory practices, including non-patient-specific testing and

 the use of pre-printed forms that encourage excessive testing, have been condemned

 by authorities.

       561. None of the records submitted to Allstate by AMC contain any

 indication that the physicians or nurse practitioners ordering urine drug tests made

 any determination as to what type of testing should be performed or what substances

 should be tested.

       562. The federal government has expressly stated that it holds laboratories

 responsible for unnecessary testing and does not allow laboratories to blame

 excessive urine drug testing on the referring provider. 63 Fed. Reg. 45080 (Aug. 24,

 1998).


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        563. Further, the Office of Inspector General (“OIG”) of the Department of

 Health and Human Services (“HHS”) has stated that “[t]he laboratory should

 construct the requisition form to ensure that the physician or other authorized

 individual has made an independent medical necessity decision with regard to each

 test the laboratory will bill.”

        564. AMC rarely, if ever, submitted requisition forms to Allstate and it

 appears that no such forms were used for the purported testing billed by AMC.

        565. Instead, AMC only occasionally submitted a form called a “Vendor

 Order” that simply listed the name of the test to be performed and did not provide

 any patient specific information to evidence that an independent medical decision

 had been made.

        566. AMC was actually aware that its requisition documentation was

 improper and insufficient, as it was twice served with Statements of Deficiencies by

 the Department of Health and Human Services (“DHHS”), on September 6, 2016

 and September 19, 2018, both of which addressed its failure to properly document

 orders for urine drug testing.

        567. No physician or testing facility can properly make a blanket

 determination across all patients and all dates of service as to what constitutes

 reasonable definitive urine drug testing in all cases.




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       568. Instead, the individual provider must determine the reasonableness and

 necessity of urine drug testing on a patient-by-patient and visit-by-visit basis.

       569. AMC billed for all of the urine drug tests at issue herein performed, if

 at all, without such determination as it billed for alleged tests for the same drugs and

 analytes for every patient.

       570. Use of such a predetermined slate of tests is necessarily not patient-

 specific as the drugs/analytes to be tested are established prior to the patient’s urine

 drug testing referral.

       571. By way of example, phencyclidine (PCP) was routinely billed to

 Allstate by AMC without the referring provider indicating the medical necessity of

 testing for such an illicit substance.

       572. By testing for the same exact substances for each patient, regardless of

 age, medications prescribed, comorbidities, or other factors, AMC knowingly

 submitted claims that could not have been medically necessary for each patient’s

 clinic condition.

       573. The OIG also guides that “[l]aboratories should take all reasonable

 steps to ensure that it is not submitting claims for services that are not covered,

 reasonable, and necessary for the beneficiary, given his or her clinical condition.”

 See 63 Fed. Reg. at 45079.




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         574. Instead of taking steps to ensure that it was only submitting claims for

 necessary urine drug testing, AMC intentionally worked to increase the number of

 medically unnecessary tests referred by physicians and billed to payors like Allstate.

         575. The purported urine drug tests billed by AMC were also unreliable and

 improper because AMC failed to properly calibrate and test the instruments

 allegedly used to perform the testing.

         576. The DHHS Statement of Deficiencies from September 6, 2016 found

 that AMC’s laboratory director did not approve verification studies of the

 instruments prior to patient testing.

         577. The September 19, 2018 DHHS Statement of Deficiencies found that

 AMC failed to perform routine daily quality control, failed to follow written policies

 to address and correct issues problems with laboratory analytic systems, and failed

 to perform required annual verifications.

         578. Urine drug tests that were improperly ordered and performed, and

 which produced unreliable results, could not have been used to actually guide patient

 care.

               3.    Examples of Improper and Medically Unnecessary Urine
                     Drug Testing

         579. AMC’s medically unnecessary and excessive urine drug testing is

 exemplified by the following representative patients:



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     AMC billed for alleged screens of urine specimens provided by patient F.O.
      (TXA-0193420) on twenty-two (22) separate dates as little as five (5) days
      apart from one another. AMC also billed for purported definitive testing of
      urine specimens provided by F.O. on twelve (12) separate dates. On six (6)
      of the dates for which AMC billed for these tests, it also inexplicably sent
      F.O.’s urine specimen to North West Labs, which billed for the same
      definitive testing using nearly identical CPT Codes as those billed by AMC.

     Patient E.L. (Claim No. 0397904939) was first allegedly examined at AMC
      on November 22, 2017 and was immediately prescribed the narcotic drug
      acetaminophen with codeine. AMC then billed for monthly re-examinations
      that included charges for urine drug screens and definitive testing billed by
      both AMC and outside facilities. On December 26, 2017, E.L.’s monthly
      urine drug testing confirmed that E.L. tested positive for the narcotic
      hydrocodone, which was not prescribed by AMC or any other physician.
      Despite these inconsistent results, AMC continued to renew E.L.’s narcotic
      pain medication and order both presumptive and comprehensive drug testing
      at each appointment. During an October 19, 2018 re-examination, AMC
      expressly acknowledged E.L.’s repeated inconsistent results:




       On each of these dates of service that urine drug testing confirmed E.L. was
       abusing addictive and dangerous narcotic medication, AMC entirely ignored
       the testing results and failed to alter or suspend E.L.’s narcotic prescription.
       Despite these urine drug tests having no actual influence on E.L.’s course of
       treatment, AMC continued to order monthly comprehensive urine drug testing
       to generate extensive additional bills for submission to Allstate.

     Patient R.S. (Claim No. 0510241649) was involved in an alleged motor
      vehicle accident on July 8, 2018 and first presented to AMC only twelve (12)
      days later on July 20, 2018. R.S. was not prescribed any narcotic pain
      medication by AMC at this initial examination or subsequent re-examinations,
      yet AMC routinely billed for urine screens, which uniformly confirmed R.S.’s
      results were consistent and he was not taking any non-prescribed medications.
      On November 27, 2018, after AMC had already billed for four (4) separate
      screens that all confirmed R.S. was taking only the prescribed non-narcotic
      medication, AMC inexplicably ordered and billed for full comprehensive drug

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       testing. This comprehensive drug testing was not medically necessary for a
       patient who was not prescribed narcotic medication and whose multipole
       urine drug screens had reported no inconsistent results.

     Patient B.R. (Claim No. 0531282622) was involved in an alleged motor
      vehicle accident on January 11, 2019 and first presented to AMC only six (6)
      days later on January 17, 2019. B.R. was not prescribed any narcotic pain
      medication by AMC, yet AMC still ordered and billed for both presumptive
      and comprehensive urine drug testing. These unnecessary drug tests
      confirmed B.R. was not taking any prescribed narcotic medication and
      indicated no abnormal results. Despite these consistent results, AMC again
      ordered and billed for medically unnecessary presumptive and comprehensive
      urine drug testing on April 8, 2019.

     Patient W.P. (Claim No. 0535517460) first allegedly presented to AMC on
      March 7, 2019. W.P. was not prescribed any narcotic pain medication by
      AMC at this initial examination, and even expressly informed his AMC
      examining nurse practitioner that he had just recently got out of prison and
      had no narcotic pain medications while in prison. AMC nevertheless billed
      for both presumptive drug testing and a complete comprehensive urine drug
      panel, which was completely unnecessary for a patient not prescribed any
      narcotic medication.

       580. Allstate is not required to pay the defendants for urine drug testing that

 is redundant, not patient-specific, and that is unnecessary, and is entitled to a return

 of monies it paid to the defendants for these medically unnecessary urine drug tests.

       D.     UNNECESSARY DME

       581. Another integral part of the defendants’ predetermined treatment

 protocol was to prescribe and bill for excessive and unnecessary items of DME.

       582. AMC routinely prescribed and issued the same types of DME

 regardless of patients’ individual medical needs.



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        583. DME was ordered and issued not based on medical necessity, but rather

 based on the amount of billing it would generate to Allstate.

        584. AMC frequently prescribed multiple units of DME at initial

 examinations of patients with only minor sprains or strains.

        585. For example, Patient S.W. (Claim No. 0510979222) was involved in an

 alleged motor vehicle accident on July 25, 2018. S.W. allegedly reported to AMC

 the following day which resulted in bills from AMC totaling $4,190 for a TENS unit,

 cervical collar, lumbar-sacral brace, knee brace, and shoulder brace.

        586. One of the most commonly prescribed and issued DME items were

 TENS devices, which were ordered and issued by the defendants only because they

 cost very little to purchase.

        587. There was rarely, if ever, any medical support for the defendants’

 prescriptions and bills for TENS devices.

        588. There is no medical support for use of TENS devices for chronic low

 back pain, which is defined as pain that has existed for greater than three (3) months.

        589. Home electrotherapies are also never medically necessary for acute

 injuries.

        590. The defendants routinely improperly ordered and issued TENS devices

 for injuries that were in the acute stage and for chronic low back pain, neither of

 which could be medically necessary.


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       591. In many cases, defendant AMC ordered and issued TENS devices

 before attempting to perform conservative treatments, in violation of applicable

 standards of care.

       592. For all patients, AMC ordered and issued TENS devices without having

 patients undergo a trial period to determine if electrotherapy would be efficacious,

 in violation of applicable standards of care.

       593. AMC also failed to monitor the use of TENS devices it ordered and

 issued, which is both a violation of the standard of care and resulted in the issuance

 of TENS devices that could not possibly have been used as intended.

       594. When used properly and in accordance with instructions, electrodes that

 attach to a patient’s skin last for approximately one month.

       595. AMC issued replacement electrodes to just one (1) patient at issue

 herein, meaning that none of the other patients to whom TENS devices were

 allegedly issued could have used the devices for any extended period of time.

       596. In addition to being unnecessary because it was issued without regard

 for individual patient need (but rather was dispensed as a matter of course) prior to

 attempting any conservative treatment, much of the DME allegedly issued by AMC

 was also duplicative of physical therapy treatments allegedly provided by the

 defendant clinics.




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       597.    AMC prescribed and billed for TENS devices for patients who were

 already undergoing electrical stimulation as part of the extensive courses of

 treatment billed by the defendant physical therapy clinics.

       598. For example, patient M.M. (Claim No. 0511595059) was involved in

 an alleged motor vehicle accident on July 30, 2018.

       599. M.M. was first examined at AMC only fourteen (14) days later on

 August 13, 2018 and was immediately prescribed physical therapy at Level 1 of

 Michigan, which included electrical stimulation treatment.

       600. On October 5, 2018, while M.M. was allegedly receiving electrical

 stimulation at Level 1 of Michigan, AMC prescribed a redundant and medically

 unnecessary TENS device for the sole purpose of increasing the cost of bills

 submitted to Allstate.

       601. AMC’s pro forma DME orders also included orthotics that were

 selected based solely on their expensive prices, as detailed below.

       602. The issuance of braces to every patient who complained of pain was

 medically unnecessary, and often was counter-productive to treating the type of

 myofascial pain complaints reported by the majority of patients at issue herein.

       603. As with the TENS devices purportedly issued, AMC rarely, if ever,

 evaluated the efficacy of the use of the braces billed to Allstate.




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       604. AMC also billed Allstate for issuing the same DME to the same patient

 on multiple occasions.

       605. For example, AMC billed Allstate for allegedly issuing a TENS device,

 a knee brace, a compression sleeve, and two (2) lumbar braces to patient C.B. (Claim

 No. 0358449998) on December 10, 2016.

       606. On January 12, 2017, AMC billed for allegedly issuing C.B. another

 two (2) knee braces, another two (2) compression sleeves, another two (2) TENS

 devices, and another lumbar brace.

       607. One of the knee braces and one of the compression sleeves were billed

 as rentals, but were charged at the same rates as the equipment that was allegedly

 issued permanently.

       608. It cannot ever be medically necessary for a patient to require three (3)

 lumbar braces, three (3) TENS devices, or three (3) knee braces, and none of the

 DME allegedly issued to C.B. was reasonable or proper.

       609. AMC also billed Allstate for purportedly issuing two (2) separate TENS

 devices to patient N.P. (Claim No. 0498315167), a sixteen-year-old with severe

 mental disabilities, less than two (2) months apart from one another, on June 25,

 2019 and August 20, 2019.

       610. AMC also ordered and billed for DME that could not have actually been

 necessary for patients’ treatment, as evidenced by the lengthy gaps between the


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 supposed determination of medical necessity and the actual issuance of the

 equipment.

       611. For example, AMC billed for the alleged issuance of multiple items of

 DME to patient J.C. (Claim No. TXA-0198607) on June 15, 2018.

       612. The DME that was purportedly issued to J.C. was first ordered by AMC

 nearly four (4) months prior, on February 23, 2018.

       613. The lengthy delay in issuing the DME to J.C. did not result in any

 change to her predetermined treatment plan, and confirms that the DME was never

 actually medically necessary.

       614. DME that was prescribed and issued for the defendants’ financial gain

 and not based on an individualized evaluation of medical necessity is fraudulent and

 non-compensable under Michigan’s No-Fault Act.

       615. Allstate is not required to pay AMC for DME that was medically

 unnecessary, and is entitled to reimbursement for monies it paid to AMC for this

 medically unnecessary DME.

       E.     UNNECESSARY P-STIM APPLICATION

       616. The defendants’ scheme included repeated applications of clinically

 worthless P-Stim devices to patients without any clinical indications or signs of

 improvement from treatment.




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       617. At least one patient, T.W. (Claim No. TXA-0190398), has testified that

 defendant Dehko, who illegally solicited her to undergo treatment, told her that the

 P-Stims were “basically just to get money.”

       618. P-Stim is not widely accepted in the medical community, has not been

 shown to be beneficial, and is not considered payable by the Centers for Medicare

 & Medicaid Services under any Medicare Benefit Category.

       619. The P-Stim device is a miniaturized, battery-powered, transcutaneous

 electrical nerve stimulator with pre-programmed frequency, pulse, and duration for

 the stimulation of auricular acupuncture points.

       620. The P-Stim device provides a form of acupuncture combined with

 electrical stimulation where all of the acupuncture points are located behind a

 patient’s ear.

       621. The P-Stim device is held behind the patient’s ear by an adhesive

 dressing.

       622. The P-Stim device connects via three (3) stainless steel wires to

 acupuncture needles applied to three (3) points behind a patient’s ear, as illustrated

 by the photograph below:




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       623. The P-Stim operates until its battery runs out of power, typically three

 (3) days after application, at which point patients remove the device themselves and

 throw it away.

       624. The majority of the patients at issue herein received P-Stim devices

 manufactured by a company called ANSi.

       625. The device sold by ANSi has only been reviewed by the FDA through

 its “Premarket Notification” 510(k) review program.

       626. Under the 510(k) program, a device manufacturer submits a premarket

 notification submission to the FDA at least 90 days before a device is introduced

 into interstate commerce for commercial distribution. 21 U.S.C. § 360(k).

       627. The FDA determines whether devices meet the criteria for market

 clearance within ninety (90) days, on the basis of whether the device is “substantially

 equivalent” to a legally marketed “predicate” device. 21 U.S.C. §§ 360(n), 360c(i).

       628. The FDA reviews whether the new device has the same technological

 characteristics as the predicate device, or whether despite any technological

 differences the new device is as safe and effective as the predicate device.

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       629. ANSi was compared to a predicate device called the Acu-Stim.

       630. The FDA’s determinations were not based on any clinical or scientific

 data submitted in relation to the P-Stim device.

       631. Further, the FDA’s 510(k) determination in relation to Acu-Stim makes

 clear that the P-Stim’s predicate device was not reviewed for treatment of pain at all.

 See Exhibit 16.

       632. Instead, the “Acu-Stim” identified by the FDA as a predicate device to

 the P-Stim is in fact the “Acuslim” electro-acupuncture device, which is intended

 for weight loss. Id.

       633. AMC applied P-Stim devices despite a dearth of reputable clinical

 studies supporting the use of P-Stim treatment, since this minor, non-invasive

 treatment was billed at exorbitant rates and dramatically increased treatment costs.

       634. Like most other services billed by AMC, P-Stim was applied, if at all,

 by nurse practitioners as opposed to licensed physicians.

       635. A former AMC nurse practitioner informed Allstate that Agha made

 her watch a P-stim application video so that she became “certified” to place the P-

 stims and she was able to give them to all auto patients.

       636. Allstate is not required to pay AMC for the alleged application of

 medically unnecessary P-Stim devices used solely as a means to increase the




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 amounts charged to Allstate, and it is entitled to reimbursement for payment already

 tendered.

       F.     MEDICALLY UNNECESSARY TRANSPORTATION

       637. Motion Transportation and Rent A Ride billed Allstate for purported

 medical transportation services that were medically unnecessary and performed, if

 at all, only to multiply the amount of the defendants’ claims for No-Fault payments.

       638. To receive medical transportation, a licensed healthcare provider must

 determine that an individual is disabled and unable to drive and must document this

 determination in the patient’s medical record.

       639. Once a patient is evaluated and determined disabled, the licensed

 healthcare provider provides the patient with a disability certificate that identifies

 the forms of necessary assistance, including medical transportation if necessary.

       640. Defendants AMC and Select Medical routinely issued disability

 certificates claiming that patients were unable to drive, but they never explained why

 or how patients’ supposed injuries impacted their ability to drive.

       641. Indeed, defendants AMC and Select Medical rarely, if ever, performed

 the types of orthopedic and neurological examinations that would permit them to

 make a determination of whether a patient was capable of driving.

       642. Defendants Motion Transportation and Rent A Ride knowingly

 obtained these unsupported disability certificates from AMC, Select Medical, and


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 others, and used them to attempt to justify their medically unnecessary purported

 services.

       643. Moreover, both Motion Transportation and Rent A Ride repeatedly

 billed for transportation services prior to any determination by a licensed healthcare

 provider that the patient required transportation services.

       644. Motion Transportation nearly exclusively transported patients to

 Kinetix, as both entities were owned and controlled by defendant Shah.

       645. Rent A Ride likewise nearly exclusively transported patients to Level 1

 of Michigan, as both entities are owned and controlled by the Dehko family.

       646. Motion Transportation and Rent A Ride’s medically unnecessary

 transportation is exemplified by the following patients:

     Patient R.H. (Claim No. 0529599639) was allegedly involved in a motor
      vehicle accident on December 29, 2019. R.H. purportedly presented to AMC
      for an initial examination on January 4, 2019 and was issued a disability
      certificate that did not include driving restrictions. Despite AMC not
      disabling R.H. from driving, Rent A Ride billed Allstate for purported
      transportation to Level 1 of Michigan, including on the same January 4, 2019
      date of service. Neither AMC nor any other medical provider issued R.H. any
      subsequent disability certificate. Rent A Ride nevertheless submitted charges
      to Allstate seeking payment for at least fourteen (14) dates of service for
      which there was no medical need.

     Patient K.G. (Claim No. 0444175921) was allegedly involved in a motor
      vehicle accident on November 13, 2015. K.G. first obtained a disability
      certificate restricting his ability to drive more than nine (9) months later on
      August 18, 2016. Well prior to being issued a disability certificate, Motion
      Transportation billed for purported transportation of K.G. to Kinetix on
      eighteen (18) separate dates of service. These transportation charges all

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       submitted before any physician had determined K.G. was unable to drive were
       medically unnecessary and improper.

     Patient N.E. (Claim No. 0341411429) was allegedly involved in a motor
      vehicle accident on September 16, 2014. On September 19, 2014, Motion
      Transportation picked N.E. up at her home and transported her to Kinetix
      where she received an initial physical therapy evaluation. At the time that
      N.E. was transported by Motion Transportation to Kinetix just three (3) days
      after her alleged motor vehicle accident, she had yet to be evaluated by any
      physician and it had not been determined she was unable to drive.

       647. Allstate has no obligation to pay for transportation services that were

 medically unnecessary.

       G.     MEDICALLY UNNECESSARY INJECTIONS

       648. Defendants AMC and Select Medical subjected their patients to a

 battery of unnecessary steroid injections, facet joint injections, and other injection-

 related services.

       649. The performance of invasive procedures (such as injections) for the

 relief of pain must be based upon adequate diagnosis and legitimate medical

 necessity.

       650. As discussed above, examinations performed by the defendants, if they

 were performed at all, resulted only in boilerplate findings and treatment plans that

 were not adequate to support the performance of invasive procedures.

       651. Many of the injections billed by the defendants had no explanation at

 all and were not part of treatment plans allegedly established for the patients at issue

 herein.
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       652. For example, AMC billed for an alleged sacroiliac joint injection by

 indicted physician Jankowski to patient G.B. (Claim No. TXA-0214256) on October

 31, 2018.

       653. G.B. had allegedly been evaluated by AMC physician Toweh on

 October 11, 2018, but he did not indicate that an injection was necessary or make

 any findings that could support the performance of an injection.

       654. Toweh then purportedly evaluated G.B. again on November 7, 2018,

 and did not address the fact that an injection had allegedly been performed in the

 interim.

       655. Jankowski never performed his own evaluation of G.B., so he could not

 have developed an independent justification for performance of an injection.

       656. Moreover, the defendants routinely conflated the injection procedures

 that are intended to be used for diagnostic purposes with procedures that are intended

 for therapeutic purposes.

       657. The defendants ignored diagnostic information gleaned from previous

 injections, and instead persisted in recommending that patients undergo additional

 rounds of injections to generate bills for submission to Allstate.

       658. Consequently, patients received unjustified invasive procedures that

 offered little therapeutic efficacy while subjecting the patients to unnecessary risks

 of infection.


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         659. Defendants AMC and Select Medical also resorted to injections without

 regard for conservative forms of treatment.

         660. Even in those instances where patients reported improvement from

 conservative treatment, AMC and Select Medical nevertheless pushed for injections

 to be administered.

         661. AMC and Select Medical frequently ordered repeat injections without

 analyzing the efficacy of prior procedures, in derogation of established standards of

 care.

         662. Indeed, the defendants routinely scheduled patients for multiple

 injections at once, an improper practice that makes it impossible to evaluate the

 efficacy of the first (and subsequent) injection.

         663. Applicable standards of care direct that physicians should not perform

 steroid injections too frequently, usually no more than three (3) times per six (6)

 month period or four (4) times per year.

         664. Facet injections should not be performed more frequently than once

 every three (3) months.

         665. AMC and Select Medical disregarded these practice standards, and

 placed their patients in danger, to maximize the amount of bills submitted to Allstate.




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         666. For example, AMC billed for alleged epidural steroid injections to

 patient C.N.’s (Claim No. TXA-0233760) lumbar and cervical spine, along with a

 major joint injection, on August 21, 2019.

         667. On both November 11, 2019 and December 4, 2019, AMC billed for

 additional alleged lumbar epidural steroid injection and major joint injections to

 C.N.

         668. In total, AMC billed for seven (7) injections to C.N., including four (4)

 epidural steroid injections, in a period of just over three (3) months.

         669. AMC billed for performing three-level facet injections to patient J.P.

 (Claim No. 0536245780) on March 11, 2019 and then again less than a month later

 on April 8, 2019, which was well before the three (3) month interval required for

 patient safety.

         670. AMC billed for another round of three-level facet injections to patient

 J.P. less than a month apart from one another on February 11, 2020 and March 10,

 2020.

         671. The defendants also failed to use the injections performed for their

 intended purpose.

         672. For example, medial branch block injections are used to predict a

 patient’s response to a radiofrequency ablation/rhizotomy procedure.




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       673. If a patient has a positive response to a medial branch block injection,

 the standard of care calls for proceeding to a rhizotomy.

       674. However, in order to maximize the amounts charged to Allstate, the

 defendants billed for the performance of rhizotomies on patients who were never

 given medial branch block injections.

       H.     MEDICALLY UNNECESSARY ELECTRODIAGNOSTIC TESTING

       675. Defendants AMC and Select Medical routinely referred and billed for

 medically unnecessary electrodiagnostic testing that was not indicated when ordered

 and was not used to inform patients’ courses of treatment.

       676. Electrodiagnostic testing includes electromyography (EMG) and nerve

 conduction studies (NCS).

       677. EMG testing involves the use of an electromyography machine to

 record the electrical activity of a skeletal muscle to evaluate the existence of muscle

 and/or nerve abnormalities.

       678. A needle EMG is an invasive procedure that involves the insertion of a

 small needle electrode directly into an individual muscle.

       679. To perform a NCS, the clinician must measure nerve impulses

 following nerve stimulation and obtain information regarding the speed (i.e.,

 velocity), timing, and strength (i.e., amplitude) of nerve impulses.




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       680. NCS involve non-invasive tests in which peripheral nerves in the upper

 and lower limbs (i.e., arms and legs) are stimulated through the skin by the

 application of an electrical current.

       681. The records of the patients who purportedly underwent EMG and NCS

 testing at AMC and Select Medical reflect that the testing was predominantly

 unjustified and was not indicated by the patients’ complaints and neurological

 examination findings.

       682. For EMG and NCS testing to be medically justified, the clinical

 examination must indicate symptoms or signs of radiculopathy.

       683. Radiculopathy is a pathological condition of the nerve roots where one

 or more root nerves along the spine become damaged causing radiating pain to the

 part of the body served by the particular nerve.

       684. The patient’s subjective symptoms alone cannot properly support the

 performance of an electrodiagnostic study absent objective findings by the

 practitioner because such studies are an extension of the clinical exam.

       685. EMG and NCS studies are reserved for cases of actual neurologic

 abnormalities.

       686. EMG and NCS are not indicated where, as is the case with nearly all

 patients at issue herein, neurologic deficits are not detected in the patients.




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       687. The defendants also did not use the electrodiagnostic testing allegedly

 performed to inform or influence patients’ treatment plans, which were

 predetermined.

       688. For example, AMC billed Allstate for the alleged performance of

 electrodiagnostic testing on patient J.C. (Claim No. TXA-0198607) on August 3,

 2018, despite a lack of any specific finding to require such testing.

       689. Not only were the results of the tests never used to guide J.C.’s

 treatment, at her following examination at AMC on August 29, 2018, the AMC

 physician reported that she needed to be scheduled for the same EMG testing that

 was already performed.

       690. On May 1, 2019, AMC physician Nallani ordered electrodiagnostic

 testing of patient I.K.’s (Claim No. 0489270233) upper and lower extremities despite

 not making any specific findings to justify the procedure.

       691. On May 8, 2019, AMC inexplicably billed for purported

 electrodiagnostic testing of I.K.’s upper extremities only, contradicting the purported

 order of its own physician.

       692. Electrodiagnostic testing is an extension of the clinical exam and should

 be used, if at all, in accordance with a patient’s individualized objective symptoms.




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       693. Accordingly, the nature and number of the peripheral nerves and the

 types of nerve fibers tested in a NCS should be dynamic (i.e., varied from patient to

 patient), and should never be based on a predetermined protocol.

       694. Likewise, the provision of EMG tests should not be conducted pursuant

 to a predetermined protocol of muscles to be tested.

       695. Use of a protocol-based approach to electrodiagnostic testing can lead

 to overutilization of such testing.

       696. As discussed above, AMC and Select Medical referred patients for

 electrodiagnostic testing even if they did not present with any neurological deficits

 or any other objective symptoms indicating a suspected radiculopathy, and often

 without any subjective complaints, supporting that such referrals were made on the

 basis of a predetermined protocol of maximizing referrals for diagnostic testing.

       697. Patients for whom AMC and Select Medical billed Allstate for

 electrodiagnostic testing almost always had testing performed on the same nerves

 and muscle groups, regardless of the patients’ individual complaints and without

 regard to the results being found by the physician performing the tests.

       698. Electrodiagnostic testing that is performed pursuant to a predetermined

 protocol and without medical justification is not compensable pursuant to the No-

 Fault Act, and Allstate is entitled to repayment of amounts it was induced to pay by

 the defendants’ misrepresentations.


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 X.     FRAUDULENT BILLING PRACTICES

       699. Providers like the defendants have a responsibility to select and submit

 the billing code that accurately and truthfully identifies the services performed and

 the complexity involved in rendering those services.

       700. The defendants failed to meet this responsibility and instead submitted

 bills for unreasonable payments to Allstate for medically unnecessary and excessive

 services and used fraudulent billing practices, as discussed infra.

       701. All of the medical records, bills, and invoices submitted to Allstate by,

 and on behalf of, the defendants contained CPT Codes, which are published by the

 AMA.

       702. The bills submitted to Allstate by the defendants were submitted on

 Health Insurance Claim Forms (HICF) approved by the National Uniform Claim

 Committee (NUCC) and referenced in the NUCC Instruction Manual.

       703. The back of all HICF forms contains the following language in bold

 font: “NOTICE: Any person who knowingly files a statement of claim containing

 any misrepresentation or any false, incomplete or misleading information may be

 guilty of a criminal act punishable under law and may be subject to civil penalties.”

       704. Despite the warning on the back of the HICF forms, the defendants

 included false, incomplete, and misleading information in the bills and medical

 records submitted to Allstate through interstate wires and the U.S. Mail.


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       A.     FRAUDULENT UNBUNDLING

       705. The Centers for Medicare and Medicaid Services (“CMS”) instituted

 the National Correct Coding Initiative (“NCCI”) to promote national correct coding

 methodologies and to control improper coding leading to inappropriate payment.

       706. The NCCI contains an edit table entitled the “Column One/Column

 Two Correct Coding Edit Table” that identifies billing codes that should not be

 reported together because the services (and payment) of the Column Two code is

 subsumed by the services (and payment) for the Column One code.

       707. Violation of the edits (billing a Column One code and a Column Two

 code on the same day for the same claimant) is known as “unbundling,” which occurs

 when a provider bills separately for individual components of a procedure which are

 included in another billing code also billed for the same date of service.

       708. If a provider reports the two codes of an edit pair, the Column Two code

 is denied and the Column One code is eligible for payment.

       709. The defendants routinely unbundled services billed to Allstate, which

 resulted in tens of thousands of dollars in fraudulent bills.

              1.     AMC and Select Medical’s Fraudulent Unbundling

       710. One frequent method of improperly unbundled charges used by AMC

 was to submit charges for ultrasound or fluoroscopic guidance for procedures that

 have such guidance built into their descriptions.


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       711. For example, AMC billed Allstate for a purported facet injection to

 patient C.B. (Claim No. 0358449998) on May 17, 2018 using CPT Code 64495,

 which expressly includes imaging guidance in its definition.

       712. AMC also submitted a separate charge to Allstate for this purported

 facet injection using CPT Code 76942, which is for the same ultrasound guidance

 expressly included in the charge for the injection itself.

       713. Indeed, the AMA coding guideline for CPT Code 76942 explicitly

 states “do not report 76942 in conjunction with 64495.”

       714. Each time AMC submitted charges for separate ultrasound or

 fluoroscopic guidance for injections and other procedures, it was attempting to

 fraudulently induce Allstate to make a second payment for services that were already

 included in the injections and procedures themselves.

       715. Select Medical also fraudulently unbundled its bills for injections,

 including by submitting multiple claims for purported injections that are properly

 included in just one charge.

       716. For example, Select Medical billed for alleged trigger point injections

 to patient A.M. (Claim No. TXA-0240642) on December 5, 2019 using CPT Codes

 20552 and 20553.

       717. CPT Code 20552 describes performance of 1-2 trigger point injections,

 and CPT Code 20553 describes performance of 3 or more trigger point injections.


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        718. It is not proper to bill CPT Code 20552 in conjunction with CPT Code

 20553 as the latter encompasses any number of trigger point injections above three

 (3).

        719. Similarly, Select Medical billed Allstate for purported trigger point

 injections to patient R.H. (Claim No. TXA-0216616) with two (2) separate charges

 using CPT Code 20552 on October 17, 2019.

        720. It is not proper to bill using two (2) separate charges for 1-2 trigger

 point injections when there is a specific code (CPT Code 20553) that describes 3 or

 more such injections.

              2.    Defendant Physical Therapy and Chiropractic Clinics’
                    Fraudulent Unbundling

        721. Defendants Kinetix, Level 1 PT & Rehab, and Level 1 Health each

 routinely submitted charges to Allstate using CPT Code 97124 (“massage, including

 effleurage, petrissage and/or tapotement (stroking, compression, percussion)”) and

 CPT Code 97140 (“manual therapy techniques (eg, mobilization/manipulation,

 manual lymphatic drainage, manual traction), 1 or more regions, each 15 minutes”)

 for the same patient on the same date of service. See Exhibits 1 through 3.

        722. CPT Code 97124 is a Column Two code and CPT Code 97140 is a

 Column One code when billed for the same patient on the same date of service.

        723. The submission of these codes for the same patient on the same date of

 service constitutes fraudulent unbundling.
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       724. Kinetix, Level 1 PT & Rehab, and Level 1 Health each routinely

 submitted claims for purported massage using CPT Code 97124 on the same dates

 of service they billed for purported manual therapy using CPT Code 97140, which

 amounts to fraudulent unbundling. Id.

       725. In addition to unbundling the same codes for massage and manual

 therapy, Level 1 Health, Northland Healthcare, and Northland Chiropractic further

 unbundled massage (CPT Code 97124) and manual therapy (CPT Code 97140) with

 chiropractic manipulation treatment (CPT Codes 98941 and 98942) allegedly

 performed on the same date of service. See Exhibits 3, 8, and 9.

       726. CPT Codes 97124 and 97140 are Column Two codes and CMT billed

 using CPT Codes 98941 and 98942 are Column One codes when billed for the same

 patient on the same date of service.

       727. Level 1 Health, Northland Healthcare, and Northland Chiropractic

 submitted claims totaling at least $32,240 for purported CMT using CPT Codes

 98941 and 98942 on the same dates of service they billed for either purported manual

 therapy using CPT Code 97140 or massage using CPT Code 97124, all of which

 amounts to fraudulent unbundling. Id.

       728. All claims submitted to Allstate for CMT, massage, and manual therapy

 allegedly performed on the same date of service were fraudulently unbundled, and

 none of these unbundled claims were compensable.


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       B.     FRAUDULENT UPCODING

       729. Physician examinations of patients are billed using CPT Codes that

 reflect the complexity involved in the examination and it is the responsibility of the

 provider to select the appropriate CPT Code for the complexity involved in the

 examination.

       730. As discussed above, the defendants made misrepresentations to Allstate

 by submitting documentation that included CPT Codes for medical services that (1)

 were not actually performed, (2) were not performed consistent with established

 standards of care, and/or (3) were wholly unwarranted and unnecessary.

       731. The bills codes submitted to Allstate by AMC and Northland

 Chiropractic also consistently exaggerated the complexity of evaluations

 purportedly provided in order to inflate the charges submitted to Allstate.

       732. There are five (5) levels at which an office visit/examination or office

 consultation can be billed, with level one being the least involved examination and

 level five being the most complex.

       733. Initial office visits/examinations are billed using a CPT Code that starts

 with the numbers “9920”; reexaminations are billed using a CPT Code that starts

 with the numbers “9921”; and consultations are billed using a CPT Code that starts

 with the numbers “9924.”




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       734. The final number to complete each five-digit CPT Code for

 examinations and consultations is one (1) through five (5), depending on the

 complexity of the evaluation performed.

       735. To properly bill using level 5 complexity codes, the physician must

 have taken a comprehensive history, performed a comprehensive examination, and

 engaged in medical decision-making of high complexity.

       736. To properly bill using level 4 complexity codes, the physician must

 have taken a comprehensive (initial encounter) or detailed (reevaluation) history,

 performed a comprehensive (initial encounter) or detailed (reevaluation)

 examination, and engaged in medical decision-making of moderate complexity.

       737. The AMA has guided that level 5 initial examinations should involve

 approximately 60 minutes of face-to-face time with the patient, and level 5

 reexaminations should involve approximately 40 minutes of face-to-face time with

 the patient.

       738. Level 4 examinations typically involve 45 minutes of face-to-face time,

 and level 4 reexaminations typically involve 25 minutes of face-to-face time.

       739. AMC almost always submitted charges billed to Allstate claiming that

 it performed level 4 examinations (i.e., CPT Codes 99204 and 99214), and also

 billed Allstate for purported level five follow-up visits (i.e., CPT Code 99215). See

 Exhibit 6.


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       740. All bills submitted using CPT Codes 99204, 99214, and 99215 as a

 matter of course rather than based on an independent assessment of the complexity

 of medical decision-making were fraudulent.

       741. AMC has billed Allstate for at least 894 patient examinations since

 2015. Id.

       742. Just ten (10) (1.12%) of these purported examinations were billed as a

 level 1 or 2 encounter. Id.

       743. Just 102 (11.41%) of the 894 patient examinations billed by AMC were

 billed as level 3 encounters. Id.

       744. To warrant a medical bill demanding payment for a level four

 examination, the injury/condition necessarily requires:

              moderate risk of mortality, morbidity and/or complications;

              moderate diagnoses and review of complex data; and

              the defendants to: (1) obtain comprehensive patient histories; (2)
               conduct comprehensive examinations; and (3) evaluate the patient
               (face-to-face) in an interaction lasting approximately 45 minutes.

       745. To warrant a medical bill demanding payment for a level five

 examination, the injury/condition necessarily requires:

              high risk of mortality, morbidity, and/or complications;

              extensive diagnoses and review of complex data; and



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            the defendants to: (1) obtain comprehensive patient histories; (2)
             conduct comprehensive examinations; and (3) evaluate the patient
             (face-to-face) in an interaction lasting approximately 60 minutes.

        746. AMC’s examinations fall woefully short of meeting the threshold

 standard to bill for level four or five office visits.

        747. For the patient appointments resulting in pre-printed and formulaic

 office records based off the predetermined treatment protocol described above,

 AMC uniformly improperly upcoded bills to represent alleged complex medicals

 evaluations.

        748. AMC’s records do not support evaluations as extensive or complex as

 those represented by the charges he submitted.

        749. AMC almost never documented a detailed patient history, and its

 former nurse practitioner provided sworn testimony that AMC used form templates

 for initial examinations that resulted in all examinations consisting of pre-printed,

 non-patient specific language.

        750. While AMC uniformly billed for purported “comprehensive”

 examinations, AMC’s evaluations in actuality fabricated patient injuries and

 mischaracterized the severity of alleged motor vehicle accidents in an attempt to

 create the appearance of more significant injuries and falsely justify their

 predetermined course of excessive treatment.




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       751. For example, patient N.K. (Claim No. 0548072965) testified that his

 initial examination occurred together with his son and daughter who were

 simultaneously examined in the same room, who were all allegedly involved in the

 same motor vehicle accident.

       752. N.K. testified that the group examination took around thirty-forty (30-

 40) minutes total, yet AMC fraudulently upcoded each patient’s initial examination

 billed as purported comprehensive level four initial evaluations, which require

 approximately forty-five (45) minutes of face-to-face evaluation personalized to

 each individual patient.

       753. Further, both AMC and Northland Chiropractic fraudulently upcoded

 their charges by improperly billing Allstate for multiple new patient initial

 examinations.

       754. The CPT Codebook defines a new patient as:

       one who has not received any professional services from the
       physician/qualified     healthcare     professional      or    another
       physician/qualified healthcare professional of the exact same specialty
       and subspecialty who belongs to the same group practices, within the
       past three years.

       755. New patient evaluations are billed using CPT Codes 99201-99205 and

 are normally paid at higher rates than established patient evaluations billed using

 CPT Codes 99211-99215.




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       756. The following representative patients exemplify AMC’s fraudulent

 upcoding through submitting multiple charges for initial patient examinations:

     For patient N.J (Claim No. 0471077895), AMC billed Allstate for a level 4
      new patient examination on November 9, 2017. Less than one (1) month later,
      on December 7, 2017, N.J. allegedly returned to AMC and was evaluated by
      a nurse practitioner. Nurse practitioners must be supervised by a licensed
      physician and thus necessarily fall into the same “specialty/subspecialty” as
      their supervising physician. However, AMC improperly billed this December
      7, 2017 examination performed by a nurse practitioner under Agha’s alleged
      supervision billed as a second level 4 initial examination.

     Patient E.L. (Claim No. 0397904939) was allegedly examined at AMC
      performed by nurse practitioner Deangella Simpson on November 22, 2017,
      which was billed to Allstate as a level 4 initial examination. Only six (6) days
      later on November 28, 2017, Simpson allegedly performed a second
      examination of E.L. that was improperly billed as another level 4 initial
      examination.

       757. Northland Chiropractic routinely improperly billed every examination

 performed by defendant Sagala as “new” patient evaluations. For example:

     Northland Chiropractic billed Allstate for a level 4 new patient examination
      of patient A.Y (Claim No. 0275194066) on March 5, 2013. Over the next one
      (1) year and three (3) months of purported treatment, Northland Chiropractic
      submitted five (5) additional charges for purported level 3 new patient initial
      evaluations, as well as one (1) additional charge for a purported level 4 new
      patient initial examination.

     Northland Chiropractic billed Allstate for a level 4 new patient examination
      of patient C.W. (Claim No. 0291832657) on July 1, 2013. Sagala’s next two
      purported examinations of C.W., allegedly performed on July 29, 2013 and
      September 3, 2013, were improperly billed as level 3 new patient
      examinations. C.W. was then allegedly involved in another motor vehicle
      accident on January 25, 2014 (Claim No. 0313918708). Sagala used this
      purported second motor vehicle accident to again bill Allstate for a level 4
      new patient evaluation on February 3, 2014, despite the fact C.W. remained
      an established patient. Northland Chiropractic billed Allstate for an additional
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       two (2) level 3 new patient examinations allegedly performed on April 2, 2014
       and October 16, 2014.

     Northland Chiropractic billed Allstate for a level 4 new patient examination
      of patient V.S. (Claim No. 0344997233) on October 29, 2014. Within the
      next five (5) months, Northland Chiropractic submitted three (3) charges for
      alleged level 3 new patient evaluations, all of which were allegedly performed
      by the same chiropractor who performed V.S.’s initial examination.

       758. By creating medical bills that included CPT Codes for office visits and

 then causing such bills to be faxed and mailed to Allstate, the defendants represented

 to Allstate that the invoiced medical services had been performed in conformity with

 the AMA’s CPT Code Guidelines.

       759. However, all of the bills prepared, faxed, and mailed by the defendants

 were submitted using fraudulent and deceptive examination CPT Codes.

       760. As such, Allstate is not obligated to pay any pending bills for office

 visits and is entitled to reimbursement for those office visits for which it has already

 tendered payment.

       C.     FRAUDULENT P-STIM BILLING

       761. Each time AMC allegedly applied a medically unnecessary and

 clinically useless P-Stim device, Allstate received a raft of improper charges totaling

 as much as $9,570.

       762. As detailed above, the application of P-Stim devices was medically

 unnecessary and therefore non-compensable under the No-Fault Act.



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       763. The billing practices used in relation to the P-Stim devices were also

 independently fraudulent.

       764. AMC used four (4) separate CPT and HCPCS Codes to bill Allstate for

 P-Stim devices:

        63650 – “Percutaneous implantation of neurostimulator electrode array,
         epidural”;

        64555 – “Percutaneous implantation of neurostimulator, peripheral nerve”;

        95972 – “Electronic analysis of implanted neurostimulator pulse generator
         system; complex spinal cord or peripheral neurostimulator pulse
         generator/transmitter, with intraoperative or subsequent programming”;
         and

        A6237 – “Hydrocolloid dressing, wound cover, sterile, pad size 16 sq. in.
         or less, with any size adhesive border, each dressing.”

 See Exhibit 6.

       765. P-Stim devices are transcutaneous, not percutaneous, and are simply

 acupuncture devices affixed to an area behind a patient’s ear, not “implanted.”

       766. Because P-Stim devices are not percutaneous or implanted, none of the

 codes submitted by AMC for purported application of P-Stim devices correctly

 describe the service allegedly performed.

       767. Further, the services that are described when AMC submitted bills

 using CPT Code 95972 amount to merely checking the battery of the P-Stim devices.

       768. AMC’s P-Stim application was routinely billed to Allstate for $520

 each time one of its nurse practitioners allegedly checked P-Stim batteries.
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       769. AMC also charged Allstate for three (3) units of CPT Codes 63650 and

 64555, one (1) for each of the wires of the P-Stim device.

       770. AMC also submitted charges to Allstate for alleged P-Stim application

 using CPT Code 63650, which describes the implantation of a spinal cord stimulator.

       771. As with CPT Code 64555, charges using CPT Code 63650 were also

 improperly billed as three (3) units, one for each P-Stim wire.

       772. Allstate is not obligated to pay any pending bills for alleged P-Stim

 application fraudulently billed using billing codes that do not property describe the

 treatment performed, and it is entitled to reimbursement for payment already

 tendered.

       D.     AMC’S FRAUDULENT BILLING FOR EVALUATIONS ASSOCIATED WITH
              PROCEDURES

       773. AMC also routinely submitted claims for evaluations for which it was

 not entitled to any payment at all.

       774. The CPT Codes used by AMC for certain procedures are for “global

 packages,” which include all necessary services normally furnished by a physician

 before, during, and after a procedure.

       775. The amount of post-procedure treatment covered by the CPT Code for

 the procedure varies between procedures, but always includes at least the evaluation

 performed on the day of the procedure.



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       776. AMC’s bills for dates on which procedures were allegedly performed

 consistently included a charge for the evaluation purportedly performed on the same

 date, even though evaluations cannot be separately billed unless the medical

 necessity of a separately identifiable examination is thoroughly documented.

       777. As documented supra, AMC’s template-based examinations never

 documented the medical necessity of performing a separate evaluation on the dates

 on which it allegedly performed these procedures carrying global packages, and

 instead AMC frequently billed for level four encounters in violation of the global

 package billing rules.

       778. For example, for patient S.B. (Claim No. 0466511516), AMC billed for

 alleged P-Stim application on December 7, 2017, a procedure that carries a ten (10)

 day global billing restriction period.

       779. However, on this same date of service, AMC billed Allstate for a level

 four examination without properly documenting the examination as a significant,

 separately identifiable procedure.

       780. AMC billed for alleged injections to patient C.B. (Claim No.

 0358449998) on January 7, 2017, which include a global billing restriction for the

 day of the procedures.




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       781.   On this same date of service, AMC billed Allstate for a level four re-

 examination without properly documenting the examination as a significant,

 separately identifiable procedure.

       782. AMC submitted claims for payment and accompanying medical

 records relative to Allstate patients through the U.S. Mail and interstate wires for

 examinations fraudulently billed separately from procedures, and Allstate relied

 upon the same in adjusting the claims.

       783. Allstate is not required to pay AMC for examinations performed during

 procedures’ global package billing restriction period, and is entitled to a return of

 the monies it paid in reliance on AMC’s fraudulent submissions.

 XI.    EXCESSIVE AND UNREASONABLE CHARGES

       784. The defendants routinely billed Allstate at rates that were unreasonable

 and had no relation to the services allegedly performed.

       A.     CHARGES SUBMITTED BY METRO MRI

              1.    Metro MRI’s Representations Regarding Cost and Revenue

       785. On or about July 7, 2016, Metro MRI submitted documents to the

 Michigan Department of Health and Human Services (MDHHS) in support its

 application for a CON to acquire an existing mobile MRI host site from an entity

 called Metropolitan Diagnostic Imaging. See Exhibit 17.




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       786. The CON application included a “project costs” component that

 represented that the total cost to Metro MRI to acquire this CON, including a two

 (2) year space lease and a two (2) year equipment lease, was $316,656. Id.

       787. On or about December 7, 2016, Metro MRI submitted documents to the

 MDHHS in support of an additional CON acquisition that included a “project costs”

 component representing that the total two (2) year costs to Metro MRI to acquire

 this second CON was $134,736. See Exhibit 18.

       788. In total, Metro MRI’s CON applications represent costs to it of

 approximately $225,000 per year to operate the two (2) separate MRI host sites it

 used to generate charges to Allstate.

              2.     Metro MRI’s Charges to Allstate

       789. Metro MRI began regularly billing Allstate for the purported

 performance of MRIs of patients at issue herein on December 18, 2016, and

 continues to bill Allstate to the date of this filing. See Exhibit 10.

       790. Metro MRI has submitted the following charges for the MRIs

 purportedly rendered:




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     MRI CPT Code                                                          Amount Billed Per
                                     CPT Code Description
        Billed                                                                  MRI
         70551                     Brain MRI, without contrast            $4950.00 to $5,800.00

         72141                    Cervical MRI, without contrast          $4,900.00 to $5,000.00

         72146                    Thoracic MRI, without contrast          $4,900.00 to $5,000.00

         72148                    Lumbar MRI, without contrast            $4,900.00 to $5,000.00

         73221              Upper extremity joint MRI, without contrast   $4,900.00 to $5,000.00

         73721                Lower extremity MRI, without contrast             $5,000.00


       791. As documented above, Metro MRI billed Allstate at least $4,900.00 for

 each MRI since commencing operations.

       792. Because Metro MRI almost always billed for multiple MRIs of patients,

 and because of its unreasonable charges per MRI, Metro MRI has billed Allstate

 more than $994,150 in the less than four (4) years it has existed.

       793. The amount billed to Allstate alone (excluding all other insurers and

 payors in the State of Michigan) is nearly double the amount of the total cost to

 Metro MRI to operate its business.

       794. In other words, Metro MRI’s charges were so excessive and

 unreasonable, that it billed Allstate enough to make a nearly 70% profit on its

 investment even before it submitted a single charge to any other payor.

       795. It is untenable that the Michigan No-Fault Act was enacted to permit

 such gross exploitation of the benefits available thereunder.




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         796. Indeed, such excessive charges stand in stark contrast to the established

 public policy in Michigan that the No-Fault Act should not increase the cost of

 healthcare treatment.

         797. Metro MRI’s charges are not and were not reasonable and the

 defendants cannot sustain their burden of proving otherwise.

               3.     Metro MRI’s Charges Far Exceeded the Amounts Paid by
                      Other Michigan Payors

         798. In addition to its charges being unreasonable and excessive, Metro

 MRI’s charges are also grossly excessive when compared to other prominent

 Michigan payors.

         799. For example, Medicare paid for MRIs performed in Macomb, Oakland,

 and Wayne counties at the following amounts for MRIs performed in 2015 through

 2018:

                     2015A         2015B            2016         2017         2018
   CPT Code
                    $230.15        $231.30         $232.01      $234.22      $236.32
    70551
   CPT Code
                    $244.06        $224.52         $225.73      $228.00      $229.91
    72141
   CPT Code
                    $223.40        $224.52         $225.73      $228.35      $230.26
    72146
   CPT Code
                    $223.33        $223.44         $224.66      $227.29      $229.91
    72148
   CPT Code
                    $235.81        $236.99         $237.80      $240.78      $242.67
    73221
   CPT Code
                    $325.45        $236.63         $238.16      $240.42      $242.67
    73721

         800. Michigan Medicaid paid for MRIs performed from 2015 through 2018

 at the following amounts:

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                        2015             2016               2017          2018
     CPT Code
                       $127.77          $128.37            $129.16       $129.76
      70551
     CPT Code
                       $124.01          $124.80            $125.60       $126.19
      72141
     CPT Code
                       $124.01          $124.80            $125.79       $126.39
      72146
     CPT Code
                       $123.22          $124.21            $125.20       $126.19
      72148
     CPT Code
                       $130.75          $131.54            $132.73       $133.32
      73221
     CPT Code
                       $130.75          $131.74            $132.53       $133.32
      73721

       801. The Michigan workers’ compensation program paid for MRIs

 performed from 2015 through 2018 at the following amounts:

                        2015             2016               2017          2018
     CPT Code
                       $321.48          $298.30            $300.36       $304.95
      70551
     CPT Code
                       $319.35          $290.21            $292.34       $296.70
      72141
     CPT Code
                       $319.35          $290.21            $292.79       $297.16
      72146
     CPT Code
                       $319.99          $288.84            $291.43       $296.70
      72148
     CPT Code
                       $334.04          $305.46            $308.47       $312.95
      73221
     CPT Code
                       $334.51          $305.92            $308.02       $312.95
      73721

       802. The payment amounts from other payors are indicative of the range for

 what a reasonable charge and payment is per MRI.

       803. Metro MRI’s charges are well outside this range and the spectrum of

 reasonableness and the defendants cannot sustain their burden of proving otherwise.

       B.       EXCESSIVE AND UNREASONABLE TRANSPORTATION CHARGES

       804. The transportation charges submitted by Motion Transportation and

 Rent A Ride to Allstate are unreasonable and excessive.
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       805. Neither Motion Transportation nor Rent A Ride used medical or

 specialized vehicles, but rather just used normal vehicles to transport (if at all)

 patients. In other words, there was nothing unique or special about the transportation

 billed by Motion Transportation or Rent A Ride.

       806. For most patients at issue herein, Motion Transportation billed Allstate

 $30 pick-up and drop off fees, plus $2.50 per mile per day per patient.

       807. Rent A Ride nearly always billed Allstate exactly $230 per day per

 patient, regardless of the distance traveled between a patient’s home and clinic to

 which he or she was allegedly transported.

       808. Both Motion Transportation and Rent A Ride billed these unreasonable

 amounts even when they transported multiple patients in the same vehicle at the

 same time.

       809. The charges for transportation services submitted by Motion

 Transportation and Rent A Ride are particularly unreasonable when compared to

 pricing from taxicab or ridesharing services for the same distance.

       810. For example, Motion Transportation submitted bills to Allstate for

 patient J.P. (Claim No. 0507664340) charging a $30 pick-up fee and a total mileage

 charge of $148.50 ($2.50 per mile) for a $178.50 total charge for roundtrip

 transportation to Kinetix on each date of service.




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       811. These rates are more than triple the cost to take an application-based

 ride-hailing service, such as Uber or Lyft, or a roundtrip taxi.

       812.    J.P. could have obtained transportation to Kinetix in a taxi, with 15%

 tip, for $30.68.

       813. If J.P. were to ride as a single passenger using Uber, his estimated fare

 would be $24.19 in each direction.

       814. If J.P. were to ride as a single passenger using Lyft, his estimated fare

 would be $24-$28 in each direction.

       815. Despite these outrageous charges for J.P. alone, J.P. testified that

 Motion Transportation transported other passengers at the same time.

       816. Patient C.R. (Claim No. 0519936925) allegedly received roundtrip

 transportation to Level 1 of Michigan billed by Rent A Ride.

       817. Rent A Ride billed $230.00 per trip for 137 purported dates of service

 over more than ten (10) months.

       818. This uniform $230.00 charge is grossly excessive considering C.R. was

 transported less than thirteen (13) miles in each direction, yet was uniformly billed

 at this exorbitant rate to improperly generate more than $30,000 in transportation

 charges for C.R. alone.

       819. Motion Transportation and Rent A Ride charged excessive rates for

 transportation services and cannot sustain their burden of proving otherwise.


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         C.     EXCESSIVE AND UNREASONABLE URINE DRUG TESTING CHARGES

         820. AMC routinely submitted charges to Allstate that were hundreds of

 times more than the customary amounts charged by other providers for the same

 urine drug testing services.

         821. AMC’s billing rates were set by a third party who lives in Florida

 named David Winter (“Winter”), who owns and operates billing companies called

 Claims Reimbursement Specialists, LLC and GLM Healthcare Services, Inc.

         822. As discussed supra, Hassan, who controlled AMC despite not having

 any medical licensure or certification, informed Allstate that presumptive urine drug

 testing is billed for every patient because AMC is located in a “high risk” area.

         823.   These purported presumptive tests included testing conducted using

 reagent dipsticks that were billed to Allstate using CPT Code 80305 for $400.00 per

 test.

         824. Reagent dipsticks can be purchased for less than $1.00, and the highest-

 end reagent dipstick products rarely sell for more than $5.00 each.

         825. The process of performing a reagent dipstick test takes only seconds.

         826. The 2017 Medicare fee schedule amount for performing a urine screen

 with a reagent dipstick is $14.86.

         827. AMC also submitted charges for purported presumptive urine drug

 testing performed by chemistry analyzing instruments using CPT Code 80307.


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       828. The 2017 Medicare fee schedule amount for presumptive urine drug

 testing using chemistry analyzing instruments was $79.25.

       829. AMC charged Allstate as much as $1,400.00 for this same testing.

       830. In addition to being significantly excessive, AMC’s charges for

 presumptive drug testing using CPT Code 80307 fluctuated greatly for no apparent

 reason.

       831. For example, AMC billed Allstate $165.00 for an alleged urine screen

 of patient J.M. (TXA-0193420) on March 14, 2018. AMC then submitted a second

 bill for this same alleged urine screen that charged $1,400.00.

       832. AMC billed Allstate various amounts using the same CPT Code 80307

 for the same type of urine screens performed on patient C.B. (Claim No.

 0358449998), including $660.00 on May 20, 2017, $165.00 on June 6, 2018,

 $1,400.00 on July 25, 2018, and $1,200.00 on December 13, 2018.

       833. There is no basis for these extreme fluctuations in charges for the same

 service, and nearly all were many times higher than any charge that could be

 considered reasonable for this basic test.

       834. Allstate is not obligated to pay any pending bills for urine drug testing

 billed by AMC at excessive amounts, and it is entitled to reimbursement for all bills

 for which it has already tendered payment.




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       D.     EXCESSIVE AND UNREASONABLE DME CHARGES

       835. In addition to being medically unnecessary and issued contrary to

 applicable standards of care, as discussed supra, items of DME issued by AMC were

 charged at unreasonable rates.

       836. As discussed above, the predetermined treatment protocol used by the

 defendants involved the issuance of DME, including a variety of knee and back

 braces and TENS devices.

       837. All of the DME billed by AMC was charged at outrageous prices many

 times higher than the actual cost of these off-the-shelf (i.e., non-custom) braces.

       838. For example, for patient G.N. (Claim No. 0394032551), AMC billed

 Allstate $11,750 for a back brace allegedly provided on June 23, 2016 using HCPCS

 Code L0648 (“Lumbar-sacral orthosis, sagittal control, with rigid anterior and

 posterior panels, posterior extends from sacrococcygeal junction to t-9 vertebra,

 produces intracavitary pressure to reduce load on the intervertebral discs, includes

 straps, closures, may include padding, shoulder straps, pendulous abdomen design,

 prefabricated, off-the-shelf”).

       839. This same type of brace can be purchased on Amazon for $60.00:




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       840. DME charged for more than 195 times its publically available purchase

 price cannot be considered a “reasonable” charge, and AMC cannot sustain its

 burden of proving otherwise.

       841. AMC also charged Allstate $3,555.00 for a TENS device allegedly

 issued to G.N.

       842. The 2020 CMS average payment amount for TENS devices is

 approximately $75.00, and TENS units can be purchased for less than $40.00 retail.

       843. AMC routinely charged Allstate at least $1,800.00 for a back brace

 using HCPCS Code L0650, including billing as much as $2,480.00 for such a brace

 allegedly issued to patient C.B. (Claim No. 0358449998).

       844. This same back brace can be purchased retail for less than $90.00:




       845. AMC also frequently billed Allstate $1,600.00 for a knee brace using

 HCPCS Codes L1832 and L1833, a device which can be purchased for less than

 $65.00:
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       846. AMC uniformly charged Allstate $295.00 using HCPCS Code L3908

 for a wrist brace that can be purchased retail for less than $30.00.

       847. Allstate is not required to compensate AMC for DME fraudulently

 billed pursuant to a predetermined treatment protocol, or charged for more than

 reasonable and customary rates, and is entitled to return of all sums paid due to the

 fraudulent issuance of DME by AMC.

 XII. MISREPRESENTATIONS MADE BY THE DEFENDANTS AND
      RELIED ON BY ALLSTATE

       A.     MISREPRESENTATIONS BY THE DEFENDANTS

       848. To induce Allstate to pay promptly their fraudulent charges, the

 defendants submitted and caused to be submitted to Allstate false documentation

 that materially misrepresented that the services they referred and billed were

 necessary within the meaning of the Michigan No-Fault Act, that the charges for the

 same were reasonable, and that all treatment was lawfully and actually rendered.

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       849. Claims for medical benefits under Michigan’s No-Fault Act can only

 be made for “reasonable charges incurred for reasonably necessary products,

 services and accommodations for an injured person’s care, recovery, or

 rehabilitation.” Mich. Comp. Laws § 500.3107(1)(a).

       850. Moreover, claims for medical benefits under Michigan’s No-Fault Act

 can only be made for services that are “lawfully render[ed].” Mich. Comp. Laws §

 500.3157(1).

       851. Thus, every time the defendants submitted bills and medical records to

 Allstate supporting their claims for No-Fault payments, the defendants necessarily

 warranted that such bills and records related to lawfully and actually rendered and

 necessary treatment for their patients’ care, recovery, or rehabilitation.

       852. There are no less than seventeen (17) separate reasons why the

 defendants’ alleged treatment was not in fact performed, was not lawful, was not

 medically necessary, and was fraudulently billed to Allstate:

       a.     AMC, Kinetix, Level 1 of Michigan, Level 1 PT & Rehab, Michigan
              First, Northland Chiropractic, Northland Healthcare, Motion
              Transportation, Rent A Ride, Norman Dehko, Sabah Dehko, Jordan
              Dehko, Sagala, Shah, and Hassan billed Allstate for treatment and
              services that were not actually provided as evidenced, inter alia, by the
              multiple patients at issue in this Complaint who testified under oath that
              they did not receive the treatment or services that the defendants billed
              to Allstate.

       b.     The defendants offered improper inducements to patients to undergo
              medically unnecessary treatments, including cash payments.


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       c.    The defendants illegally solicited patients for unnecessary treatment
             and engaged in quid pro quo relationships with each other. The
             defendants utilized tow truck drivers, runners, police reports, hospitals,
             and telephonic solicitation to identify and recruit individuals who
             claimed to be in motor vehicle accidents to receive unnecessary
             treatment and intentionally sought out patients who did not require
             medical care. The defendants’ methods of obtaining patients did not
             include considerations of medical necessity and allowed individuals
             with no medical training to control patients’ treatment. The defendants
             participated in numerous quid pro quo relationships that derived profit
             for themselves without regard for the necessity and lawfulness of
             medical treatment.

       d.    AMC and Level 1 altered and fabricated medical records submitted to
             Allstate to induce payment, including by falsifying patient histories and
             misrepresenting the qualifications of the individuals who purportedly
             performed the services.

       e.    The defendants used an improper predetermined treatment protocol,
             implemented by use of pre-printed and boilerplate purported
             examination findings, to order excessive physical therapy, chiropractic
             treatment, urine drug testing, medically useless P-Stim devices,
             injections, electrodiagnostic testing, DME, medications, and MRIs.
             This predetermined protocol is confirmed by the identical purported
             findings and treatment plans ordered for patients at issue in this
             Complaint, which have no relationship to medical necessity or any
             patient-specific considerations.

       f.    AMC billed for unnecessary and excessive urine drug testing. AMC
             also made referrals to associated entities for medically unnecessary and
             redundant testing. Numerous patients at issue in this Complaint
             received definitive urine drug testing with no justification or basis for
             such testing. AMC billed for purported drug testing for nearly every
             patient at every appointment, regardless of whether medications were
             actually prescribed. This further demonstrates that the defendants
             conducted urine drug testing as part of a predetermined treatment
             protocol and not based upon the particular needs of the patient.

       g.    AMC, Select Medical, Sagala, and Hassan indiscriminately referred
             patients for physical therapy and chiropractic treatment at the defendant
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             clinics without any individual determination of medical necessity, and
             without any evaluation of the efficacy of such treatment. The
             defendants’ quid pro quo referral relationship is evidenced by the
             numerous emails and payments exchanged between the defendants and
             AMC’s initial examination notes that explicitly identify “1-800-PAIN”
             and “Level 1” as patient referral sources.

       h.    AMC, Select Medical, Sagala, and Hassan referred patients for MRIs,
             and Metro MRI billed for MRIs, that were medically unnecessary and
             performed in violation of applicable standards of care in furtherance of
             the scheme to bill Allstate for as many ancillary services as possible,
             and not based on the individual needs of patients.

       i.    Metro MRI submitted bills to Allstate seeking payment for medically
             unnecessary MRIs that were ordered as a matter of course at the outset
             of treatment and were excessive in number.

       j.    AMC, Level 1 of Michigan, Michigan First, Metro MRI, Norman
             Dehko, Sabah Dehko, and Jordan Dehko submitted bills to Allstate for
             unlawful and unlicensed treatment and services. AMC billed for
             unlicensed issuance of DME and narcotic medication prescribed in
             violation of Michigan law and Motion Transportation and Rent A Ride
             billed for unlicensed transportation services. Allstate is not required to
             pay the defendants for unlawful treatment that violated Michigan laws
             and regulations.

       k.    AMC prescribed medications, including narcotics, on a pro forma basis
             in an attempt to incentivize patients to continue to return to the clinic
             for medically unnecessary treatment. The predetermined nature of the
             prescriptions written by the defendants is evidenced by the lack of
             influence of urine drug test results on their prescription habits, which
             continued without change even in the face of evidence that patients
             were abusing or diverting the drugs prescribed.

       l.    AMC ordered and billed for medically unnecessary injections and
             electrodiagnostic testing in violation of applicable standards of care.

       m.    AMC and Hassan fraudulently submitted claims for payment to Allstate
             for alleged urine drug testing and DME that were also billed by


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              different medical providers for the exact same purported testing and
              equipment.

       n.     AMC, Northland Chiropractic, Sagala, and Hassan fraudulently
              upcoded office visits, as the vast majority of the office visits billed to
              Allstate were for level four or level five even though the office visits
              did not meet the criteria set by the AMA to bill at such high levels.
              When done intentionally, as the defendants did, upcoding constitutes a
              fraudulent billing practice.

       o.     AMC, Select Medical, Kinetix, Level 1 Health, Level 1 PT & Rehab,
              Northland Healthcare, Northland Chiropractic, Sagala, Shah, and
              Hassan submitted claims using multiple CPT codes to describe the
              same procedure allegedly performed, which is a fraudulent billing
              practice known as unbundling.

       p.     AMC and Hassan submitted charges to Allstate for clinically-useless P-
              Stim acupuncture devices using CPT Codes that they knew described
              procedures that were far more complex and invasive than P-Stim, which
              merely involves placing an adhesive behind patients’ ears.

       q.     AMC, Metro MRI, Motion Transportation, Rent A Ride, Norman
              Dehko, Shah, and Hassan submitted charges to Allstate at amounts that
              were excessive and unreasonable for nearly all services at issue herein,
              including P-Stim, MRIs, transportation, urine drug testing, and DME.

       853. As detailed supra, the defendants frequently violated established

 standards of care, treated excessively, and rendered treatment without basis or

 adequate substantiation.

       854. If treatment is not required for a patient’s care, recovery, or

 rehabilitation, such treatment is not medically necessary.

       855. The foregoing facts – billing for services not rendered, unlawfully

 soliciting patients, paying kickbacks, falsifying documents to justify excessive


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 treatment and improper referrals, using a predetermined treatment protocol to inflate

 charges, and misrepresenting the necessity of treatment and testing on submitted

 bills – were not, and could not have been, known to Allstate until it commenced its

 investigation of the defendants shortly before the filing of this action.

       856. Allstate had and has no contractual relationship with any of the

 defendants at all, including with respect to the claims at issue herein, and had no

 access to information or documents exposing the defendants’ fraudulent conduct

 until it conducted the investigation that led to the filing of this action.

       857. Taken as a whole, the prevalence of such facts and the defendants’

 failure to abide by accepted standards of care render the treatment and testing

 allegedly provided by the defendants unnecessary and unlawful.

       858. The fact of violations of medical standards is present with respect to

 every patient at issue in this Complaint, including those specific patient examples

 set out above and in the charts annexed at Exhibits 1 through 12.

       859. Thus, each claim for payment (and accompanying medical records)

 under Michigan’s No-Fault Act faxed and mailed to Allstate by, on behalf of, or with

 the knowledge of the defendants constitutes a misrepresentation because the

 treatment underlying the claim was not lawful and medically necessary, as it must

 be in order to be compensable under Michigan law.




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        860. Moreover, each HICF submitted to Allstate by the defendants contained

 the following notation: “NOTICE: Any person who knowingly files a statement of

 claim containing any misrepresentation or any false, incomplete or misleading

 information may be guilty of a criminal act punishable under law and may be subject

 to civil penalties.”

        861. Through the submission of patient records, invoices, HICFs, and other

 medical documentation to Allstate via the interstate wires and the U.S. Mail, the

 defendants attested to the fact, lawfulness, and medical necessity of the visits,

 examinations, screenings, testing, procedures, and ancillary services for which they

 billed Allstate.

        862. As the defendants did not render lawful and reasonably necessary

 medical treatment and testing, and misrepresented the treatment and testing

 purportedly performed, each bill and accompanying documentation faxed or mailed

 by or on behalf of the defendants to Allstate constitutes a material misrepresentation.

        B.     ALLSTATE’S JUSTIFIABLE RELIANCE

        863. The facially valid documents submitted to Allstate by the defendants

 were designed to, and did in fact, induce Allstate to rely on the documents.

        864. At all relevant times, the defendants concealed from Allstate facts

 regarding the fact, lawfulness, and medical necessity of services allegedly provided




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 and referred by them to prevent Allstate from discovering that the claims submitted

 by and on behalf of the defendants were not compensable under the No-Fault Act.

       865. These      misrepresentations         include   submitting   false   medical

 documentation, including HICFs, documenting the fact, lawfulness, and necessity of

 medical treatment, testing, and services in order to seek payment under Michigan’s

 No-Fault Act.

       866. Evidence of the fraudulent scheme detailed in this Complaint was not

 discovered until after patterns had emerged and Allstate began to investigate the

 defendants, revealing the true nature and full scope of their fraudulent scheme.

       867. Due to the defendants’ material misrepresentations and other

 affirmative acts designed to conceal their fraudulent scheme, Allstate did not and

 could not have discovered that its damages were attributable to fraud until shortly

 before it filed this Complaint.

       868. In reliance on the defendants’ misrepresentations, Allstate paid money

 to the defendants to its detriment.

       869. Allstate would not have paid these monies had the defendants provided

 true and accurate information about the fact, lawfulness, and necessity of the

 referrals and medical services provided.




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           870. As a result, Allstate has paid in excess of $563,804 to the defendants in

 reasonable reliance on the false medical documentation and false representations

 regarding the defendants’ eligibility for payment under the Michigan No-Fault Act.

 XIII. MAIL AND WIRE FRAUD RACKETEERING ACTIVITY

           871. As discussed above, the referrals, treatment, and services billed by the

 defendants were not medically necessary, were unlawful, and were fraudulently

 billed.

           872. The objective of the scheme to defraud Allstate, which occurred

 throughout the period noted in Exhibits 1 through 12, was to collect No-Fault

 benefits to which the defendants were not entitled because the medical services

 rendered, if at all, were a product of unlawful solicitation, were not necessary and

 were not lawfully rendered, were fraudulently billed, and were billed at excessive

 and unreasonable amounts.

           873. This objective necessarily required the submission of claims for

 payment to Allstate.

           874. The defendants created, prepared, and submitted false medical

 documentation and placed in a post office and/or authorized depository for mail

 matter things to be sent and delivered by the United States Postal Service or sent

 through faxes over interstate wires.




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       875. All documents, medical records, notes, reports, HICFs, medical

 diagnoses, letters, correspondence, and requests for payment in connection with the

 insurance claims referenced throughout this pleading traveled through interstate

 wires or the U.S. Mail.

       876. All medical records and bills submitted through interstate wires by the

 defendants were faxed from the defendants in Michigan to Allstate in Georgia until

 November 2013 and thereafter were faxed to Allstate in Iowa.

       877. Allstate received all medical records and bills faxed to it by the

 defendants in Georgia until November 2013 and thereafter in Iowa.

       878. Every automobile insurance claim detailed herein involved at least one

 (1) use of the U.S. Mail, including the mailing of, among other things, the

 applications, notice of claim, insurance payments, benefits payment checks, and the

 return of the cancelled check drafts.

       879. It was foreseeable to the defendants that faxing bills and medical

 records to Allstate would trigger mailings in furtherance of the scheme to defraud,

 including actual payment of fraudulent bills via checks mailed by Allstate.

       880. Every payment at issue in this Complaint where Allstate was induced

 to rely on the defendants’ false medical records and bills was tendered via a check

 mailed by Allstate using the U.S. Mail.




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       881. The fraudulent medical billing scheme detailed herein generated

 thousands of mailings and faxes.

       882. A chart highlighting representative examples of mail and wire fraud

 arising from the defendants’ patient/business files is annexed hereto at Exhibit 19.

       883. As detailed herein, the defendants also submitted, caused to be

 submitted, or knew medical documentation and claims for payment would be

 submitted to Allstate via fax or mail related to each exemplar patient discussed in

 this Complaint.

       884. It was within the ordinary course of business for Kinetix, Level 1 PT &

 Rehab, Level 1 Health, Level 1 of Michigan, Michigan First, AMC, Select Medical,

 Northland Healthcare, Northland Chiropractic, Metro MRI, Motion Transportation,

 and Rent A Ride to submit claims for No-Fault payment to insurance carriers like

 Allstate through interstate wires and the U.S. Mail.

       885. Moreover, the business of providing medical services by each of the

 Defendant Entities at issue herein is regularly conducted by fraudulently seeking

 payment to which each defendant clinic is not entitled through the use of fraudulent

 communications sent via intestate wires and the U.S. Mail.

       886. In other words, discrete (claim- and patient-specific) instances of mail

 and wire fraud are a regular way of doing business for each of the defendants.




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       887. The Defendant Entities, at the direction and with the knowledge of their

 owners and managers (i.e., the individual defendants), continue to submit claims for

 payment to Allstate and, in some instances, continue to commence litigation against

 Allstate seeking to collect on unpaid claims.

       888. Thus, the defendants’ commission of mail and wire fraud continues.

       889. As all of the defendants named herein agreed that they would use (and,

 in fact, did use) the mails in furtherance of their scheme to defraud Allstate by

 seeking payment for services that are not compensable under the Michigan No-Fault

 Act, these defendants committed mail fraud, as defined in 18 U.S.C. § 1341.

       890. As several of the defendants named herein agreed that they would use

 (and, in fact, did use) faxes over interstate wires in furtherance of their scheme to

 defraud Allstate by seeking payment for services that are not compensable under the

 Michigan No-Fault Act, these defendants committed wire fraud, as defined in 18

 U.S.C. § 1343.

       891. Allstate reasonably relied on the submissions it received from Kinetix,

 Level 1 PT & Rehab, Level 1 Health, Level 1 of Michigan, Michigan First, AMC,

 Select Medical, Northland Healthcare, Northland Chiropractic, Metro MRI, Motion

 Transportation, and Rent A Ride, including the representative submissions set out in

 Exhibits 1 through 12 annexed hereto and identified in the exemplar claims above.




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       892. As the defendants agreed to pursue the same criminal objective

 (namely, mail and wire fraud), they committed a conspiracy within the meaning of

 the RICO Act, 18 U.S.C. § 1962(d), and are therefore jointly and severally liable for

 Allstate’s damages.

 XIV. DAMAGES

       893. The pattern of fraudulent conduct by the defendants injured Allstate in

 its business and property by reason of the aforesaid violations of law.

       894. Although it is not necessary for Allstate to calculate damages with

 specificity at this stage in the litigation, and Allstate’s damages continue to accrue,

 Allstate’s injury includes, but is not limited to, compensatory damages in excess of

 $563,804.

       895. Exhibits 20 through 30 annexed hereto and incorporated herein as if

 fully set forth in their entirety, identify monies paid by Allstate to and for the benefit

 of the defendants by date, payor, patient claim number, check number, and amount.

       896. Exhibit 20 (Kinetix), 21 (Level 1 PT & Rehab), 22 (Level 1 Health), 23

 (Level 1 of Michigan), 24 (AMC), 25 (Select Medical), 26 (Northland Healthcare),

 27 (Northland Chiropractic), 28 (Metro MRI), 29 (Motion Transportation), and 30

 (Rent A Ride), annexed hereto and incorporated herein as if fully set forth in their

 entirety, identify monies paid by Allstate to the defendants by date, payor, patient

 claim number, check number, and amount.


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       897. Allstate’s claim for compensatory damages, as set out in Exhibits 20

 through 30, does not include payment made with respect to any Assigned Claim

 Facility/Michigan Automobile Insurance Placement Facility claimant.

       898. Every payment identified in Exhibits 20 through 30 was made by

 Allstate alone and Allstate has not been reimbursed for any of the payments itemized

 in Exhibits 20 through 30.

       899. Moreover, every payment identified in Exhibits 20 through 30 derives

 from a check sent by Allstate to the defendants through the U.S. Mail.

       900. As such, the defendants knew that the U.S. Mail would be used as part

 of their scheme to defraud as the defendants only faxed and mailed medical records

 and bills for the purpose of having Allstate rely on such documents and mail payment

 in response thereto.

       901. Allstate also seeks damages, in an amount to be determined at trial,

 related to the cost of claims handling/adjustment for claims mailed and faxed by the

 defendants, which includes the cost of investigation to uncover the fraudulent nature

 of the claims submitted by the defendants.

       902. Allstate investigated each of the defendants both individually and in

 connection with the comprehensive scheme detailed herein and incurred

 investigative and claims handling expenses with respect to each defendant.




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 XV. CAUSES OF ACTION

                                  COUNT I
                     VIOLATION OF 18 U.S.C. § 1962(c)
                             (Kinetix Enterprise)
   Against Level 1 Physical Therapy & Rehab LLC, Level 1 Health Systems,
  LLC, Motion Transportation, Inc., Somerset Auto Body of MI, Inc., Lincoln
  International LLC / 1-800-PAIN-800, Norman Dehko, and Zahir Shah, P.T.

       903. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       904. Kinetix constitutes an enterprise, as defined in 18 U.S.C. § 1961(4),

 engaged in, and the activities of which affect, interstate commerce.

       905. In connection with each of the claims identified in the within

 Complaint, Level 1 PT & Rehab, Level 1 Health, Motion Transportation, Somerset

 Auto, 1-800-PAIN, Norman Dehko, and Shah (“Count I defendants”) intentionally

 caused to be prepared, faxed, and mailed false medical documentation by Kinetix,

 or knew that such false medical documentation would be faxed and mailed in the

 ordinary course of Kinetix’s business, or should have reasonably foreseen that the

 mailing of such false medical documentation by Kinetix would occur, in furtherance

 of the Count I defendants’ scheme to defraud.

       906. The Count I defendants knew that two (2) or more faxes and mailings

 would be sent to demand and receive payment from Allstate on certain dates,

 including, but not limited to, those mailings identified in the chart annexed hereto at

 Exhibit 19.
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        907. As documented above, the Count I defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for medical services that were purportedly performed by

 Kinetix, which they knew would be billed by Kinetix, in order to collect payment

 from Allstate under applicable provisions of the Michigan No-Fault Act.

        908. Shah owned and managed Kinetix and was responsible for all actions

 taken by Kinetix and its staff.

        909. Motion Transportation and Shah were responsible for transporting

 patients to Kinetix for unnecessary treatment, which allowed Kinetix to submit bills

 to Allstate.

        910. Somerset Auto, 1-800-PAIN, and Norman Dehko were responsible for

 the illegal solicitation of patients and improper referrals that resulted in unlawful and

 unnecessary treatment by Kinetix that was billed to Allstate.

        911. Level 1 PT & Rehab and Level 1 Health made and received patient

 referrals to and from Kinetix that allowed Kinetix to continue billing Allstate and

 falsely giving the appearance of injury.

        912. The Count I defendants submitted, or caused to be submitted, false and

 fraudulent medical records, bills, and invoices that created the appearance of injury

 and permitted Kinetix to continue providing unlawful and medically unnecessary

 treatment, if provided at all.


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       913. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued

 payment drafts to Kinetix for the benefit of the Count I defendants that would not

 otherwise have been paid.

       914. The Count I defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.

       915. By virtue of the Count I defendants’ violation of 18 U.S.C. § 1962(c),

 Allstate is entitled to recover from them three times the damages sustained by reason

 of the claims submitted, caused to be submitted, or known to be submitted by them,

 and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.

                                 COUNT II
                    VIOLATION OF 18 U.S.C. § 1962(d)
                             (Kinetix Enterprise)
   Against Level 1 Physical Therapy & Rehab LLC, Level 1 Health Systems,
  LLC, Motion Transportation, Inc., Somerset Auto Body of MI, Inc., Lincoln
  International LLC / 1-800-PAIN-800, Norman Dehko, and Zahir Shah, P.T.

       916. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       917. Defendants Level 1 PT & Rehab, Level 1 Health, Motion

 Transportation, Somerset Auto, 1-800-PAIN, Norman Dehko, and Shah (“Count II

 defendants”) conspired with each other to violate 18 U.S.C. § 1962(c) through the

 facilitation of the operation of Kinetix.
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       918. The Count II defendants each agreed to further, facilitate, support, and

 operate the Kinetix enterprise.

       919. As such, the Count II defendants conspired to violate 18 U.S.C. §

 1962(c).

       920. The purpose of the conspiracy was to obtain insurance payments from

 Allstate on behalf of Kinetix even though Kinetix was not eligible to collect such

 payments by virtue of its unlawful conduct.

       921. The Count II defendants were aware of this purpose and agreed to take

 steps to meet the conspiracy’s objectives, including the creation and submission to

 Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       922. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make insurance

 payments as a result of the Count II defendants’ unlawful conduct described herein.

       923. By virtue of this violation of 18 U.S.C. § 1962(d), the Count II

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count II defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.




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                                 COUNT III
                    VIOLATION OF 18 U.S.C. § 1962(c)
                     (Level 1 PT & Rehab Enterprise)
 Against Kinetix Rehab Services, Inc., Motion Transportation, Inc., and Zahir
                                  Shah, P.T.

       924. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       925. Level 1 PT & Rehab constitutes an enterprise, as defined in 18 U.S.C.

 § 1961(4), engaged in, and the activities of which affect, interstate commerce.

       926. In connection with each of the claims identified in the within

 Complaint, Kinetix, Motion Transportation, and Shah (“Count III defendants”)

 intentionally caused to be prepared, faxed, and mailed false medical documentation

 by Level 1 PT & Rehab, or knew that such false medical documentation would be

 faxed and mailed in the ordinary course of Level 1 PT & Rehab’s business, or should

 have reasonably foreseen that the mailing of such false medical documentation by

 Level 1 PT & Rehab would occur, in furtherance of the Count III defendants’ scheme

 to defraud.

       927. The Count III defendants knew that two (2) or more faxes and mailings

 would be sent to demand and receive payment from Allstate on certain dates,

 including, but not limited to, those mailings identified in the chart annexed hereto at

 Exhibit 19.




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        928. As documented above, the Count III defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for medical services that were purportedly performed by

 Level 1 PT & Rehab, which they knew would be billed by Level 1 PT & Rehab, in

 order to collect payment from Allstate under applicable provisions of the Michigan

 No-Fault Act.

        929. Shah owned and managed Level 1 PT & Rehab and was responsible for

 all actions taken by Level 1 PT & Rehab and its staff.

        930. Motion Transportation and Shah were responsible for transporting

 patients to Level 1 PT & Rehab for unnecessary physical therapy, which allowed it

 to bill Allstate.

        931. Kinetix made and received patient referrals to and from Level 1 PT &

 Rehab that allowed Level 1 PT & Rehab to continue billing Allstate and falsely

 giving the appearance of injury.

        932. The Count III defendants submitted, or caused to be submitted, false

 and fraudulent medical records, bills, and invoices that created the appearance of

 injury and permitted Level 1 PT & Rehab to continue providing unlawful and

 medically unnecessary treatment, if provided at all.

        933. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued


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 payment drafts to Level 1 PT & Rehab for the benefit of the Count III defendants

 that would not otherwise have been paid.

       934. The Count III defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.

       935. By virtue of the Count III defendants’ violation of 18 U.S.C. § 1962(c),

 Allstate is entitled to recover from them three times the damages sustained by reason

 of the claims submitted, caused to be submitted, or known to be submitted by them,

 and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.

                                 COUNT IV
                    VIOLATION OF 18 U.S.C. § 1962(d)
                     (Level 1 PT & Rehab Enterprise)
 Against Kinetix Rehab Services, Inc., Motion Transportation, Inc., and Zahir
                                  Shah, P.T.

       936. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       937. Defendants Kinetix, Motion Transportation, and Shah (“Count IV

 defendants”) conspired with each other to violate 18 U.S.C. § 1962(c) through the

 facilitation of the operation of Level 1 PT & Rehab.

       938. The Count IV defendants each agreed to further, facilitate, support, and

 operate the Level 1 PT & Rehab enterprise.




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       939. As such, the Count IV defendants conspired to violate 18 U.S.C. §

 1962(c).

       940. The purpose of the conspiracy was to obtain insurance payments from

 Allstate on behalf of Level 1 PT & Rehab even though Level 1 PT & Rehab was not

 eligible to collect such payments by virtue of its unlawful conduct.

       941. The Count IV defendants were aware of this purpose and agreed to take

 steps to meet the conspiracy’s objectives, including the creation and submission to

 Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       942. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make insurance

 payments as a result of the Count IV defendants’ unlawful conduct described herein.

       943. By virtue of this violation of 18 U.S.C. § 1962(d), the Count IV

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count IV defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.




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                                  COUNT V
                    VIOLATION OF 18 U.S.C. § 1962(c)
                         (Level 1 Health Enterprise)
  Against Kinetix Rehab Services, Inc., Northland Healthcare Services PLLC,
  Somerset Auto Body of MI, Inc., Lincoln International LLC / 1-800-PAIN-
      800, Norman Dehko, Zahir Shah, P.T., and Geoffrey Sagala, D.C.

       944. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       945. Level 1 Health constitutes an enterprise, as defined in 18 U.S.C.

 § 1961(4), engaged in, and the activities of which affect, interstate commerce.

       946. In connection with each of the claims identified in the within

 Complaint, Kinetix, Northland Healthcare, Somerset Auto, 1-800-PAIN, Norman

 Dehko, Shah, and Sagala (“Count V defendants”) intentionally caused to be

 prepared, faxed, and mailed false medical documentation by Level 1 Health, or knew

 that such false medical documentation would be faxed and mailed in the ordinary

 course of Level 1 Health’s business, or should have reasonably foreseen that the

 mailing of such false medical documentation by Level 1 Health would occur, in

 furtherance of the Count V defendants’ scheme to defraud.

       947. The Count V defendants knew that two (2) or more faxes and mailings

 would be sent to demand and receive payment from Allstate on certain dates,

 including, but not limited to, those mailings identified in the chart annexed hereto at

 Exhibit 19.



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        948. As documented above, the Count V defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for medical services that were purportedly performed by

 Level 1 Health, which they knew would be billed by Level 1 Health, in order to

 collect payment from Allstate under applicable provisions of the Michigan No-Fault

 Act.

        949. Norman Dehko controlled Level 1 Health and was responsible for all

 actions taken by Level 1 Health and its staff.

        950. Sagala signed medical records and bills on behalf of Level 1 Health for

 treatment that he allegedly performed on patients at issue herein.

        951. Somerset Auto, 1-800-PAIN, and Norman Dehko were responsible for

 the illegal solicitation of patients and improper referrals that resulted in unlawful

 treatment by Level 1 Health that was billed to Allstate.

        952. Kinetix, Northland Healthcare, Shah, and Sagala made and received

 patient referrals to and from Level 1 Health that allowed Level 1 Health to continue

 billing Allstate and falsely giving the appearance of injury.

        953. The Count V defendants submitted, or caused to be submitted, false and

 fraudulent medical records, bills, and invoices that created the appearance of injury

 and permitted Level 1 Health to continue providing unlawful and medically

 unnecessary treatment, if provided at all.


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       954. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued

 payment drafts to Level 1 Health for the benefit of the Count V defendants that

 would not otherwise have been paid.

       955. The Count V defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.

       956. By virtue of the Count V defendants’ violation of 18 U.S.C. § 1962(c),

 Allstate is entitled to recover from them three times the damages sustained by reason

 of the claims submitted, caused to be submitted, or known to be submitted by them,

 and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.

                                 COUNT VI
                    VIOLATION OF 18 U.S.C. § 1962(d)
                         (Level 1 Health Enterprise)
  Against Kinetix Rehab Services, Inc., Northland Healthcare Services PLLC,
  Somerset Auto Body of MI, Inc., Lincoln International LLC / 1-800-PAIN-
      800, Norman Dehko, Zahir Shah, P.T., and Geoffrey Sagala, D.C.

       957. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       958. Defendants Kinetix, Northland Healthcare, Somerset Auto, 1-800-

 PAIN, Norman Dehko, Shah, and Sagala (“Count VI defendants”) conspired with

 each other to violate 18 U.S.C. § 1962(c) through the facilitation of the operation of

 Level 1 Health.
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       959. The Count VI defendants each agreed to further, facilitate, support, and

 operate the Level 1 Health enterprise.

       960. As such, the Count VI defendants conspired to violate 18 U.S.C. §

 1962(c).

       961. The purpose of the conspiracy was to obtain insurance payments from

 Allstate on behalf of Level 1 Health even though Level 1 Health was not eligible to

 collect such payments by virtue of its unlawful conduct.

       962. The Count VI defendants were aware of this purpose and agreed to take

 steps to meet the conspiracy’s objectives, including the creation and submission to

 Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       963. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make insurance

 payments as a result of the Count VI defendants’ unlawful conduct described herein.

       964. By virtue of this violation of 18 U.S.C. § 1962(d), the Count VI

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count VI defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.




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                                 COUNT VII
                     VIOLATION OF 18 U.S.C. § 1962(c)
                       (Level 1 of Michigan Enterprise)
  Against Greenfield and 9 Mile Medical Center PLLC, Select Medical Group
   of Michigan PLLC, Northland Healthcare Services PLLC, Rent A Ride of
  Detroit, Somerset Auto Body of MI, Inc., Lincoln International LLC / 1-800-
   PAIN-800, Norman Dehko, Sabah Dehko, Najm-Ul Hassan, and Geoffrey
                                 Sagala, D.C.

       965. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       966. Level 1 of Michigan constitutes an enterprise, as defined in 18 U.S.C.

 § 1961(4), engaged in, and the activities of which affect, interstate commerce.

       967. In connection with each of the claims identified in the within

 Complaint, AMC, Select Medical, Northland Healthcare, Rent A Ride, Somerset

 Auto, 1-800-PAIN, Norman Dehko, Sabah Dehko, Hassan, and Sagala (“Count VII

 defendants”) intentionally caused to be prepared, faxed, and mailed false medical

 documentation by Level 1 of Michigan, or knew that such false medical

 documentation would be faxed and mailed in the ordinary course of Level 1 of

 Michigan’s business, or should have reasonably foreseen that the mailing of such

 false medical documentation by Level 1 of Michigan would occur, in furtherance of

 the Count VII defendants’ scheme to defraud.

       968. The Count VII defendants knew that two (2) or more faxes and mailings

 would be sent to demand and receive payment from Allstate on certain dates,



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 including, but not limited to, those mailings identified in the chart annexed hereto at

 Exhibit 19.

       969. As documented above, the Count VII defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for medical services that were purportedly performed by

 Level 1 of Michigan, which they knew would be billed by Level 1 of Michigan, in

 order to collect payment from Allstate under applicable provisions of the Michigan

 No-Fault Act.

       970. Norman Dehko and Sabah Dehko controlled Level 1 of Michigan and

 were responsible for all actions taken by Level 1 of Michigan and its staff.

       971. AMC, Select Medical, Northland Healthcare, Hassan, and Sagala were

 responsible for the prescriptions, diagnoses, and referrals that allowed Level 1 of

 Michigan to submit bills to Allstate for medically unnecessary treatment.

       972. Somerset Auto, 1-800-PAIN, and Norman Dehko were responsible for

 the illegal solicitation of patients and improper referrals that resulted in unlawful

 treatment by Level 1 of Michigan billed to Allstate.

       973. Rent A Ride and Norman Dehko were responsible for transporting

 patients to Level 1 of Michigan for unnecessary physical therapy, which allowed

 Level 1 of Michigan to submit bills to Allstate.




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       974. The Count VII defendants submitted, or caused to be submitted, false

 and fraudulent medical records, bills, and invoices that created the appearance of

 injury and permitted Level 1 of Michigan to continue providing unlawful and

 medically unnecessary treatment, if provided at all.

       975. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued

 payment drafts to Level 1 of Michigan for the benefit of the Count VII defendants

 that would not otherwise have been paid.

       976. The Count VII defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.

       977. By virtue of the Count VII defendants’ violation of 18 U.S.C. § 1962(c),

 Allstate is entitled to recover from them three times the damages sustained by reason

 of the claims submitted, caused to be submitted, or known to be submitted by them,

 and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.




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                                 COUNT VIII
                     VIOLATION OF 18 U.S.C. § 1962(d)
                       (Level 1 of Michigan Enterprise)
  Against Greenfield and 9 Mile Medical Center PLLC, Select Medical Group
   of Michigan PLLC, Northland Healthcare Services PLLC, Rent A Ride of
  Detroit, Somerset Auto Body of MI, Inc., Lincoln International LLC / 1-800-
   PAIN-800, Norman Dehko, Sabah Dehko, Najm-Ul Hassan, and Geoffrey
                                 Sagala, D.C.

       978. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       979. Defendants AMC, Select Medical, Northland Healthcare, Rent A Ride,

 Somerset Auto, 1-800-PAIN, Norman Dehko, Sabah Dehko, Hassan, and Sagala

 (“Count VIII defendants”) conspired with each other to violate 18 U.S.C. § 1962(c)

 through the facilitation of the operation of Level 1 of Michigan.

       980. The Count VIII defendants each agreed to further, facilitate, support,

 and operate the Level 1 of Michigan enterprise.

       981. As such, the Count VIII defendants conspired to violate 18 U.S.C. §

 1962(c).

       982. The purpose of the conspiracy was to obtain insurance payments from

 Allstate on behalf of Level 1 of Michigan even though Level 1 of Michigan was not

 eligible to collect such payments by virtue of its unlawful conduct.

       983. The Count VIII defendants were aware of this purpose and agreed to

 take steps to meet the conspiracy’s objectives, including the creation and submission



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 to Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       984. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make insurance

 payments as a result of the Count VIII defendants’ unlawful conduct described

 herein.

       985. By virtue of this violation of 18 U.S.C. § 1962(d), the Count VIII

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count VIII defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.

                                COUNT IX
                    VIOLATION OF 18 U.S.C. § 1962(c)
                        (Michigan First Enterprise)
 Against Greenfield and 9 Mile Medical Center PLLC, Select Medical Group
  of Michigan PLLC, Somerset Auto Body of MI, Inc., Lincoln International
 LLC / 1-800-PAIN-800, Norman Dehko, Jordan Dehko, Najm-Ul Hassan, and
                           Geoffrey Sagala, D.C.

       986. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       987. Michigan First constitutes an enterprise, as defined in 18 U.S.C.

 § 1961(4), engaged in, and the activities of which affect, interstate commerce.




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        988. In connection with each of the claims identified in the within

 Complaint, AMC, Select Medical, Somerset Auto, 1-800-PAIN, Norman Dehko,

 Jordan Dehko, Hassan, and Sagala (“Count IX defendants”) intentionally caused to

 be prepared, faxed, and mailed false medical documentation by Michigan First, or

 knew that such false medical documentation would be faxed and mailed in the

 ordinary course of Michigan First’s business, or should have reasonably foreseen

 that the mailing of such false medical documentation by Michigan First would occur,

 in furtherance of the Count IX defendants’ scheme to defraud.

        989. The Count IX defendants knew that two (2) or more faxes and mailings

 would be sent to demand and receive payment from Allstate on certain dates,

 including, but not limited to, those mailings identified in the chart annexed hereto at

 Exhibit 19.

        990. As documented above, the Count IX defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for medical services that were purportedly performed by

 Michigan First, which they knew would be billed by Michigan First, in order to

 collect payment from Allstate under applicable provisions of the Michigan No-Fault

 Act.

        991. Jordan Dehko and Norman Dehko controlled Michigan First and were

 responsible for all actions taken by Michigan First and its staff.


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       992. AMC, Select Medical, Sagala, and Hassan were responsible for the

 medically unnecessary physical therapy prescriptions that allowed Michigan First to

 submit bills to Allstate.

       993. Somerset Auto, 1-800-PAIN, and Norman Dehko were responsible for

 the illegal solicitation of patients and improper referrals that resulted in unlawful

 treatment by Michigan First that was billed to Allstate.

       994. The Count IX defendants submitted, or caused to be submitted, false

 and fraudulent medical records, bills, and invoices that created the appearance of

 injury and permitted Michigan First to continue providing unlawful and medically

 unnecessary treatment, if provided at all.

       995. The Count IX defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.

       996. By virtue of the Count IX defendants’ violation of 18 U.S.C. § 1962(c),

 Allstate is entitled to recover from them three times the damages sustained by reason

 of the claims submitted, caused to be submitted, or known to be submitted by them,

 and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.




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                                COUNT X
                    VIOLATION OF 18 U.S.C. § 1962(d)
                        (Michigan First Enterprise)
 Against Greenfield and 9 Mile Medical Center PLLC, Select Medical Group
  of Michigan PLLC, Somerset Auto Body of MI, Inc., Lincoln International
 LLC / 1-800-PAIN-800, Norman Dehko, Jordan Dehko, Najm-Ul Hassan, and
                           Geoffrey Sagala, D.C.

       997. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       998. Defendants AMC, Select Medical, Somerset Auto, 1-800-PAIN,

 Norman Dehko, Jordan Dehko, Hassan, and Sagala (“Count X defendants”)

 conspired with each other to violate 18 U.S.C. § 1962(c) through the facilitation of

 the operation of Michigan First.

       999. The Count X defendants each agreed to further, facilitate, support, and

 operate the Michigan First enterprise.

       1000. As such, the Count X defendants conspired to violate 18 U.S.C. §

 1962(c).

       1001. The purpose of the conspiracy was to obtain insurance payments from

 Allstate on behalf of Michigan First even though Michigan First was not eligible to

 collect such payments by virtue of its unlawful conduct.

       1002. The Count X defendants were aware of this purpose and agreed to take

 steps to meet the conspiracy’s objectives, including the creation and submission to




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 Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       1003. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has expended costs in investigating and

 adjusting the fraudulent claims caused to be submitted by the Count X defendants.

       1004. By virtue of this violation of 18 U.S.C. § 1962(d), the Count X

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count X defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.

                                 COUNT XI
                    VIOLATION OF 18 U.S.C. § 1962(c)
                              (AMC Enterprise)
   Against Level 1 Health Systems of Michigan, LLC, Michigan First Rehab,
   LLC, Mobile MRI Staffing, LLC, Somerset Auto Body of MI, Inc., Lincoln
  International LLC / 1-800-PAIN-800, Norman Dehko, Sabah Dehko, Jordan
                         Dehko, and Najm-Ul Hassan

       1005. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1006. AMC constitutes an enterprise, as defined in 18 U.S.C. § 1961(4),

 engaged in, and the activities of which affect, interstate commerce.

       1007. In connection with each of the claims identified in the within

 Complaint, Level 1 of Michigan, Michigan First, Metro MRI, Somerset Auto, 1-


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 800-PAIN, Norman Dehko, Sabah Dehko, Jordan Dehko, and Hassan (“Count XI

 defendants”) intentionally caused to be prepared, faxed, and mailed false medical

 documentation by AMC, or knew that such false medical documentation would be

 faxed and mailed in the ordinary course of AMC’s business, or should have

 reasonably foreseen that the mailing of such false medical documentation by AMC

 would occur, in furtherance of the Count XI defendants’ scheme to defraud.

       1008. The Count XI defendants knew that two (2) or more faxes and mailings

 would be sent to demand and receive payment from Allstate on certain dates,

 including, but not limited to, those mailings identified in the chart annexed hereto at

 Exhibit 19.

       1009. As documented above, the Count XI defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for medical services that were purportedly performed by

 AMC, which they knew would be billed by AMC, in order to collect payment from

 Allstate under applicable provisions of the Michigan No-Fault Act.

       1010. Hassan controlled AMC and was responsible for all actions taken by

 AMC and its staff.

       1011. Level 1 of Michigan, Michigan First, Metro MRI, Sabah Dehko, and

 Jordan Dehko billed Allstate for medically unnecessary treatment, testing, and

 services ordered and prescribed by AMC, which were used to create the appearance


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 that AMC was performing lawful and necessary treatment to the patients at issue

 herein and the false appearance that patients needed treatment.

       1012. Somerset Auto, 1-800-PAIN, and Norman Dehko were responsible for

 the illegal solicitation of patients and improper referrals that resulted in unlawful

 treatment by AMC that was billed to Allstate.

       1013. The Count XI defendants submitted, or caused to be submitted, false

 and fraudulent medical records, bills, and invoices that created the appearance of

 injury and permitted AMC to continue providing unlawful and medically

 unnecessary treatment, if provided at all.

       1014. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued

 payment drafts to AMC for the benefit of the Count XI defendants that would not

 otherwise have been paid.

       1015. The Count XI defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.

       1016. By virtue of the Count XI defendants’ violation of 18 U.S.C. § 1962(c),

 Allstate is entitled to recover from them three times the damages sustained by reason

 of the claims submitted, caused to be submitted, or known to be submitted by them,

 and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.


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                                COUNT XII
                    VIOLATION OF 18 U.S.C. § 1962(d)
                              (AMC Enterprise)
   Against Level 1 Health Systems of Michigan, LLC, Michigan First Rehab,
   LLC, Mobile MRI Staffing, LLC, Somerset Auto Body of MI, Inc., Lincoln
  International LLC / 1-800-PAIN-800, Norman Dehko, Sabah Dehko, Jordan
                         Dehko, and Najm-Ul Hassan

       1017. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1018. Defendants Level 1 of Michigan, Michigan First, Metro MRI, Somerset

 Auto, 1-800-PAIN, Norman Dehko, Sabah Dehko, Jordan Dehko, and Hassan

 (“Count XII defendants”) conspired with each other to violate 18 U.S.C. § 1962(c)

 through the facilitation of the operation of AMC.

       1019. The Count XII defendants each agreed to further, facilitate, support,

 and operate the AMC enterprise.

       1020. As such, the Count XII defendants conspired to violate 18 U.S.C. §

 1962(c).

       1021. The purpose of the conspiracy was to obtain insurance payments from

 Allstate on behalf of AMC even though AMC was not eligible to collect such

 payments by virtue of its unlawful conduct.

       1022. The Count XII defendants were aware of this purpose and agreed to

 take steps to meet the conspiracy’s objectives, including the creation and submission




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 to Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       1023. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make insurance

 payments as a result of the Count XII defendants’ unlawful conduct described

 herein.

       1024. By virtue of this violation of 18 U.S.C. § 1962(d), the Count XII

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count XII defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.

                                 COUNT XIII
                    VIOLATION OF 18 U.S.C. § 1962(c)
                          (Select Medical Enterprise)
   Against Level 1 Health Systems of Michigan, LLC, Michigan First Rehab,
   LLC, Mobile MRI Staffing, LLC, Somerset Auto Body of MI, Inc., Lincoln
  International LLC / 1-800-PAIN-800, Norman Dehko, Sabah Dehko, Jordan
                       Dehko, and Geoffrey Sagala, D.C.

       1025. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1026. Select Medical constitutes an enterprise, as defined in 18 U.S.C.

 § 1961(4), engaged in, and the activities of which affect, interstate commerce.




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        1027. In connection with each of the claims identified in the within

 Complaint, Level 1 of Michigan, Michigan First, Metro MRI, Somerset Auto, 1-

 800-PAIN, Norman Dehko, Sabah Dehko, Jordan Dehko, and Sagala (“Count XIII

 defendants”) intentionally caused to be prepared, faxed, and mailed false medical

 documentation by Select Medical, or knew that such false medical documentation

 would be faxed and mailed in the ordinary course of Select Medical’s business, or

 should have reasonably foreseen that the mailing of such false medical

 documentation by Select Medical would occur, in furtherance of the Count XIII

 defendants’ scheme to defraud.

        1028. The Count XIII defendants knew that two (2) or more faxes and

 mailings would be sent to demand and receive payment from Allstate on certain

 dates, including, but not limited to, those mailings identified in the chart annexed

 hereto at Exhibit 19.

        1029. As documented above, the Count XIII defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for medical services that were purportedly performed by

 Select Medical, which they knew would be billed by Select Medical, in order to

 collect payment from Allstate under applicable provisions of the Michigan No-Fault

 Act.




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       1030. Sagala controlled Select Medical and was responsible for all actions

 taken by Select Medical and its staff.

       1031. Level 1 of Michigan, Michigan First, Metro MRI, Sabah Dehko, and

 Jordan Dehko billed Allstate for medically unnecessary treatment, testing, and

 services prescribed by Select Medical, which were used to create the appearance that

 Select Medical was performing lawful and necessary treatment to the patients at

 issue herein and the false appearance that patients needed treatment.

       1032. Somerset Auto, 1-800-PAIN, and Norman Dehko were responsible for

 the illegal solicitation of patients and improper referrals that resulted in unlawful

 treatment by Select Medical that was billed to Allstate.

       1033. The Count XIII defendants submitted, or caused to be submitted, false

 and fraudulent medical records, bills, and invoices that created the appearance of

 injury and permitted Select Medical to continue providing unlawful and medically

 unnecessary treatment, if provided at all.

       1034. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued

 payment drafts to Select Medical for the benefit of the Count XIII defendants that

 would not otherwise have been paid.

       1035. The Count XIII defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.


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       1036. By virtue of the Count XIII defendants’ violation of 18 U.S.C. §

 1962(c), Allstate is entitled to recover from them three times the damages sustained

 by reason of the claims submitted, caused to be submitted, or known to be submitted

 by them, and others acting in concert with them, together with the costs of suit,

 including reasonable attorney’s fees.

                                  COUNT XIV
                    VIOLATION OF 18 U.S.C. § 1962(c)
                          (Select Medical Enterprise)
   Against Level 1 Health Systems of Michigan, LLC, Michigan First Rehab,
   LLC, Mobile MRI Staffing, LLC, Somerset Auto Body of MI, Inc., Lincoln
  International LLC / 1-800-PAIN-800, Norman Dehko, Sabah Dehko, Jordan
                       Dehko, and Geoffrey Sagala, D.C.

       1037. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1038. Defendants Level 1 of Michigan, Michigan First, Metro MRI, Somerset

 Auto, 1-800-PAIN, Norman Dehko, Sabah Dehko, Jordan Dehko, and Sagala

 (“Count XIV defendants”) conspired with each other to violate 18 U.S.C. § 1962(c)

 through the facilitation of the operation of Select Medical.

       1039. The Count XIV defendants each agreed to further, facilitate, support,

 and operate the Select Medical enterprise.

       1040. As such, the Count XIV defendants conspired to violate 18 U.S.C. §

 1962(c).




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       1041. The purpose of the conspiracy was to obtain insurance payments from

 Allstate on behalf of Select Medical even though Select Medical was not eligible to

 collect such payments by virtue of its unlawful conduct.

       1042. The Count XIV defendants were aware of this purpose and agreed to

 take steps to meet the conspiracy’s objectives, including the creation and submission

 to Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       1043. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make insurance

 payments as a result of the Count XIV defendants’ unlawful conduct described

 herein.

       1044. By virtue of this violation of 18 U.S.C. § 1962(d), the Count XIV

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count XIV defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.




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                                COUNT XV
                    VIOLATION OF 18 U.S.C. § 1962(c)
                      (Northland Healthcare Enterprise)
  Against Level 1 Health Systems of Michigan, LLC, Northland Chiropractic
  Centre P.C., Somerset Auto Body of MI, Inc., Lincoln International LLC / 1-
   800-PAIN-800, Norman Dehko, Sabah Dehko, and Geoffrey Sagala, D.C.

       1045. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1046. Northland Healthcare constitutes an enterprise, as defined in 18 U.S.C.

 § 1961(4), engaged in, and the activities of which affect, interstate commerce.

       1047. In connection with each of the claims identified in the within

 Complaint, Level 1 of Michigan, Northland Chiropractic, Somerset Auto, 1-800-

 PAIN, Norman Dehko, Sabah Dehko, and Sagala (“Count XV defendants”)

 intentionally caused to be prepared, faxed, and mailed false medical documentation

 by Northland Healthcare, or knew that such false medical documentation would be

 faxed and mailed in the ordinary course of Northland Healthcare’s business, or

 should have reasonably foreseen that the mailing of such false medical

 documentation by Northland Healthcare would occur, in furtherance of the Count

 XV defendants’ scheme to defraud.

       1048. The Count XV defendants knew that two (2) or more faxes and mailings

 would be sent to demand and receive payment from Allstate on certain dates,

 including, but not limited to, those mailings identified in the chart annexed hereto at

 Exhibit 19.
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       1049. As documented above, the Count XV defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for medical services that were purportedly performed by

 Northland Healthcare, which they knew would be billed by Northland Healthcare,

 in order to collect payment from Allstate under applicable provisions of the

 Michigan No-Fault Act.

       1050. Sagala controlled Northland Healthcare and was responsible for all

 actions taken by Northland Healthcare and its staff.

       1051. Somerset Auto, 1-800-PAIN, and Norman Dehko were responsible for

 the illegal solicitation of patients and improper referrals that resulted in unlawful

 treatment by Northland Healthcare that was billed to Allstate.

       1052. Level 1 of Michigan and Sabah Dehko made and received patient

 referrals to and from Northland Healthcare that allowed Northland Healthcare to

 continue billing Allstate and falsely giving the appearance of injury.

       1053. The Count XV defendants submitted, or caused to be submitted, false

 and fraudulent medical records, bills, and invoices that created the appearance of

 injury and permitted Northland Healthcare to continue providing unlawful and

 medically unnecessary treatment, if provided at all.

       1054. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued


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 payment drafts to Northland Healthcare for the benefit of the Count XV defendants

 that would not otherwise have been paid.

       1055. The Count XV defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.

       1056. By virtue of the Count XV defendants’ violation of 18 U.S.C. §

 1962(c), Allstate is entitled to recover from them three times the damages sustained

 by reason of the claims submitted, caused to be submitted, or known to be submitted

 by them, and others acting in concert with them, together with the costs of suit,

 including reasonable attorney’s fees.

                                COUNT XVI
                    VIOLATION OF 18 U.S.C. § 1962(d)
                      (Northland Healthcare Enterprise)
  Against Level 1 Health Systems of Michigan, LLC, Northland Chiropractic
  Centre P.C., Somerset Auto Body of MI, Inc., Lincoln International LLC / 1-
   800-PAIN-800, Norman Dehko, Sabah Dehko, and Geoffrey Sagala, D.C.

       1057. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1058. Defendants Level 1 of Michigan, Northland Chiropractic, Somerset

 Auto, 1-800-PAIN, Norman Dehko, Sabah Dehko, and Sagala (“Count XVI

 defendants”) conspired with each other to violate 18 U.S.C. § 1962(c) through the

 facilitation of the operation of Northland Healthcare.

       1059. The Count XVI defendants each agreed to further, facilitate, support,

 and operate the Northland Healthcare enterprise.
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       1060. As such, the Count XVI defendants conspired to violate 18 U.S.C. §

 1962(c).

       1061. The purpose of the conspiracy was to obtain insurance payments from

 Allstate on behalf of Northland Healthcare even though Northland Healthcare was

 not eligible to collect such payments by virtue of its unlawful conduct.

       1062. The Count XVI defendants were aware of this purpose and agreed to

 take steps to meet the conspiracy’s objectives, including the creation and submission

 to Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       1063. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make insurance

 payments as a result of the Count XVI defendants’ unlawful conduct described

 herein.

       1064. By virtue of this violation of 18 U.S.C. § 1962(d), the Count XVI

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count XVI defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.




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                               COUNT XVII
                    VIOLATION OF 18 U.S.C. § 1962(c)
                    (Northland Chiropractic Enterprise)
    Against Northland Healthcare Services PLLC and Geoffrey Sagala, D.C.

       1065. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1066. Northland Chiropractic constitutes an enterprise, as defined in 18

 U.S.C. § 1961(4), engaged in, and the activities of which affect, interstate

 commerce.

       1067. In connection with each of the claims identified in the within

 Complaint, Northland Healthcare and Sagala (“Count XVII defendants”)

 intentionally caused to be prepared, faxed, and mailed false medical documentation

 by Northland Chiropractic, or knew that such false medical documentation would be

 faxed and mailed in the ordinary course of Northland Chiropractic’s business, or

 should have reasonably foreseen that the mailing of such false medical

 documentation by Northland Chiropractic would occur, in furtherance of the Count

 XVII defendants’ scheme to defraud.

       1068. The Count XVII defendants knew that two (2) or more faxes and

 mailings would be sent to demand and receive payment from Allstate on certain

 dates, including, but not limited to, those mailings identified in the chart annexed

 hereto at Exhibit 19.



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       1069. As documented above, the Count XVII defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for medical services that were purportedly performed by

 Northland Chiropractic, which they knew would be billed by Northland

 Chiropractic, in order to collect payment from Allstate under applicable provisions

 of the Michigan No-Fault Act.

       1070. Sagala controlled Northland Chiropractic and was responsible for all

 actions taken by Northland Chiropractic and its staff.

       1071. Northland Healthcare made and received patient referrals to and from

 Northland Chiropractic that allowed Northland Chiropractic to continue billing

 Allstate and falsely giving the appearance of injury.

       1072. The Count XVII defendants submitted, or caused to be submitted, false

 and fraudulent medical records, bills, and invoices that created the appearance of

 injury and permitted Northland Chiropractic to continue providing unlawful and

 medically unnecessary treatment, if provided at all.

       1073. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued

 payment drafts to Northland Chiropractic for the benefit of the Count XVII

 defendants that would not otherwise have been paid.




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       1074. The Count XVII defendants’ conduct in violation of 18 U.S.C. §

 1962(c) was the direct and proximate cause of Allstate’s injury.

       1075. By virtue of the Count XVII defendants’ violation of 18 U.S.C. §

 1962(c), Allstate is entitled to recover from them three times the damages sustained

 by reason of the claims submitted, caused to be submitted, or known to be submitted

 by them, and others acting in concert with them, together with the costs of suit,

 including reasonable attorney’s fees.

                              COUNT XVIII
                    VIOLATION OF 18 U.S.C. § 1962(d)
                    (Northland Chiropractic Enterprise)
    Against Northland Healthcare Services PLLC and Geoffrey Sagala, D.C.

       1076. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1077. Defendants Northland Healthcare and Sagala (“Count XVIII

 defendants”) conspired with each other to violate 18 U.S.C. § 1962(c) through the

 facilitation of the operation of Northland Chiropractic.

       1078. The Count XVIII defendants each agreed to further, facilitate, support,

 and operate the Northland Chiropractic enterprise.

       1079. As such, the Count XVIII defendants conspired to violate 18 U.S.C. §

 1962(c).




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         1080. The purpose of the conspiracy was to obtain insurance payments from

 Allstate on behalf of Northland Chiropractic even though Northland Chiropractic

 was not eligible to collect such payments by virtue of its unlawful conduct.

         1081. The Count XVIII defendants were aware of this purpose and agreed to

 take steps to meet the conspiracy’s objectives, including the creation and submission

 to Allstate of insurance claim and medical record documents containing material

 misrepresentations.

         1082. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make insurance

 payments as a result of the Count XVIII defendants’ unlawful conduct described

 herein.

         1083. By virtue of this violation of 18 U.S.C. § 1962(d), the Count XVIII

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count XVIII defendants, and others acting in

 concert with them, together with the costs of suit, including reasonable attorney’s

 fees.




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                                 COUNT XIX
                      VIOLATION OF 18 U.S.C. § 1962(c)
                            (Metro MRI Enterprise)
  Against Greenfield and 9 Mile Medical Center PLLC, Select Medical Group
   of Michigan PLLC, Rent A Ride of Michigan, Somerset Auto Body of MI,
  Inc., Lincoln International LLC / 1-800-PAIN-800, Norman Dehko, Najm-Ul
                       Hassan, and Geoffrey Sagala, D.C.

       1084. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1085. Metro MRI constitutes an enterprise, as defined in 18 U.S.C. § 1961(4),

 engaged in, and the activities of which affect, interstate commerce.

       1086. In connection with each of the claims identified in the within

 Complaint, AMC, Select Medical, Rent A Ride, Somerset Auto, 1-800-PAIN,

 Norman Dehko, Hassan, and Sagala (“Count XIX defendants”) intentionally caused

 to be prepared, faxed, and mailed false medical documentation by Metro MRI, or

 knew that such false medical documentation would be faxed and mailed in the

 ordinary course of Metro MRI’s business, or should have reasonably foreseen that

 the mailing of such false medical documentation by Metro MRI would occur, in

 furtherance of the Count XIX defendants’ scheme to defraud.

       1087. The Count XIX defendants knew that two (2) or more faxes and

 mailings would be sent to demand and receive payment from Allstate on certain

 dates, including, but not limited to, those mailings identified in the chart annexed

 hereto at Exhibit 19.


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       1088. As documented above, the Count XIX defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for medical services that were purportedly performed by

 Metro MRI, which they knew would be billed by Metro MRI, in order to collect

 payment from Allstate under applicable provisions of the Michigan No-Fault Act.

       1089. Somerset Auto, 1-800-PAIN, and Norman Dehko were responsible for

 the illegal solicitation of patients and improper referrals that resulted in unlawful

 imaging by Metro MRI that was billed to Allstate.

       1090. AMC, Select Medical, Hassan, and Sagala were responsible for the

 MRI prescriptions that allowed Metro MRI to submit bills to Allstate for medically

 unnecessary imaging.

       1091. Rent A Ride and Norman Dehko were responsible for transporting

 patients to Metro MRI for unnecessary imaging.

       1092. The Count XIX defendants submitted, or caused to be submitted, false

 and fraudulent medical records, bills, and invoices that created the appearance of

 injury and permitted Metro MRI to continue providing unlawful and medically

 unnecessary treatment, if provided at all.

       1093. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued




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 payment drafts to Metro MRI for the benefit of the Count XIX defendants that would

 not otherwise have been paid.

       1094. The Count XIX defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.

       1095. By virtue of the Count XIX defendants’ violation of 18 U.S.C. §

 1962(c), Allstate is entitled to recover from them three times the damages sustained

 by reason of the claims submitted, caused to be submitted, or known to be submitted

 by them, and others acting in concert with them, together with the costs of suit,

 including reasonable attorney’s fees.

                                 COUNT XX
                      VIOLATION OF 18 U.S.C. § 1962(d)
                            (Metro MRI Enterprise)
  Against Greenfield and 9 Mile Medical Center PLLC, Select Medical Group
   of Michigan PLLC, Rent A Ride of Michigan, Somerset Auto Body of MI,
  Inc., Lincoln International LLC / 1-800-PAIN-800, Norman Dehko, Najm-Ul
                       Hassan, and Geoffrey Sagala, D.C.

       1096. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1097. Defendants AMC, Select Medical, Rent A Ride, Somerset Auto, 1-800-

 PAIN, Norman Dehko, Hassan, and Sagala (“Count XX defendants”) conspired with

 each other to violate 18 U.S.C. § 1962(c) through the facilitation of the operation of

 Metro MRI.




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       1098. The Count XX defendants each agreed to further, facilitate, support,

 and operate the Metro MRI enterprise.

       1099. As such, the Count XX defendants conspired to violate 18 U.S.C. §

 1962(c).

       1100. The purpose of the conspiracy was to obtain insurance payments from

 Allstate on behalf of Metro MRI even though Metro MRI was not eligible to collect

 such payments by virtue of its unlawful conduct.

       1101. The Count XX defendants were aware of this purpose and agreed to

 take steps to meet the conspiracy’s objectives, including the creation and submission

 to Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       1102. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make insurance

 payments as a result of the Count XX defendants’ unlawful conduct described

 herein.

       1103. By virtue of this violation of 18 U.S.C. § 1962(d), the Count XX

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count XX defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.


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                                COUNT XXI
                     VIOLATION OF 18 U.S.C. § 1962(c)
                     (Motion Transportation Enterprise)
    Against Kinetix Rehab Services, Inc., Level 1 Physical Therapy & Rehab
                         LLC, and Zahir Shah, P.T.

       1104. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1105. Motion Transportation constitutes an enterprise, as defined in 18 U.S.C.

 § 1961(4), engaged in, and the activities of which affect, interstate commerce.

       1106. In connection with each of the claims identified in the within

 Complaint, Kinetix, Level 1 PT & Rehab, and Shah (“Count XXI defendants”)

 intentionally caused to be prepared, faxed, and mailed false medical documentation

 by Motion Transportation, or knew that such false medical documentation would be

 faxed and mailed in the ordinary course of Motion Transportation’s business, or

 should have reasonably foreseen that the mailing of such false medical

 documentation by Motion Transportation would occur, in furtherance of the Count

 XXI defendants’ scheme to defraud.

       1107. The Count XXI defendants knew that two (2) or more faxes and

 mailings would be sent to demand and receive payment from Allstate on certain

 dates, including, but not limited to, those mailings identified in the chart annexed

 hereto at Exhibit 19.




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       1108. As documented above, the Count XXI defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for transportation services that were purportedly performed

 by Motion Transportation, which they knew would be billed by Motion

 Transportation, in order to collect payment from Allstate under applicable provisions

 of the Michigan No-Fault Act.

       1109. Shah controlled Motion Transportation and was responsible for all

 actions taken by Motion Transportation and its staff.

       1110. Kinetix and Level 1 PT & Rehab billed for medically unnecessary

 treatment for patients transported by Motion Transportation that allowed Motion

 Transportation to submit bills to Allstate for medically unnecessary transportation.

       1111. The Count XXI defendants submitted, or caused to be submitted, false

 and fraudulent medical records, bills, and invoices that created the appearance of

 injury and permitted Motion Transportation to continue providing unlawful and

 medically unnecessary transportation services, if provided at all.

       1112. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued

 payment drafts to Motion Transportation for the benefit of the Count XXI defendants

 that would not otherwise have been paid.




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       1113. The Count XXI defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.

       1114. By virtue of the Count XXI defendants’ violation of 18 U.S.C. §

 1962(c), Allstate is entitled to recover from them three times the damages sustained

 by reason of the claims submitted, caused to be submitted, or known to be submitted

 by them, and others acting in concert with them, together with the costs of suit,

 including reasonable attorney’s fees.

                                COUNT XXII
                     VIOLATION OF 18 U.S.C. § 1962(d)
                     (Motion Transportation Enterprise)
    Against Kinetix Rehab Services, Inc., Level 1 Physical Therapy & Rehab
                         LLC, and Zahir Shah, P.T.

       1115. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1116. Defendants Kinetix, Level 1 PT & Rehab, and Shah (“Count XXII

 defendants”) conspired with each other to violate 18 U.S.C. § 1962(c) through the

 facilitation of the operation of Motion Transportation.

       1117. The Count XXII defendants each agreed to further, facilitate, support,

 and operate the Motion Transportation enterprise.

       1118. As such, the Count XXII defendants conspired to violate 18 U.S.C. §

 1962(c).




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       1119. The purpose of the conspiracy was to obtain insurance payments from

 Allstate on behalf of Motion Transportation even though Motion Transportation was

 not eligible to collect such payments by virtue of its unlawful conduct.

       1120. The Count XXII defendants were aware of this purpose and agreed to

 take steps to meet the conspiracy’s objectives, including the creation and submission

 to Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       1121. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make insurance

 payments as a result of the Count XXII defendants’ unlawful conduct described

 herein.

       1122. By virtue of this violation of 18 U.S.C. § 1962(d), the Count XXII

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count XXII defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.




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                                COUNT XXIII
                     VIOLATION OF 18 U.S.C. § 1962(c)
                           (Rent A Ride Enterprise)
   Against Level 1 Health Systems of Michigan, LLC, Greenfield and 9 Mile
   Medical Center PLLC, Mobile MRI Staffing, LLC, Somerset Auto Body of
    MI, Inc., Lincoln International LLC / 1-800-PAIN-800, Norman Dehko,
                      Sabah Dehko, and Najm-Ul Hassan

       1123. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1124. Motion Transportation constitutes an enterprise, as defined in 18 U.S.C.

 § 1961(4), engaged in, and the activities of which affect, interstate commerce.

       1125. In connection with each of the claims identified in the within

 Complaint, Level 1 of Michigan, AMC, Metro MRI, Somerset Auto, 1-800-PAIN,

 Norman Dehko, Sabah Dehko, and Hassan (“Count XXIII defendants”) intentionally

 caused to be prepared, faxed, and mailed false medical documentation by Rent A

 Ride, or knew that such false medical documentation would be faxed and mailed in

 the ordinary course of Rent A Ride’s business, or should have reasonably foreseen

 that the mailing of such false medical documentation by Rent A Ride would occur,

 in furtherance of the Count XXIII defendants’ scheme to defraud.

       1126. The Count XXIII defendants knew that two (2) or more faxes and

 mailings would be sent to demand and receive payment from Allstate on certain

 dates, including, but not limited to, those mailings identified in the chart annexed

 hereto at Exhibit 19.


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       1127. As documented above, the Count XXIII defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for transportation services that were purportedly performed

 by Rent A Ride, which they knew would be billed by Rent A Ride, in order to collect

 payment from Allstate under applicable provisions of the Michigan No-Fault Act.

       1128. Norman Dehko controlled Rent A Ride and was responsible for all

 actions taken by Rent A Ride and its staff.

       1129. AMC and Hassan were responsible for issuing patients medically

 unnecessary disability certificates that included driving restrictions as a matter of

 course, which allowed Rent A Ride to submit bills to Allstate for medically

 unnecessary transportation.

       1130. Level 1 of Michigan, Metro MRI, and Sabah Dehko billed for medically

 unnecessary treatment and testing for patients transported by Rent A Ride that

 allowed Rent A Ride to submit bills to Allstate for medically unnecessary

 transportation.

       1131. Somerset Auto, 1-800-PAIN, and Norman Dehko were responsible for

 the illegal solicitation of patients and improper referrals that resulted in unlawful

 transportation by Rent A Ride.

       1132. The Count XXIII defendants submitted, or caused to be submitted, false

 and fraudulent medical records, bills, and invoices that created the appearance of


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 injury and permitted Rent A Ride to continue providing unlawful and medically

 unnecessary transportation services, if provided at all.

       1133. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued

 payment drafts to Rent A Ride for the benefit of the Count XXIII defendants that

 would not otherwise have been paid.

       1134. The Count XXIII defendants’ conduct in violation of 18 U.S.C. §

 1962(c) was the direct and proximate cause of Allstate’s injury.

       1135. By virtue of the Count XXIII defendants’ violation of 18 U.S.C. §

 1962(c), Allstate is entitled to recover from them three times the damages sustained

 by reason of the claims submitted, caused to be submitted, or known to be submitted

 by them, and others acting in concert with them, together with the costs of suit,

 including reasonable attorney’s fees.

                                COUNT XXIV
                     VIOLATION OF 18 U.S.C. § 1962(d)
                           (Rent A Ride Enterprise)
   Against Level 1 Health Systems of Michigan, LLC, Greenfield and 9 Mile
   Medical Center PLLC, Mobile MRI Staffing, LLC, Somerset Auto Body of
    MI, Inc., Lincoln International LLC / 1-800-PAIN-800, Norman Dehko,
                      Sabah Dehko, and Najm-Ul Hassan

       1136. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.




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       1137. Defendants Level 1 of Michigan, AMC, Metro MRI, Somerset Auto, 1-

 800-PAIN, Norman Dehko, Sabah Dehko, and Hassan (“Count XXIV defendants”)

 conspired with each other to violate 18 U.S.C. § 1962(c) through the facilitation of

 the operation of Rent A Ride.

       1138. The Count XXIV defendants each agreed to further, facilitate, support,

 and operate the Rent A Ride enterprise.

       1139. As such, the Count XXIV defendants conspired to violate 18 U.S.C. §

 1962(c).

       1140. The purpose of the conspiracy was to obtain insurance payments from

 Allstate on behalf of Rent A Ride even though Rent A Ride was not eligible to collect

 such payments by virtue of its unlawful conduct.

       1141. The Count XXIV defendants were aware of this purpose and agreed to

 take steps to meet the conspiracy’s objectives, including the creation and submission

 to Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       1142. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make insurance

 payments as a result of the Count XXIV defendants’ unlawful conduct described

 herein.




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         1143. By virtue of this violation of 18 U.S.C. § 1962(d), the Count XXIV

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count XXIV defendants, and others acting in

 concert with them, together with the costs of suit, including reasonable attorney’s

 fees.

                                   COUNT XXV
                              COMMON LAW FRAUD
                               Against All Defendants

         1144. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

         1145. The scheme to defraud perpetrated by Kinetix, Level 1 PT & Rehab,

 Level 1 Health, Level 1 of Michigan, Michigan First, AMC, Select Medical,

 Northland Healthcare, Northland Chiropractic, Metro MRI, Motion Transportation,

 Rent A Ride, Somerset Auto, 1-800-PAIN, Norman Dehko, Sabah Dehko, Jordan

 Dehko, Shah, Hassan, and Sagala (“Count XXV defendants”) was dependent upon

 a succession of material misrepresentations of fact that the defendants were entitled

 to collect benefits pursuant to applicable provisions of the Michigan No-Fault Act.

         1146. The misrepresentations of fact made by the Count XXV defendants

 include, but are not limited to, those material misrepresentations discussed in section

 XII, supra.


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       1147. The Count XXV defendants’ representations were false or required

 disclosure of additional facts to render the information furnished not misleading.

       1148. The misrepresentations were intentionally made by the Count XXV

 defendants in furtherance of their scheme to defraud Allstate by submitting, causing

 to be submitted, or knowing that non-compensable claims for payment pursuant to

 applicable provisions of the Michigan No-Fault Act would be submitted to Allstate.

       1149. The Count XXV defendants’ misrepresentations were known to be

 false and were made for the purpose of inducing Allstate to make payments for

 claims that are not compensable under Michigan law.

       1150. Allstate reasonably relied upon such material misrepresentations to its

 detriment in paying numerous non-meritorious bills for alleged medical expenses

 pursuant to insurance claims and in incurring expenses related to the adjustment and

 processing of claims submitted by the defendants.

       1151. As a direct and proximate result of the defendants’ fraudulent

 representations and acts, Allstate has been damaged in its business and property as

 previously described herein.

                                   COUNT XXVI
                                CIVIL CONSPIRACY
                                Against All Defendants

       1152. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.


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       1153. Defendants Kinetix, Level 1 PT & Rehab, Level 1 Health, Level 1 of

 Michigan, Michigan First, AMC, Select Medical, Northland Healthcare, Northland

 Chiropractic, Metro MRI, Motion Transportation, Rent A Ride, Somerset Auto, 1-

 800-PAIN, Norman Dehko, Sabah Dehko, Jordan Dehko, Shah, Hassan, and Sagala

 (“Count XXVI defendants”) combined and concerted to accomplish the unlawful

 purpose of defrauding Allstate by submitting claims for payment pursuant to

 applicable provisions of the Michigan No-Fault Act to which they were not entitled

 because (1) the defendants did not actually render the treatment for which claims

 were submitted, (2) the defendants did not provide reasonably necessary medical

 treatment, (3) the defendants did not lawfully render treatment, and (4) the

 defendants engaged in fraudulent billing practices.

       1154. The Count XXVI defendants worked together to achieve an unlawful

 purpose (namely, defrauding Allstate for personal gain).

       1155. This purpose was known to all of the Count XXVI defendants and

 intentionally pursued.

       1156. Despite knowing that the defendants were not entitled to payment

 pursuant to applicable provisions of the Michigan No-Fault Act because they billed

 for services that were not actually provided, because they billed for services that

 were not reasonably necessary, because treatment was not lawfully rendered, and

 because they engaged in fraudulent billing practices, the Count XXVI defendants


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 nonetheless submitted, caused to be submitted, or knew that claims would be

 submitted (with accompanying false medical documentation) to Allstate seeking

 payment to the defendants.

       1157. In reasonable reliance on the false medical documentation submitted by

 the defendants, Allstate paid certain of the claims submitted.

       1158. All of the Count XXVI defendants directly benefited from the payments

 made to Kinetix, Level 1 PT & Rehab, Level 1 Health, Level 1 of Michigan,

 Michigan First, AMC, Select Medical, Northland Healthcare, Northland

 Chiropractic, Metro MRI, Motion Transportation, and Rent A Ride.

       1159. All of the Count XXVI defendants actively and intentionally partook in

 a scheme to defraud Allstate and also encouraged and aided other Count XXVI

 defendants in the commission of acts done for the benefit of all Count XXVI

 defendants and to the unjustified detriment of Allstate.

       1160. Accordingly, all of the Count XXVI defendants are equally liable for

 the fraud perpetrated on Allstate pursuant to their conspiracy.




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                               COUNT XXVII
                 PAYMENT UNDER MISTAKE OF FACT
   Against Kinetix Rehab Services, Inc., Level 1 Physical Therapy & Rehab
  LLC, Level 1 Health Systems of Michigan, LLC, Level 1 Health Systems of
 Michigan, LLC, Greenfield and 9 Mile Medical Center PLLC, Select Medical
 Group of Michigan PLLC, Northland Healthcare Services PLLC, Northland
        Chiropractic Centre P.C., Mobile MRI Staffing, LLC, Motion
 Transportation, Inc., Rent A Ride of Detroit, and Somerset Auto Body of MI,
                                     Inc.

       1161. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1162. Allstate paid the amounts described herein and itemized in Exhibits 20

 through 30 under a misunderstanding, misapprehension, error, fault, or ignorance of

 material facts, namely, the scheme to defraud Allstate by misrepresenting the fact,

 lawfulness, and necessity of services purportedly provided and billed Kinetix, Level

 1 PT & Rehab, Level 1 Health, Level 1 of Michigan, AMC, Select Medical,

 Northland Healthcare, Northland Chiropractic, Metro MRI, Motion Transportation,

 Rent A Ride, and Somerset Auto (“Count XXVII defendants”).

       1163. Allstate sustained damages by paying under a mistake of fact the claims

 submitted by the Count XXVII defendants, which misrepresented the fact,

 reasonableness, necessity, and lawfulness of the medical services allegedly rendered

 and whether the patient’s injury arose out of a motor vehicle accident.




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       1164. The Count XXVII defendants, individually and jointly, would be

 unjustly enriched if permitted to retain the payments made to them by Allstate under

 a mistake of fact.

       1165. Allstate is entitled to restitution from each of the Count XXVII

 defendants, individually and jointly, for all monies paid to and/or received by them

 from Allstate.

                                 COUNT XXVIII
                              UNJUST ENRICHMENT
                               Against All Defendants

       1166. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1167. Defendants Kinetix, Level 1 PT & Rehab, Level 1 Health, Level 1 of

 Michigan, Michigan First, AMC, Select Medical, Northland Healthcare, Northland

 Chiropractic, Metro MRI, Motion Transportation, Rent A Ride, Somerset Auto, 1-

 800-PAIN, Norman Dehko, Sabah Dehko, Jordan Dehko, Shah, Hassan, and Sagala

 (“Count XXVIII defendants”) submitted, caused to be submitted, or benefited

 indirectly from claims submitted to Allstate that caused Allstate to pay money, in

 reasonable belief that it was legally obligated to make such payments based upon

 the defendants’ fraudulent misrepresentations.

       1168. Allstate’s payments constitute a benefit which the Count XXVIII

 defendants aggressively sought and voluntarily accepted.


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       1169. The Count XXVIII defendants wrongfully obtained or benefited from

 payments from Allstate through the fraudulent scheme detailed herein.

       1170. The Count XXVIII defendants have been unjustly enriched by receipt

 of or benefit from these wrongfully obtained payments from Allstate.

       1171. The Count XXVIII defendants’ retention of these payments would

 violate fundamental principles of justice, equity, and good conscience.

                         COUNT XXIX
          DECLARATORY RELIEF PURSUANT TO 28 U.S.C. § 2201
                      Against All Defendants

       1172. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 902 set forth above as if fully set forth herein.

       1173. Defendants Kinetix, Level 1 PT & Rehab, Level 1 Health, Level 1 of

 Michigan, Michigan First, AMC, Select Medical, Northland Healthcare, Northland

 Chiropractic, Metro MRI, Motion Transportation, Rent A Ride, Somerset Auto, 1-

 800-PAIN, Norman Dehko, Sabah Dehko, Jordan Dehko, Shah, Hassan, and Sagala

 (“Count XXIX defendants”) routinely billed for unnecessary and unlawful services

 with respect to the patients at issue in this Complaint.

       1174. The Count XXIX defendants also rendered services pursuant to a

 fraudulent scheme whereby patients were illegally solicited and referred to them for

 the purpose of generating claims to Allstate, and not for the purpose of providing

 reasonably necessary medical treatment, testing, or services.


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       1175. Pursuant to the Michigan No-Fault Act, an insurer is liable to pay

 benefits only for reasonable and necessary expenses for lawfully rendered treatment

 arising out of a motor vehicle accident. Mich. Comp. Laws §§ 500.3105 and

 500.3107.

       1176. The lack of reasonableness and necessity are defenses to an insurer’s

 obligation to pay No-Fault benefits arising out of a motor vehicle accident. Mich.

 Comp. Laws § 500.3107.

       1177. The lack of lawfully-rendered treatment (such as treatment arising from

 illegal solicitation and unlicensed treatment) is also a defense to an insurer’s

 obligation to pay No-Fault benefits.

       1178. Where a provider is unable to show that an expense has been incurred

 for a reasonably necessary product or service arising out of a motor vehicle accident,

 there can be no finding of a breach of the insurer’s duty to pay, and thus no finding

 of liability with regard to that expense.

       1179. The Count XXIX defendants continue to submit claims under

 applicable provisions of the Michigan No-Fault Act for unnecessary and unlawfully

 rendered medical services to Allstate, and other claims remain pending with Allstate.

       1180. The Count XXIX defendants will continue to submit claims under

 applicable provisions of the Michigan No-Fault Act absent a declaration by this

 Court that Allstate has no obligation to pay fraudulent pending and previously-


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 denied insurance claims submitted by any of the Count XXIX defendants for any or

 all of the reasons set out in the within Complaint.

       1181. Accordingly, Allstate requests a judgment pursuant to the Declaratory

 Judgment Act, 28 U.S.C. § 2201, declaring that the Count XXIX defendants billed

 for unnecessary and unlawful treatment that is not compensable under applicable

 provisions of the Michigan No-Fault Act.

       1182. Allstate also requests a judgment pursuant to the Declaratory Judgment

 Act, 28 U.S.C. § 2201, declaring that the Count XXIX defendants were engaged in

 a fraudulent scheme whereby they billed for unnecessary and unlawful treatment and

 submitted unreasonable charges for the same to Allstate at all relevant times.

       1183. As such, the Count XXIX defendants have no standing to submit,

 pursue, or receive benefits or any other payment from Allstate, and Allstate requests

 a judgment pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201, declaring

 that the Count XXIX defendants cannot seek payment from Allstate for benefits

 under Michigan’s No-Fault Act, Mich. Comp. Laws § 500.3101, et seq., any policy

 of insurance, any assignment of benefits, any lien of any nature, or any other claim

 for payment related to the fraudulent conduct detailed in the within Complaint.

       1184. Allstate further requests a judgment pursuant to the Declaratory

 Judgment Act, 28 U.S.C. § 2201, declaring that the Count XXIX defendants cannot

 balance bill or otherwise seek payment from any person insured under an Allstate


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 policy or for whom Allstate is the responsible payor related to the fraudulent conduct

 detailed in the within Complaint.

 XVI. DEMAND FOR RELIEF

       WHEREFORE, plaintiffs Allstate Insurance Company, Allstate Property and

 Casualty Insurance Company, Allstate Fire and Casualty Insurance Company,

 Esurance Insurance Company, and Esurance Property and Casualty Insurance

 Company respectfully pray that judgment enter in their favor as follows:

                                  COUNT I
                     VIOLATION OF 18 U.S.C. § 1962(c)
                             (Kinetix Enterprise)
   Against Level 1 Physical Therapy & Rehab LLC, Level 1 Health Systems,
  LLC, Motion Transportation, Inc., Somerset Auto Body of MI, Inc., Lincoln
  International LLC / 1-800-PAIN-800, Norman Dehko, and Zahir Shah, P.T.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.




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                                 COUNT II
                    VIOLATION OF 18 U.S.C. § 1962(d)
                             (Kinetix Enterprise)
   Against Level 1 Physical Therapy & Rehab LLC, Level 1 Health Systems,
  LLC, Motion Transportation, Inc., Somerset Auto Body of MI, Inc., Lincoln
  International LLC / 1-800-PAIN-800, Norman Dehko, and Zahir Shah, P.T.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                 COUNT III
                    VIOLATION OF 18 U.S.C. § 1962(c)
                     (Level 1 PT & Rehab Enterprise)
 Against Kinetix Rehab Services, Inc., Motion Transportation, Inc., and Zahir
                                  Shah, P.T.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.
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                                 COUNT IV
                    VIOLATION OF 18 U.S.C. § 1962(d)
                     (Level 1 PT & Rehab Enterprise)
 Against Kinetix Rehab Services, Inc., Motion Transportation, Inc., and Zahir
                                  Shah, P.T.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                  COUNT V
                    VIOLATION OF 18 U.S.C. § 1962(c)
                         (Level 1 Health Enterprise)
  Against Kinetix Rehab Services, Inc., Northland Healthcare Services PLLC,
  Somerset Auto Body of MI, Inc., Lincoln International LLC / 1-800-PAIN-
      800, Norman Dehko, Zahir Shah, P.T., and Geoffrey Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and


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       (d)    GRANT all other relief this Court deems just.

                                 COUNT VI
                    VIOLATION OF 18 U.S.C. § 1962(d)
                         (Level 1 Health Enterprise)
  Against Kinetix Rehab Services, Inc., Northland Healthcare Services PLLC,
  Somerset Auto Body of MI, Inc., Lincoln International LLC / 1-800-PAIN-
      800, Norman Dehko, Zahir Shah, P.T., and Geoffrey Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                 COUNT VII
                     VIOLATION OF 18 U.S.C. § 1962(c)
                       (Level 1 of Michigan Enterprise)
  Against Greenfield and 9 Mile Medical Center PLLC, Select Medical Group
   of Michigan PLLC, Northland Healthcare Services PLLC, Rent A Ride of
  Detroit, Somerset Auto Body of MI, Inc., Lincoln International LLC / 1-800-
   PAIN-800, Norman Dehko, Sabah Dehko, Najm-Ul Hassan, and Geoffrey
                                 Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;


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       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                 COUNT VIII
                     VIOLATION OF 18 U.S.C. § 1962(d)
                       (Level 1 of Michigan Enterprise)
  Against Greenfield and 9 Mile Medical Center PLLC, Select Medical Group
   of Michigan PLLC, Northland Healthcare Services PLLC, Rent A Ride of
  Detroit, Somerset Auto Body of MI, Inc., Lincoln International LLC / 1-800-
   PAIN-800, Norman Dehko, Sabah Dehko, Najm-Ul Hassan, and Geoffrey
                                 Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                COUNT IX
                    VIOLATION OF 18 U.S.C. § 1962(c)
                        (Michigan First Enterprise)
 Against Greenfield and 9 Mile Medical Center PLLC, Select Medical Group
  of Michigan PLLC, Somerset Auto Body of MI, Inc., Lincoln International
 LLC / 1-800-PAIN-800, Norman Dehko, Jordan Dehko, Najm-Ul Hassan, and
                           Geoffrey Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;
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       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                COUNT X
                    VIOLATION OF 18 U.S.C. § 1962(d)
                        (Michigan First Enterprise)
 Against Greenfield and 9 Mile Medical Center PLLC, Select Medical Group
  of Michigan PLLC, Somerset Auto Body of MI, Inc., Lincoln International
 LLC / 1-800-PAIN-800, Norman Dehko, Jordan Dehko, Najm-Ul Hassan, and
                           Geoffrey Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.




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                                 COUNT XI
                    VIOLATION OF 18 U.S.C. § 1962(c)
                              (AMC Enterprise)
   Against Level 1 Health Systems of Michigan, LLC, Michigan First Rehab,
   LLC, Mobile MRI Staffing, LLC, Somerset Auto Body of MI, Inc., Lincoln
  International LLC / 1-800-PAIN-800, Norman Dehko, Sabah Dehko, Jordan
                         Dehko, and Najm-Ul Hassan

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                COUNT XII
                    VIOLATION OF 18 U.S.C. § 1962(d)
                              (AMC Enterprise)
   Against Level 1 Health Systems of Michigan, LLC, Michigan First Rehab,
   LLC, Mobile MRI Staffing, LLC, Somerset Auto Body of MI, Inc., Lincoln
  International LLC / 1-800-PAIN-800, Norman Dehko, Sabah Dehko, Jordan
                         Dehko, and Najm-Ul Hassan

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;




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       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                 COUNT XIII
                    VIOLATION OF 18 U.S.C. § 1962(c)
                          (Select Medical Enterprise)
   Against Level 1 Health Systems of Michigan, LLC, Michigan First Rehab,
   LLC, Mobile MRI Staffing, LLC, Somerset Auto Body of MI, Inc., Lincoln
  International LLC / 1-800-PAIN-800, Norman Dehko, Sabah Dehko, Jordan
                       Dehko, and Geoffrey Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                  COUNT XIV
                    VIOLATION OF 18 U.S.C. § 1962(d)
                          (Select Medical Enterprise)
   Against Level 1 Health Systems of Michigan, LLC, Michigan First Rehab,
   LLC, Mobile MRI Staffing, LLC, Somerset Auto Body of MI, Inc., Lincoln
  International LLC / 1-800-PAIN-800, Norman Dehko, Sabah Dehko, Jordan
                       Dehko, and Geoffrey Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;


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       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                COUNT XV
                    VIOLATION OF 18 U.S.C. § 1962(c)
                      (Northland Healthcare Enterprise)
  Against Level 1 Health Systems of Michigan, LLC, Northland Chiropractic
  Centre P.C., Somerset Auto Body of MI, Inc., Lincoln International LLC / 1-
   800-PAIN-800, Norman Dehko, Sabah Dehko, and Geoffrey Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.




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                                COUNT XVI
                    VIOLATION OF 18 U.S.C. § 1962(d)
                      (Northland Healthcare Enterprise)
  Against Level 1 Health Systems of Michigan, LLC, Northland Chiropractic
  Centre P.C., Somerset Auto Body of MI, Inc., Lincoln International LLC / 1-
   800-PAIN-800, Norman Dehko, Sabah Dehko, and Geoffrey Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                               COUNT XVII
                    VIOLATION OF 18 U.S.C. § 1962(c)
                    (Northland Chiropractic Enterprise)
    Against Northland Healthcare Services PLLC and Geoffrey Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.


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                              COUNT XVIII
                    VIOLATION OF 18 U.S.C. § 1962(d)
                    (Northland Chiropractic Enterprise)
    Against Northland Healthcare Services PLLC and Geoffrey Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                 COUNT XIX
                      VIOLATION OF 18 U.S.C. § 1962(c)
                            (Metro MRI Enterprise)
  Against Greenfield and 9 Mile Medical Center PLLC, Select Medical Group
   of Michigan PLLC, Rent A Ride of Michigan, Somerset Auto Body of MI,
  Inc., Lincoln International LLC / 1-800-PAIN-800, Norman Dehko, Najm-Ul
                       Hassan, and Geoffrey Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.
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                                 COUNT XX
                      VIOLATION OF 18 U.S.C. § 1962(d)
                            (Metro MRI Enterprise)
  Against Greenfield and 9 Mile Medical Center PLLC, Select Medical Group
   of Michigan PLLC, Rent A Ride of Michigan, Somerset Auto Body of MI,
  Inc., Lincoln International LLC / 1-800-PAIN-800, Norman Dehko, Najm-Ul
                       Hassan, and Geoffrey Sagala, D.C.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                COUNT XXI
                     VIOLATION OF 18 U.S.C. § 1962(c)
                     (Motion Transportation Enterprise)
    Against Kinetix Rehab Services, Inc., Level 1 Physical Therapy & Rehab
                         LLC, and Zahir Shah, P.T.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and


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       (d)    GRANT all other relief this Court deems just.

                                COUNT XXII
                     VIOLATION OF 18 U.S.C. § 1962(d)
                     (Motion Transportation Enterprise)
    Against Kinetix Rehab Services, Inc., Level 1 Physical Therapy & Rehab
                         LLC, and Zahir Shah, P.T.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                COUNT XXIII
                     VIOLATION OF 18 U.S.C. § 1962(c)
                           (Rent A Ride Enterprise)
   Against Level 1 Health Systems of Michigan, LLC, Greenfield and 9 Mile
   Medical Center PLLC, Mobile MRI Staffing, LLC, Somerset Auto Body of
    MI, Inc., Lincoln International LLC / 1-800-PAIN-800, Norman Dehko,
                      Sabah Dehko, and Najm-Ul Hassan

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;




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       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                COUNT XXIV
                     VIOLATION OF 18 U.S.C. § 1962(d)
                           (Rent A Ride Enterprise)
   Against Level 1 Health Systems of Michigan, LLC, Greenfield and 9 Mile
   Medical Center PLLC, Mobile MRI Staffing, LLC, Somerset Auto Body of
    MI, Inc., Lincoln International LLC / 1-800-PAIN-800, Norman Dehko,
                      Sabah Dehko, and Najm-Ul Hassan

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                   COUNT XXV
                              COMMON LAW FRAUD
                               Against All Defendants

       (a)    AWARD Allstate its actual and consequential damages against the

 defendants jointly and severally in an amount to be determined at trial;

       (b)    AWARD Allstate its costs, including, but not limited to, investigative

 costs incurred in the detection of the defendants’ illegal conduct; and


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       (c)    GRANT all other relief this Court deems just.

                                     COUNT XXVI
                                  CIVIL CONSPIRACY
                                  Against All Defendants

       (a)    AWARD Allstate its actual and consequential damages against the

 defendants jointly and severally in an amount to be determined at trial;

       (b)    AWARD Allstate its costs, including, but not limited to, investigative

 costs incurred in the detection of the defendants’ illegal conduct; and

       (c)    GRANT all other relief this Court deems just.

                              COUNT XXVII
                 PAYMENT UNDER MISTAKE OF FACT
   Against Kinetix Rehab Services, Inc., Level 1 Physical Therapy & Rehab
  LLC, Level 1 Health Systems of Michigan, LLC, Level 1 Health Systems of
 Michigan, LLC, Michigan First Rehab, LLC, Greenfield and 9 Mile Medical
     Center PLLC, Select Medical Group of Michigan PLLC, Northland
 Healthcare Services PLLC, Northland Chiropractic Centre P.C., Mobile MRI
   Staffing, LLC, Motion Transportation, Inc., Rent A Ride of Detroit, and
                       Somerset Auto Body of MI, Inc.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial; and

       (b)    GRANT all other relief this Court deems just.

                                 COUNT XXVIII
                              UNJUST ENRICHMENT
                               Against All Defendants

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial; and


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       (b)    GRANT all other relief this Court deems just.

                        COUNT XXIX
         DECLARATORY RELIEF PURSUANT TO 28 U.S.C. § 2201
                     Against All Defendants

       (a)    DECLARE that Allstate has no obligation to pay pending and

 previously-denied insurance claims submitted by Kinetix Rehab Services Inc., Level

 1 Physical Therapy & Rehab LLC, Level 1 Health Systems, LLC, Level 1 Health

 Systems of Michigan, LLC, Michigan First Rehab, LLC, Greenfield and 9 Mile

 Medical Center PLLC, Select Medical Group of Michigan PLLC, Northland

 Healthcare Services PLLC, Northland Chiropractic Centre P.C., Mobile MRI

 Staffing, LLC, Motion Transportation, Inc., Rent A Ride of Detroit, Somerset Auto

 Body of MI, Inc., Lincoln International LLC / 1-800-PAIN-800, Norman Dehko,

 Sabah Dehko, Jordan Dehko, Zahir Shah, P.T., Najm-Ul Hassan, and Geoffrey

 Sagala, D.C. for any or all of the reasons set out in the within Complaint;

       (b)    DECLARE that Kinetix Rehab Services Inc., Level 1 Physical Therapy

 & Rehab LLC, Level 1 Health Systems, LLC, Level 1 Health Systems of Michigan,

 LLC, Michigan First Rehab, LLC, Greenfield and 9 Mile Medical Center PLLC,

 Select Medical Group of Michigan PLLC, Northland Healthcare Services PLLC,

 Northland Chiropractic Centre P.C., MRI Staffing, LLC, Motion Transportation,

 Inc., Rent A Ride of Detroit, Somerset Auto Body of MI, Inc., Lincoln International

 LLC / 1-800-PAIN-800, Norman Dehko, Sabah Dehko, Jordan Dehko, Zahir Shah,


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 P.T., Najm-Ul Hassan, and Geoffrey Sagala, D.C., jointly and severally, cannot seek

 payment from Allstate pursuant to the Michigan No-Fault Act, Mich. Comp. Laws

 § 500.3101, et seq., any policy of insurance, any assignment of benefits, any lien of

 any nature, or any other claim for payment related to the fraudulent conduct detailed

 in the within Complaint;

         (c)     DECLARE that Kinetix Rehab Services Inc., Level 1 Physical Therapy

 & Rehab LLC, Level 1 Health Systems, LLC, Level 1 Health Systems of Michigan,

 LLC, Michigan First Rehab, LLC, Greenfield and 9 Mile Medical Center PLLC,

 Select Medical Group of Michigan PLLC, Northland Healthcare Services PLLC,

 Northland Chiropractic Centre P.C., Mobile MRI Staffing, LLC, Motion

 Transportation, Inc., Rent A Ride of Detroit, Somerset Auto Body of MI, Inc.,

 Lincoln International LLC / 1-800-PAIN-800, Norman Dehko, Sabah Dehko, Jordan

 Dehko, Zahir Shah, P.T., Najm-Ul Hassan, and Geoffrey Sagala, D.C., jointly and

 severally, cannot balance bill or otherwise seek payment from any person insured

 under an Allstate policy or for whom Allstate is the responsible payor related to the

 fraudulent conduct detailed in the within Complaint; and

         (d)     GRANT such other relief as this Court deems just and appropriate

 under Michigan law and the principles of equity.

 XVII.         DEMAND FOR JURY TRIAL

         The plaintiffs hereby demand a trial by jury on all claims.


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                                            Respectfully submitted,

                                            SMITH & BRINK

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 Dated: October 15, 2020




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